                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF OREGON



OREGON FIREARMS FEDERATION, et           Case No. 2:22-cv-01815-IM (Lead Case)
  al.,                                         3:22-cv-01859-IM (Trailing Case)
                                               3:22-cv-01862-IM (Trailing Case)
         Plaintiffs,                           3:22-cv-01869-IM (Trailing Case)

   v.

TINA KOTEK, et al.,                         FINDINGS OF FACT AND
                                            CONCLUSIONS OF LAW
         Defendants,

        and

OREGON ALLIANCE FOR GUN SAFETY,

           Intervenor-Defendant.
______________________________________
MARK FITZ, et al.,

         Plaintiffs,

   v.

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 ELLEN F. ROSENBLUM, et al.,

       Defendants.
  ______________________________________
  KATERINA B. EYRE, et al.,

         Plaintiffs,

    v.

 ELLEN F. ROSENBLUM, et al.,

         Defendants,

         and

 OREGON ALLIANCE FOR GUN SAFETY,

             Intervenor-Defendants.
__________________________________
 DANIEL AZZOPARDI, et al.,

         Plaintiffs,

    v.

 ELLEN F. ROSENBLUM, et al.,

       Defendants.
 ______________________________________


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IMMERGUT, District Judge.

I.      INTRODUCTION

        Before this Court are two core questions: (1) can the State of Oregon limit the number of

bullets to ten, that a law-abiding citizen can fire without reloading; and (2) can the State of

Oregon require firearm purchasers to obtain a permit, which imposes various requirements,

including a completed background check, safety training, and consideration of mental health

status, before purchasing a firearm. After a weeklong bench trial, this Court concludes that the

answer to each of these questions is yes. Accordingly, Oregon Ballot Measure 114 is

constitutional.

        As explained below, Plaintiffs have not shown that the Second Amendment protects

large-capacity magazines, defined as magazines capable of firing eleven or more rounds without

reloading. And even if the Second Amendment were to protect large-capacity magazines, this

Court finds that Defendants and Intervenor-Defendant have established that Oregon’s restrictions

on the use and possession of large-capacity magazines are consistent with the Nation’s history

and tradition of firearm regulation. Consequently, Oregon’s large-capacity magazine restrictions

are constitutional under the Second Amendment. This Court also finds that the text of Oregon’s

permit-to-purchase framework is consistent with the type of regulations that the United States

Supreme Court has deemed constitutional under the Second Amendment. Finally, this Court

finds that Oregon’s large-capacity magazine restrictions are not an unconstitutional taking of

property, are not unconstitutionally retroactive, and are not unconstitutionally vague.

Accordingly, this Court enters judgment for Defendants and Intervenor-Defendant on all of

Plaintiffs’ claims.




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II.     PROCEDURAL BACKGROUND

       This consolidated action includes four separate lawsuits, all filed in the wake of the

passage of Oregon Ballot Measure 114 (“BM 114”), which amends existing state regulations on

the purchase and possession of firearms.1 Plaintiffs in the consolidated action include advocacy

groups, firearms dealers, firearms owners, county sheriffs, and one private security guard.

       Plaintiffs bring six constitutional challenges against BM 114: a Second Amendment

challenge to BM 114’s large-capacity magazine (“LCM”) restrictions, a Second Amendment

challenge to BM 114’s permit-to-purchase regime, a Fifth Amendment takings challenge to BM

114’s LCM restrictions, a Fourteenth Amendment due process challenge to BM 114’s permit-to-

purchase regime, and two Fourteenth Amendment challenges—due process and void for

vagueness—to BM 114’s LCM restrictions.

       On December 6, 2022, this Court denied Plaintiffs’ initial motions for a temporary

restraining order, which sought to prevent BM 114 from taking effect as scheduled on December

8, 2022. See generally ECF 39. In that order, this Court found that Plaintiffs had failed to

demonstrate that they would suffer immediate and irreparable harm if BM 114 were allowed to

take effect. Id. at 3. This Court also held that Plaintiffs had failed to demonstrate a likelihood of

success on the merits with respect to their facial challenge to BM 114’s permitting regime as

well as their constitutional challenges to BM 114’s restriction on LCMs. Id. Nonetheless, this




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          Oregon Firearms Fed’n, Inc. v. Kotek, the lead case in this consolidated action, was the
first lawsuit to be filed and challenged all aspects of Ballot Measure 114 (“BM 114”)—including
Oregon’s permit-to-purchase regime and the restrictions on large-capacity magazines (“LCMs”).
No. 2:22-cv-01815-IM. Fitz v. Rosenblum, the second case filed, challenged only BM 114’s
LCM restrictions. No. 3:22-cv-01859-IM. Eyre v. Rosenblum, the third case filed, challenged all
aspects of BM 114, including both Oregon’s permit-to-purchase regime and Oregon’s
restrictions on LCMs. No. 3:22-cv-01862-IM. Finally, Azzopardi v. Rosenblum, the fourth and
final case filed, challenged only BM 114’s permit-to-purchase regime. No. 3:22-cv-01869-IM.
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Court—at the request of Defendants—entered an order staying implementation of BM 114’s

permitting provision for thirty days to allow Defendants to prepare for implementation. Id. at 4.

       Following this Court’s denial of Plaintiffs’ motions for a temporary restraining order, this

Court ordered that the four separate cases be consolidated into the present action. ECF 62. This

Court also granted Intervenor-Defendant Oregon Alliance for Gun Safety’s motion to intervene

in the action under Federal Rule of Civil Procedure 24(b). ECF 59. This Court then set this

matter for briefing and a hearing on Plaintiffs’ motions for a preliminary injunction. ECF 66.

       On February 9, 2023, with the consent of the parties, this Court vacated the scheduled

preliminary injunction hearing and set this matter for an expedited trial. ECF 134. The parties

conducted discovery between February and May of 2023. ECF 139. On May 12, Plaintiffs

moved for summary judgment on all six of their claims, ECF 165, while Defendants moved for

summary judgment on Plaintiffs’ facial challenge to BM 114’s permitting regime and dismissal

of Plaintiffs’ as-applied challenge to the permitting regime as unripe for adjudication, ECF 163.

This Court initially denied both sides’ motions, finding that this matter implicates both important

and unsettled questions of law, as well as genuine disputes of material fact. ECF 216 at 2–3.

       On May 30, 2023, this Court held a Pretrial Conference with the parties, wherein the

parties clarified both their legal positions regarding Plaintiffs’ challenges to BM 114’s permitting

provisions and their intentions with respect to evidence regarding these claims at trial. ECF 222.

Following that hearing, this Court found it appropriate to clarify the type of evidence it would

receive regarding Plaintiffs’ facial challenge to BM 114’s permitting provisions and to revisit its

prior ruling denying Defendants’ motion to dismiss. ECF 234. This Court ultimately concluded

that Plaintiffs’ as-applied challenge to BM 114’s permitting regime was not ripe for trial, as the

permitting regime has not yet gone into effect, and dismissed that claim without prejudice and



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with leave to refile should BM 114 go into effect at some future date. Id. at 7. As written, BM

114 was scheduled to go into effect on December 8, 2022, but Defendants are currently

restrained from enforcing BM 114 by state court order. See Opinion Letter, December 15, 2022,

Arnold v. Brown, No. 22-cv-41008 (granting preliminary injunction of BM 114’s LCM

restrictions and temporary restraining order of BM 114’s permitting provisions).

       This Court held a bench trial on all of Plaintiffs’ remaining claims beginning on June 5,

2023. ECF 240. Over the course of the weeklong trial, this Court heard testimony from twenty

witnesses and received more than 100 exhibits into evidence. ECF 248; ECF 251. In addition to

witness testimony and evidence admitted into the record, Plaintiffs have asked this Court to

consider as legislative facts thirteen documents. ECF 223. These documents are authored by

individuals who were not called to testify at trial, making these documents inadmissible hearsay.

ECF 238; see also Fed. R. Evid. 802. This Court concludes that these thirteen documents deserve

no weight in this case.2




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          Plaintiffs did not identify any nonhearsay purpose or exception to the rule against
hearsay for these documents. Instead, Plaintiffs argue that this Court may consider them as
legislative facts, which are not subject to the Federal Rules of Evidence. ECF 223. Defendants
and Intervenor-Defendant object, arguing that these documents contain adjudicative rather than
legislative facts. ECF 233; ECF 238 at 4. This Court agrees.
        The Ninth Circuit has described the difference between legislative and adjudicative facts
as follows: Adjudicative facts resolve factual disputes pertaining to the elements of the claims at
issue in a particular case. See Perry v. Brown, 671 F.3d 1052, 1075 (9th Cir. 2012), vacated sub
nom. Hollingsworth v. Perry, 570 U.S. 693 (2013) (“Adjudicative facts are . . . the types of ‘facts
that go to a jury in a jury case,’ or to the factfinder in a bench trial.”). Legislative facts, on the
other hand, are “those which have relevance to legal reasoning and the lawmaking process.” Fed.
R. Evid. 201(a) advisory committee’s note to 1972 Proposed Rules.
        The legislative fact exhibits offered by Plaintiffs address factual questions that this Court
must answer, including the commonality of LCMs, their use by ordinary citizens, and the
relevancy of certain historical firearms regulations. Thus, the thirteen documents are replete with
adjudicative facts. This Court offered Plaintiffs the opportunity to identify specific legislative
facts and the purpose for which those purported legislative facts were offered. Plaintiffs failed to
do so with any specificity. It is not appropriate for this Court to rummage through voluminous
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III.   SECOND AMENDMENT LEGAL FRAMEWORK

                   1. Pre-Bruen and the Means-End Test for Second Amendment
                      Challenges
       The Second Amendment to the United States Constitution reads, in full: “A well

regulated Militia, being necessary to the security of a free State, the right of the people to keep

and bear Arms, shall not be infringed.” U.S. Const. amend. II (emphasis added).

       In District of Columbia v. Heller, the Supreme Court held that the Second Amendment

protects an individual right to keep and bear arms unconnected with militia service. 554 U.S.

570, 583, 592 (2008). In arriving at this interpretation, the Supreme Court emphasized “the

inherent right of self-defense” as “central to the Second Amendment right.” Id. at 628. The

Supreme Court explicitly cautioned, however, that “[l]ike most rights, the right secured by the

Second Amendment is not unlimited” and noted that the Second Amendment does not protect a

right “to keep and carry any weapon whatsoever in any manner whatsoever and for whatever

purpose.” Id. at 626. The Supreme Court then struck down a District of Columbia law that

generally prohibited the possession of handguns, as violating the Second Amendment,




materials submitted by Plaintiffs to divine which facts, if any, might properly be deemed
legislative facts. It is up to the party offering such legislative facts to provide concrete guidance
as to which facts this Court should consider and for what purpose.
        While legislative facts are often considered by appellate courts deciding Second
Amendment challenges, see Jones v. Bonta, 34 F.4th 704, 726 n.24 (9th Cir. 2022), vacated, 47
F.4th 1124, this Court is a trial court. It is the function of the trial court to receive evidence and
testimony that has been tested through the adversarial process. This process helps the fact-finder
“ascertain[] [the] truth” and “minimiz[e] the risk of error,” by subjecting witnesses to cross-
examination on potential bias and credibility, and by excluding evidence that is irrelevant,
prejudicial, or lacking indicia of reliability. See Mackey v. Montrym, 443 U.S. 1, 13 (1979);
Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993) (“Vigorous cross-examination,
presentation of contrary evidence, and careful instruction on the burden of proof are the
traditional and appropriate means of attacking shaky but admissible evidence.”). The adversarial
process also “crystallizes the pertinent issues and facilitates appellate review . . . .” Neitzke v.
Williams, 490 U.S. 319, 330 (1989). Without subjecting Plaintiffs’ legislative facts to the
adversarial process, this Court cannot adequately assess issues of credibility or bias.
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concluding that it “amount[ed] to a prohibition of an entire class of ‘arms’ that is

overwhelmingly chosen by American society for [self-defense].” Id at 628.

       Two years after Heller, the Supreme Court once again considered the scope of the

Second Amendment right in McDonald v. City of Chicago, 561 U.S. 742 (2010). In McDonald,

the Supreme Court reiterated that the Second Amendment “protects the right to keep and bear

arms for the purpose of self-defense.” Id. at 749–50. The Supreme Court then held that the

Second Amendment is “fully applicable to the States” through the Fourteenth Amendment. Id. at

750. In so holding, the Supreme Court reversed a Seventh Circuit Court of Appeals decision

upholding two citywide bans on the possession of handguns in the home. Id. at 791.

       Following Heller and McDonald, circuit courts across the country—including the Ninth

Circuit—adopted a two-step means-end analysis for Second Amendment challenges. First, courts

considered whether the challenged regulation burdened conduct protected by the Second

Amendment. If it did, courts then balanced the state’s interests in the regulation against the

burden on the constitutional right. See, e.g., United States v. Chovan, 735 F.3d 1127, 1136 (9th

Cir. 2013). This inquiry allowed courts to consider not only the text and history of the Second

Amendment, but also the state’s interest in public safety and the general welfare.3




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          Pre-Bruen, the Ninth Circuit, sitting en banc, upheld the constitutionality California’s
LCM restrictions under the means-end test. Duncan v. Bonta, 19 F.4th 1087, 1100, 1102–03 (9th
Cir. 2021) (en banc), vacated and remanded, 142 S. Ct. 2895 (2022). In assessing the
constitutionality of the ban, the Ninth Circuit first asked whether the challenged law involved
conduct protected by the Second Amendment. Id. at 1102. The Ninth Circuit assumed, without
deciding, that California’s law implicated the Second Amendment. Id. at 1103. Finding that
California’s restrictions imposed only a minimal burden on the Second Amendment right, the
Ninth Circuit proceeded to analyze the law under intermediate scrutiny. Id. at 1108. At this
second step, the Ninth Circuit concluded that California’s LCM restrictions were a reasonable fit
for the compelling state interest of reducing gun violence, and held that the law did not violate
the Second Amendment. Id. at 1111.
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                   2. Bruen and the History and Tradition Test for Second Amendment
                      Challenges
       In June of 2022, the Supreme Court again considered the scope of the Second

Amendment in New York State Rifle & Pistol Ass’n, Inc. v. Bruen. In Bruen, the Supreme Court

reiterated that the Second Amendment protects the right to keep and bear arms for “law-abiding

citizens with ordinary self-defense needs.” 142 S. Ct. 2111, 2156 (2022). But Bruen explicitly

rejected the two-step, means-end analysis for Second Amendment challenges. Id. at 2126.

Instead, Bruen held that “when the Second Amendment’s plain text covers an individual’s

conduct,” the government must affirmatively “demonstrate that the [challenged] regulation is

consistent with this Nation’s historical tradition of firearm regulation.” Id. In other words, Bruen

creates a new two-step analysis for assessing the constitutionality of firearms regulations. First, a

plaintiff challenging a firearm regulation must show the plain text of the Second Amendment

covers the conduct regulated by the challenged law. See id.4 To determine whether the conduct at

issue is covered by the plain text of the Second Amendment, a court must determine whether the

weapon in question is a “bearable arm” that is “in common use today for self-defense.” Id. at




       4
           While Bruen does not specify that the plaintiff bears the burden of showing that the
challenged conduct falls within the plain text of the Second Amendment, this Court finds that is
the most logical reading of the Supreme Court’s opinion. The Supreme Court explicitly states
that “when the Second Amendment’s plain text covers an individual’s conduct . . . the
government must then justify its regulation . . . .” Bruen, 142 S. Ct. at 2129–30 (emphasis
added). This Supreme Court language strongly suggests that the burden shifts to the government
only after the plaintiffs have shown that the challenged conduct is covered by the plain text of
the Second Amendment. See id. This also comports with “one of the first principles of
constitutional adjudication—the basic presumption of the constitutional validity of a duly
enacted state or federal law.” Lemon v. Kurtzman, 411 U.S. 192, 208 (1973) (citation omitted). In
applying this “first principle” to the holding of Bruen, this Court finds that the burden is on the
plaintiff, in the first instance, to show that the challenged law implicates conduct covered by the
plain text of the Second Amendment. If the plaintiff makes such a showing, then the burden
shifts to the government to show that the challenged regulation is consistent with the Nation’s
history and tradition of firearm regulation.
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2132, 2134 (internal quotation marks omitted). If the weapon is in common use today for self-

defense, then the Constitution presumptively protects that conduct. Id. at 2128, 2134, 2135.

Under Bruen’s second step, the government must then affirmatively prove that the challenged

regulation is consistent with the historical tradition of firearm regulation. See id. at 2130.

       Bruen also made clear that “the right secured by the Second Amendment is not

unlimited,” and that governments may still impose certain restrictions on the purchase,

possession, and use of firearms. Id. at 2128 (citation omitted); see also id. at 2162 (Kavanaugh,

J., concurring) (“[T]he Second Amendment allows a ‘variety’ of gun regulations,” including

“presumptively lawful regulatory measures” such as laws prohibiting the keeping and carrying of

“dangerous and unusual weapons.”) (citation omitted).

       While Bruen’s test for Second Amendment challenges is grounded in history and

tradition, Bruen also acknowledged that modern regulations may implicate either “unprecedented

societal concerns” or “dramatic technological changes” different from those that existed at the

Second Amendment’s ratification in 1791 or at the Fourteenth Amendment’s ratification in 1868.

Id. at 2132. In those circumstances, Bruen directs courts to consider “a more nuanced approach”

and determine whether historical regulations are “relevantly similar” to the current challenged

regulation based on two metrics: “how and why the regulations burden a law-abiding citizen’s

right to armed self-defense.” Id. at 2132–33.

       In analyzing whether a challenged regulation violates the Second Amendment, Bruen

directed courts to rely on “various evidentiary principles and default rules to resolve

uncertainties.” Id. at 2130 n.6 (internal quotation marks omitted). This case involved disputed

issues of fact involving whether BM 114 prohibits conduct covered by the plain text of the

Second Amendment, such as whether LCMs are “in common use today for self-defense” by



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“law-abiding citizens with ordinary self-defense needs.” Id. at 2134, 2156 (internal quotation

marks omitted). This case also involved disputed issues regarding the historical record that

required this Court to assess witness credibility and bias. Accordingly, this Court held a

weeklong bench trial to resolve these issues and now makes the following findings of fact in

accordance with Federal Rule of Civil Procedure 52(a).

IV.      FINDINGS OF FACT: BALLOT MEASURE 114’S STATUTORY FRAMEWORK

         BM 114 was approved by a majority of Oregon voters in November of 2022. Measure

114, November 8, 2022, General Election Abstract of Votes, OREGON SECRETARY OF STATE,

http://perma.cc/7ZCU-5CU3 (last visited July 14, 2023).5 The express purpose of BM 114, as

stated in its preamble, is to enhance public safety and reduce gun violence, particularly mass

shootings associated with LCMs. Ex. 1.

         Excluding certain exceptions for law enforcement and military use, BM 114 prohibits the

sale and restricts the use of LCMs that hold eleven or more rounds of ammunition. Id. § 11. BM

114 also requires individuals to obtain a permit before purchasing firearms. Id. § 4.

      A. Purchase and Possession of Firearms in Oregon Prior to BM 114

         Prior to BM 114, Oregon imposed no restrictions on the capacity of firearm magazines.

And, any individual who wanted to purchase a firearm in Oregon was required to complete a

background check at the time of purchase, including a criminal history check, to determine

whether the individual was disqualified from purchasing a gun under Oregon law. O.R.S.




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          Oregon has a statutory ballot measure system, which includes initiative, referenda, and
legislative referral. Ballot initiatives allow Oregon voters to propose revisions or additions to the
Oregon Revised Statutes. To be placed on the ballot, a statutory initiative must garner 1,000
sponsorship signatures followed by signatures totaling six percent of the total votes cast for
governor at the last election. Make or Change State Law, OREGON SECRETARY OF STATE,
http://perma.cc/6F54-BVPQ (last visited July 14, 2023).
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166.412(2) (effective Jan. 1, 2019–Dec. 7, 2022). Oregon law disqualifies the following persons

from possessing a firearm: felons, certain criminal defendants, individuals with certain adjudged

mental illnesses, and individuals subject to protective orders for domestic abuse or extreme risk

protection. O.R.S. 166.250(1). If the required background check was not completed within three

days, the gun dealer could nonetheless deliver the firearm to the individual. O.R.S. 166.412(3)(c)

(effective Jan. 1, 2019–Dec. 7, 2023). There was no requirement that individual firearm owners

complete any kind of safety training, except to obtain a concealed handgun license or a hunting

license for youth. Official Voters’ Pamphlet, General Election, Nov. 8, 2022, 90.

    B. LCM Restrictions under BM 114

         BM 114 makes it a misdemeanor offense to manufacture, import, possess, use, purchase,

sell, or otherwise transfer any LCM in Oregon after BM 114 goes into effect. Ex. 1 § 11(2), (6).

BM 114 defines LCMs as “a fixed or detachable magazine . . . or similar device . . . that has an

overall capacity of, or that can be readily restored, changed, or converted to accept, more than

[ten] rounds of ammunition and allows a shooter to keep firing without having to pause to reload

. . . .” Id. § 11(d).

         1. Exceptions to BM 114’s LCM Restrictions

         BM 114 contains various exceptions to the general prohibition on the manufacture,

purchase, sale, or possession of LCMs. Licensed gun dealers that have LCMs in their inventory

have several options for complying with BM 114’s new restrictions within 180 days after BM

114 takes effect. During that time, a licensed gun dealer may transfer or sell LCMs within their

inventory to a non-resident gun dealer or other transferee located out of state. Id. § 11(3)(a)(A).

The licensed dealer may also purchase LCMs from any owner for permanent removal from

Oregon. Id. § 11(3)(a)(B). And, a licensed dealer may permanently alter any LCM in their



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inventory such that it is no longer capable of accepting more than ten rounds of ammunition. Id.

§ 11(3)(a)(C).

        BM 114 also contains exceptions for certain firearms manufacturers that produced LCMs

before the regulations went into effect. If a firearm manufacturer is properly licensed under

federal, state, and local law and is party to a binding contract pre-dating the effective date of the

measure with an entity outside of the state of Oregon for the manufacture of LCMs, then it may

fulfill that contract so long as all manufacture is completed no later than 180 days after the

effective date of the measure and the manufacturer makes the entity aware of BM 114’s future

requirement in writing. Id. § 11(3)(b)(A)–(B). BM 114 does not apply, at any time, to a properly

licensed firearms manufacturer that manufactures LCMs exclusively for the United States Armed

Forces or law enforcement, or a licensed gun dealer that sells or otherwise transfers LCMs to the

United States Armed Forces or law enforcement. Id. § 11(4)(a)–(b).6

        Current owners and future inheritors of LCMs can still possess and use LCMs obtained

prior to BM 114’s effective date, subject to certain limitations.7 Current owners and inheritors of

LCMs may only use those firearms at their home (or on property under their control), on the

premises of a gun dealer, at shooting ranges, for recreational activities like hunting, at firearms




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         Any magazine manufactured, sold, or otherwise pursuant to this exception must
“include a permanent stamp or marking indicating that the large-capacity magazine was
manufactured or assembled after the effective date of [BM 114].” Ex. 1 § 11(4)(a)(B).
        7
         BM 114 states, in relevant part, that “it shall be an affirmative defense . . . that (a) [t]he
large-capacity magazine was owned by the person before the effective date of this 2022 Act and
maintained in the person’s control or possession; or (b) [t]he possession of a large-capacity
magazine was obtained by a person who, on or after the effective date of this section, acquired
possession of the large-capacity magazine by operation of law upon the death of a former owner
who was in legal possession of the large-capacity magazine . . . .” Ex. 1 § 11(5).


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competitions or exhibitions, for certain educational purposes, or during transport to or from one

of these permissible locations. Id. § 11(5)(c)(A)–(E). BM 114 does not apply at all to any

member of the United States Armed Forces or law enforcement who acquire, possess, or use

LCMs, so long as that acquisition, possession, or use “is related directly to activities within the

scope of that person’s official duties.” Id. § 11(4)(c).8

   C. Permit-to-Purchase

       Under BM 114, any individual seeking to purchase a firearm in Oregon must first apply

for a permit. See id. §§ 6(2)(a), 7(3)(a), 8(2), 9(1)(a)(A). Applicants receive a permit if they: (1)

are not prohibited from purchasing or acquiring a firearm under state or federal law; (2) are not

subject to certain protective orders which prohibit individuals in Oregon from possessing guns;

(3) are not reasonably likely to be a danger to themselves, others, or the community at large;9 (4)

provide proof that they have completed a firearm safety course;10 and (5) pay a fee.11 Id. §




       8
         BM 114’s military and law enforcement exception covers “peace officer[s]” as that term
is defined in O.R.S. 133.005. Ex. 1 § 11(4)(c). This definition excludes private security guards.
See O.R.S. 133.005(3).
       9
         BM 114 prohibits an individual from obtaining a permit if they “present reasonable
grounds for a permit agent to conclude that the applicant has been or is reasonably likely to be a
danger to self or others, or to the community at large, as a result of the applicant’s mental or
psychological state or as demonstrated by the applicant’s past pattern of behavior involving
unlawful violence or threats of unlawful violence.” Ex. 1 § 4(1)(b)(C).
       10
          Per BM 114, the safety course must include review of applicable state and federal
firearm laws, including laws about safe storage and reporting lost or stolen firearms. The course
must also cover the dangers associated with the misuse of firearms. Safety courses can be
completed in-person or online, though all permit applicants must complete an in-person
demonstration that shows that the applicant can lock, load, unload, fire, and store a firearm. Ex. 1
§ 4(8)(c)(A)–(D).
       11
         BM 114 states that fees for first-time applicants must be “reasonable” and cannot
exceed sixty-five dollars. Ex. 1 § 4(3)(b). Fees for permit renewals must likewise be
“reasonable” and cannot exceed fifty dollars. Id. § 4(7)(c). Fees are intended to “reflect[] the
17 – FINDINGS OF FACT AND CONCLUSIONS OF LAW
4(1)(b)(A)–(E). The applicant must submit to fingerprinting and photographing by a permitting

agent. Id. § 4(1)(e).12 The applicant must also submit to a criminal background check conducted

by the Oregon State Police (“OSP”), including but not limited to a fingerprint identification,

through the Federal Bureau of Investigation (“FBI”). Id.13 Within thirty days of receiving an

application for a permit, if the applicant meets the criteria, the permit agent “shall issue the

permit-to-purchase.” Id. § 4(3)(a). A permit is valid for five years. Id. § 4(7)(a).14

        If the permit application is denied, or if no written response has been received within

thirty days of the application, the applicant may file an action in state circuit court to compel the

issuance of the permit. Id. § 5(1), (5). The state circuit court reviews the application anew and

must issue a decision on the matter “within [fifteen] judicial days of filing or as soon as

practicable thereafter.” Id. § 5(8), (10). That decision is appealable, as a matter of right, to the

Oregon Court of Appeals. Id. § 5(11).




actual cost of the process . . . including the cost of obtaining a criminal background check and
photographing.” Id.
        12
          BM 114 defines a “permit agent” as either the police chief or county sheriff in the
place where the applicant lives, or an individual designated to be a permit agent by the police
chief or sheriff. Ex. 1 §§ 3(5), 4(1)(a).
        13
          BM 114 requires the permitting agent to request that OSP “conduct a criminal
background check, including but not limited to a fingerprint identification, through the Federal
Bureau of Investigation.” Ex. 1 § 4(1)(e). The law states that the FBI “shall return the fingerprint
cards used to conduct the criminal background check and may not keep any record of the
fingerprints.” Id. BM 114 also states that “[u]pon completion of the criminal background check
and determination of whether the permit applicant is qualified or disqualified from purchasing or
otherwise acquiring a firearm, [OSP] shall report the results, including the outcome of the
fingerprint-based criminal background check, to the permit agent.” Id.
        14
          Any individual seeking to renew their permit must submit a new application, but they
are not required to take another safety course or undergo fingerprinting if the earlier set “has
been retained by the permit agent or is otherwise available.” Ex. 1 § 4(7)(b)(A)–(B).


18 – FINDINGS OF FACT AND CONCLUSIONS OF LAW
       BM 114 requires licensed dealers to verify that any potential firearm purchaser has a

valid permit and forbids a dealer from transferring the firearm to the purchaser unless the dealer

receives a unique approval number from OSP. Id. § 6(3)(c).15 BM 114 likewise requires

individuals seeking to transfer firearms to confirm that the individual to whom the firearm is

being transferred has a valid permit. Id. § 7(3)(a). And BM 114 requires anyone seeking to sell or

transfer a firearm at a gun show to confirm that the individual to whom the firearm is being sold

or transferred has a valid permit. Id. §§ 8(3)(c), 9(1)(a)(A). BM 114 makes it a misdemeanor to

sell or transfer firearms to an individual who does not have a permit. Id. §§ 6(14), 7(5)(a),

9(5)(a). BM 114 does not criminalize possession of a firearm without a permit. Official Voters’

Pamphlet, General Election, Nov. 8, 2022, 90.

V.     FINDINGS OF FACT: MODERN LARGE-CAPACITY MAGAZINES

     A. LCMs and Firearm Technology

       Under Bruen, a court must first consider whether the plain text of the Second

Amendment covers the regulated conduct. 142 S. Ct. at 2126. Because the regulated conduct at

issue in this case is the ability to keep and bear LCMs, this Court received evidence regarding

how magazines, and LCMs specifically, operate. Based on that evidence this Court finds as

follows: A magazine is a device that contains and facilitates the feeding of ammunition

cartridges into a firearm. Trial Transcript (“Tr.”) 6/6/2023 523:5–7. A magazine is a rectangular

box generally made of steel, though magazines can also be made from plastic, polymer, or other




       15
           Pre-BM 114, under both state and federal law, firearms dealers could transfer a firearm
to a purchaser without a completed background check if the background check process took
longer than three business days. O.R.S. 166.412(3)(c); 18 U.S.C. § 922(t)(1)(B)(ii). BM 114 ends
this practice by requiring a firearms dealer to receive a unique approval number before
transferring a firearm to the prospective purchaser.
19 – FINDINGS OF FACT AND CONCLUSIONS OF LAW
materials. Tr. 5/30/2023 43:21–44:2; Tr. 6/5/2023 118:14–15. The bottom of the magazine is

called the floor plate. Tr. 5/30/2023 43:24. Inside the magazine is a carrier that sits atop a spring.

Tr. 5/30/2023 43:25–44:1. When the magazine is loaded with bullet cartridges, the spring is

compressed. Tr. 5/30/2023 44:3–4. When an individual fires a modern semi-automatic firearm,

the top portion of a firearm—known as the slide—is driven back by recoil force. Tr. 5/30/2023

44:4–5. An extractor inside of the gun catches the rim of the spent shell casing, pulling it

backwards and striking a stud known as an ejector, which in turn kicks the spent shell casing out

of the firearm’s ejection port. Tr. 5/30/2023 44:6–10. With the slide now completely moved to

the rear of the firearm, the spring-loaded magazine pushes the next cartridge towards the top of

the magazine’s box. Tr. 5/30/2023 44:11–12. A recoil spring, located parallel to and underneath

the barrel of the firearm, moves the slide forward. Tr. 5/30/2023 44:13–15. As the slide moves

forward, it picks up the cartridge that has been pushed to the top of the magazine box and places

it in the firing chamber. Tr. 5/30/2023 44:15–16. With a new round now chambered, the operator

of the firearm can resume shooting. Tr. 5/30/2023 44:16–17.

       Magazines can be either fixed or detachable. Tr. 6/6/2023 523:10–14. A fixed magazine

is permanently attached to the firearm. Tr. 6/6/2023 523:15–19. A detachable magazine is a

magazine that can be easily removed from the firearm when empty and replaced with another

fully loaded detachable magazine. Tr. 6/6/2023 523:10–13. Detachable magazines facilitate more

rapid reloading of a firearm when the previous magazine is empty. Tr. 6/6/2023 523:13–14. It

takes a skilled firearm user approximately three and a half seconds to reload a firearm with a

detachable magazine. Tr. 5/30/2023 78:14–19.

       Magazines vary in their capacity, or the number of rounds that the magazine can hold.

Some magazines hold a maximum of ten rounds. Tr. 6/6/2023 523:20–23. Other magazines hold



20 – FINDINGS OF FACT AND CONCLUSIONS OF LAW
as many as 100 rounds. Tr. 6/5/2023 123:3–4. Magazine capacity is not a determining factor in

the operability of a firearm, and most firearms that accept detachable magazines will function the

same regardless of the magazine’s capacity. Tr. 6/6/2023 527:4–5. Glock semi-automatic pistols,

Beretta pistols, and most AR-15-style rifles will function with a ten-round magazine as well as

with an LCM. Tr. 6/6/2023 527:10–13. Aside from the number of rounds available without

reloading, the mechanical function of an LCM and a ten-round magazine is the same: both

deliver ammunition into the firearm. Tr. 6/5/2023 127:19–23; 128:11–12. LCMs and ten-round

magazines also offer the same reliability. Tr. 6/6/2023 526:24–527:1. When a detachable

magazine is inserted into a handgun’s magazine well, it is difficult to discern the total capacity of

the magazine. See Tr. 6/6/2023 529:2–4.

       Some magazines that hold a maximum of ten rounds can be extended to hold more

rounds. Tr. 6/5/2023 79:10–15. To extend a ten-round magazine, a user must first remove the

magazine’s baseplate, which can be done with a tool like a punch or a screwdriver, or sometimes

can be done by hand. Tr. 6/5/2023 79:11–13. The user must then add an extended baseplate to

their ten-round magazine. Tr. 6/5/2023 79:12–14. An extender replaces the original baseplate of

the magazine. Tr. 6/6/2023 531:16–18. In some firearms, a magazine that has been extended will

also require the user to replace the original spring with a stronger spring to push the cartridges

out of the magazine and into the chamber of the firearm. Tr. 6/6/2023 531:19–532:6. An

individual must add these parts—an extender, and possibly a stronger spring—before they can

successfully extend the capacity of their magazine. See Tr. 6/6/2023 532:7–10.

   B. LCMs and the U.S. Civilian Firearms Market

       Under Bruen, a court must consider whether a regulated firearm or firearm accessory is

“in common use today for self-defense.” Bruen, 142 S. Ct. at 2134 (internal quotation marks



21 – FINDINGS OF FACT AND CONCLUSIONS OF LAW
omitted). Accordingly, this Court received evidence at trial regarding the commonality of LCMs

among U.S. civilians. Based on that evidence, this Court now as finds follows: LCMs first

achieved commercial success in the U.S. civilian market in the 1980s. Tr. 6/5/2023 131:13–21.

In 1954, only two models of firearms available in the civilian marketplace were sold with

factory-issued LCMs, which accounted for 0.7 percent of firearms sold. Tr. 6/6/2023 408:18–21;

Ex. 565.16 In 1964, 0.6 percent of all firearm models available in the civilian marketplace were

sold with factory-issued LCMs. Tr. 6/6/2023 408:22–25; Ex. 565. In 1974, 1.7 percent of all

firearm models available in the civilian marketplace were sold with factory-issued LCMs. Tr.

6/6/2023 409:1–2; Ex. 565. In 1984, 5.4 percent of all firearm models available in the civilian

marketplace were sold with factory-issued LCMs. Tr. 6/6/2023 409:3–4; Ex. 565. And, in 1994,

7.2 percent of all firearm models available in the civilian marketplace were sold with factory-

issued LCMs. Tr. 6/6/2023 409:4–7; Ex. 565. In 1994, Congress passed the Federal Assault

Weapons Ban, which capped the maximum capacity for detachable magazines at ten rounds. Tr.

6/6/2023 525:21–526:7; see also Pub. L. No. 103-322, § 110103(b), 108 Stat. 1999 (1994). The

Federal Assault Weapons Ban expired in 2004. Tr. 6/6/2023 405:22–23.

       Today, many popular firearms come standard with LCMs. Tr. 6/5/2023 43:23–44:7;

44:14–19. Many firearms also come standard with multiple LCMs. Tr. 6/5/2023 44:17–18; 67:6–




       16
          During trial, Defendants’ expert Dr. Louis Klarevas testified about the number of
firearm models sold with factory-issued LCMs in the United States from 1954 to 1994. Tr.
6/6/2023 407:6–409:7. This testimony corresponds to Exhibit 565, which is a chart labeled
“Firearm Models Sold with Factory-Issue LCMs in U.S., 1955-1995.” See generally Ex. 565.
According to Dr. Klarevas’s testimony, the data compiled in Exhibit 565 relates to firearms sold
in the previous year, such that statistics from 1955 are reflective of the number of these firearms
sold in 1954, and so on. Tr. 6/6/2023 408:1–4. Accordingly, this Court uses the years in which
the firearms were sold, rather than the years listed in the Exhibit.


22 – FINDINGS OF FACT AND CONCLUSIONS OF LAW
17. Millions of Americans today own LCMs. ECF 206 at ¶ 49.17 Magazines typically cost

between twelve to twenty-five dollars for standard models, while more unique models can cost

upwards of fifty dollars each. Tr. 6/5/2023 130:11–15. Some LCMs sold to civilians are the same

as LCMs used by the military and are marketed to civilians as such. Tr. 6/5/2023 145:1–19.

       Plaintiffs presented evidence regarding the total number of LCMs possessed by civilians

through a 2018 National Shooting Sports Foundation (“NSSF”) Industry Intelligence Report,

which contains a chart estimating the number of detachable magazines in circulation in the

United States from 1990 to 2018 (“NSSF Magazine Chart”).18 Tr. 6/6/2023 363:17–22. The

NSSF Magazine Chart includes data from three sources: the Bureau of Alcohol, Tobacco,

Firearms and Explosives’ (“ATF”) Annual Firearms Manufacturing and Exportation Report

(“AFMER”), the U.S. International Trade Commission (“ITC”), and “industry insights.” Tr.

6/6/2023 362:24–25. To create the chart, NSSF uses firearm production data from government

sources. Tr. 6/6/2023 366:3–368:4. The NSSF then takes those firearm production numbers and

asks firearm manufacturers and distributors how many magazines, and of what capacity, they

include with those firearms. Tr. 6/6/2023 367:25–368:4. The NSSF uses those responses to




       17
           The parties presented this fact as stipulated in their joint Stipulation of Agreed-Upon
Facts filed prior to trial. See generally ECF 206. Neither party moved for this stipulation to be
admitted into evidence at trial. Nonetheless, this Court accepts this fact as true given the parties’
stipulation.
       18
           Plaintiffs offered the chart as an industry report through the testimony of Salam Fatohi,
who serves as the Director of Research at the National Shooting Sports Foundation (“NSSF”).
Tr. 6/6/2023 356:4–5. Although this Court received the chart in evidence, see Ex. 33 at 7, in
assessing the weight and credibility to give Mr. Fatohi’s testimony, this Court notes that the
NSSF is a plaintiff in this case and has been a plaintiff in several Second Amendment challenges
to firearms regulations. The NSSF is a firearm and industry trade association which advocates
for the firearm and ammunition industry. NSSF members have a significant financial interest in
the outcome of this case.


23 – FINDINGS OF FACT AND CONCLUSIONS OF LAW
extrapolate how many magazines, and of what capacity, are in circulation in the United States.

Tr. 6/6/2023 368:5–8.19

       According to the NSSF Magazine Chart, between 1990 and 2018, 106.8 million pistol

magazines were in circulation with a capacity of ten rounds or fewer. Tr. 6/6/2023 370:16–17.

Between 1990 and 2018, 71.2 million pistol magazines were in circulation with a capacity of

eleven rounds or more. Tr. 6/6/2023 370:18–19. Between 1990 and 2018, 37.7 million rifle

magazines were in circulation with a capacity of ten rounds or fewer. Tr. 6/6/2023 370:20–21.

Between 1990 and 2018, 9.4 million rifle magazines were in circulation with a capacity of

between eleven and twenty-nine rounds. Tr. 6/6/2023 370:22–24. Between 1990 and 2018, 79.2

million rifle magazines were in circulation with a capacity of thirty or more rounds. Tr. 6/6/2023

370:25. In total, the NSSF Magazine Chart shows that between 1990 and 2018, there were 304.3

million detachable magazines in circulation in the United States. Tr. 6/6/2023 371:1–2. Of those

304.3 million detachable magazines, approximately 160 million had a capacity of eleven rounds

or greater. Tr. 6/6/2023 371:10–11.

       After hearing and evaluating the trial evidence, this Court finds that the NSSF Magazine

Chart is entitled to little weight. On cross-examination, Salam Fatohi, who serves as the NSSF’s

Director of Research, admitted that he did not know how many industry representatives were

consulted to obtain the “industry insights” data that went into the magazine chart. Tr. 6/6/2023

377:18. Mr. Fatohi admitted that the NSSF report could have extrapolated the number of

magazines in circulation from as few as two industry representatives. Tr. 6/6/2023 377:21–22.




       19
          Mr. Fatohi testified that he was not personally involved in compiling the data included
in the 2018 NSSF Industry Intelligence Report’s magazine chart, but that he is currently
personally involved in updating the chart with data from 2022. Tr. 6/6/2023 365:20–366:7.
24 – FINDINGS OF FACT AND CONCLUSIONS OF LAW
Mr. Fatohi also testified that prior versions of Exhibit 33 had been used by the NSSF in litigation

challenging firearms regulations. Tr. 6/6/2023 382:11–13.

        Nevertheless, based on the parties’ pretrial stipulation, this Court finds that millions of

Americans today own LCMs. But this Court also finds that the number of LCMs possessed by

Americans is influenced to some degree by whether a firearms manufacturer sells a particular

model of firearm standard with an LCM, and whether that firearm is sold standard with more

than one LCM. Tr. 6/5/2023 44:16–19; 67:6–17.

   C. LCMs and Self-Defense

       Under Bruen, a court must consider whether a regulated firearm or firearm accessory is

“in common use today for self-defense.” Bruen, 142 S. Ct. at 2134 (internal quotation marks

omitted). Accordingly, this Court received evidence at trial regarding the use of LCMs in self-

defense. Plaintiffs presented evidence at trial that some individuals purchase LCMs for self-

defense. Tr. 6/5/2023 46:4–7. LCMs allow an individual to fire more bullets without reloading

than a magazine that holds ten bullets or fewer. Tr. 6/5/2023 128:13–15; 129:2–5. Detachable

magazines also allow an individual to reload their firearm more quickly than with a fixed

magazine. Tr. 6/6/2023 523:13–14.

       According to Plaintiffs’ expert Massad Ayoob, most civilians who attend his self-defense

classes bring a semi-automatic pistol with a magazine capacity of greater than ten rounds. Tr.

5/30/2023 31:16–18.20 According to Plaintiffs’ fact witness Jessica Harris, who owns an outdoor




       20
           This Court cannot give significant weight to the testimony of Plaintiffs’ expert Massad
Ayoob. This Court acknowledges that Mr. Ayoob has decades of experience as a firearms
instructor for law enforcement and served for nineteen years as the chair of the Firearms Deadly
Force Training Committee for the American Society of Law Enforcement Trainers. Tr.
5/30/2023 21:9–17. Mr. Ayoob has also written about self-defense and the use of deadly force by
private citizens. Tr. 5/30/2023 22:16–23:7. Nevertheless, Mr. Ayoob testified that he has served
25 – FINDINGS OF FACT AND CONCLUSIONS OF LAW
sporting goods store that sells firearms, most of her customers who purchase firearms for self-

defense purchase “things with as many rounds as possible.” Tr. 6/5/2023 38:9–24; 46:4–7.

       Plaintiffs offered only limited anecdotal evidence of LCMs actually being used in self-

defense. Mr. Ayoob described an incident in which a law enforcement officer fired thirty-three

rounds in pursuit of an armed bank robber. Tr. 5/30/2023 39:24–40:16. On cross-examination,

Mr. Ayoob also testified about an incident in which two individuals fired nine and three rounds,

respectively, at an armed intruder. Tr. 5/30/2023 56:16–57:14. On re-direct, Mr. Ayoob testified

to two other incidents with civilians firing more than ten rounds in self-defense: two brothers

who owned a jewelry store and fired between thirty and forty rounds to stop an attempted

robbery, and one gun shop owner who used an M16-rifle and a sub-machine gun to stop an

attempted robbery. Tr. 5/30/2023 95:15–96:13.

       By contrast, Defendants presented substantial and highly credible evidence at trial

showing that ordinary civilians in self-defense situations rarely fire more than ten rounds.

Defendants offered Lucy Allen as an expert on the statistical use of LCMs in defensive gun use

situations (“DGUs”). Ms. Allen received her bachelor’s degree from Stanford University, and

received a master’s degree in economics, a Master of Philosophy in economics, and a Master of

Business Administration, all from Yale University. Tr. 6/7/2023 659:17–20. Ms. Allen is the

senior managing director at National Economic Research Associates (“NERA”), an economic




for decades on the Board of Trustees for the Second Amendment Foundation, which is an
advocacy organization for gun rights and a plaintiff in the present action. Tr. 5/30/2023 59:13–
23. Mr. Ayoob testified on cross-examination that he has served as president of the Second
Amendment Foundation since September of 2020. Tr. 5/30/2023 59:24–60:2. Mr. Ayoob
testified that, as president, he has input into litigation decisions and yet has not implemented any
sort of screen within the Second Amendment Foundation due to his role as an expert in the
present case. Tr. 5/30/2023 60:12–61:6.
26 – FINDINGS OF FACT AND CONCLUSIONS OF LAW
consulting firm that provides quantitative and analytic research for clients in both the public and

private sectors. Tr. 6/7/2023 657:3–16. Ms. Allen has worked at NERA for twenty-five years. Tr.

6/7/2023 658:13–14. Prior to her work at NERA, Ms. Allen was an economist for the Council of

Economic Advisors under the first President Bush and President Clinton. Tr. 6/7/2023 658:16–

17. Ms. Allen has been conducting statistical analyses related to crime and gun use for twenty-

five years and began researching DGUs specifically ten years ago. Tr. 6/7/2023 659:5–15;

660:7–8. On cross-examination, Plaintiffs were unable to develop any persuasive evidence of

Ms. Allen’s bias. Accordingly, this Court finds Ms. Allen to be a highly qualified and credible

witness and gives significant weight to her testimony and statistical conclusions.

       Ms. Allen analyzed the number of shots fired in DGUs using two sources: the National

Rifle Association’s (“NRA”) Armed Citizens Database, which Ms. Allen described as “the

largest collection of [DGUs],” and a compilation of news articles taken from the aggregator

Factiva. Tr. 6/7/2023 660:24–661:4; 660:19–21. Ms. Allen testified that NERA analysts, as well

as other economic research firms and academics, commonly use Factiva for their research. Tr.

6/7/2023 672:25–673:6.

       The NRA Armed Citizens Database consists of DGUs compiled by the NRA. Tr.

6/7/2023 661:5–8. When it first began, the NRA database consisted of incidents compiled and

summarized by the NRA itself. Tr. 6/7/2023 661:11–14. More recently, the NRA database

consists of links to news articles about relevant DGUs. Tr. 6/7/2023 661:15–20. Ms. Allen used

the NRA database to analyze DGUs over a six-and-a-half-year period, from January 2011 to

May 2017. Tr. 6/7/2023 662:19–22. Of those 736 incidents, 134, or about 18 percent, involved

no shots fired. Tr. 6/7/2023 663:25–664:2; Ex. 536. For 587 of the incidents, or around 80

percent, one to five shots were fired. Tr. 6/7/2023 664:3–5. For thirteen of the incidents, or a



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little less than 2 percent, six to ten shots were fired. Tr. 6/7/2023 664:5–6. More than ten shots

were fired in only two incidents, or 0.3 percent. Tr. 6/7/2023 664:7–8; Ex. 536.21 Based on data

from the NRA database, an average of 2.2 shots are fired in DGUs. Tr. 6/7/2023 664:9–10; Ex.

536.

       Ms. Allen also testified that she conducted a similar analysis using her own sample of

news stories pulled from a database compiled by the aggregator Factiva. Tr. 6/7/2023 673:7–8.

This analysis looked at a random sample of 200 incidents from the roughly 4,800 news stories

describing DGUs over the same six-and-a-half-year period as the NRA database. Tr. 6/7/2023

673:8–17. Ms. Allen testified that this analysis produced roughly identical results to her analysis

of the NRA database: no shots were fired in 11.3 percent of incidents, one to five shots were

fired in 86 percent of incidents, and six to ten shots were fired in 2.7 percent of incidents, and in

no incidents were more than ten shots fired. Tr. 6/7/2023 674:8–12; Ex. 537. Based on data from

the Factiva database, an average of 2.3 shots are fired in DGUs. Tr. 6/7/2023 674:7; Ex. 537.

       Accordingly, based on the credible evidence presented at trial, this Court finds that many

Americans purchase LCMs with the intent to use them for self-defense. This Court finds,

however, that it is exceedingly rare (far less than 1 percent) for an individual to fire more than

ten shots in self-defense. Therefore, this Court finds that the features unique to LCMs—the

ability to shoot more than ten bullets without reloading—are not “commonly used . . . for self-

defense.” Bruen, 142 S. Ct. at 2138.




       21
           Ms. Allen also explained that these two incidents were added to the NRA database
after her initial research was made public through litigation challenging firearm regulations in
New York and Maryland. Tr. 6/7/2023 665:4–11.
28 – FINDINGS OF FACT AND CONCLUSIONS OF LAW
   D. LCMs and Mass Shootings

       Under Bruen, a court must analyze analogous historical weapons regulations under “a

more nuanced approach” if the modern regulation implicates an “unprecedented societal

concern.” Id. at 2132. Accordingly, this Court received evidence at trial regarding LCMs and

mass shooting events, which Defendants and Intervenor-Defendant argue represent an

unprecedented societal concern. Based on that evidence, this Court finds as follows: In the field

of criminology, mass shootings are defined as a shooting involving four or more people shot. Tr.

6/6/2023 398:22–24; 464:21–23. This definition excludes large inner group violence, including

things like race riots, labor riots, and battle skirmishes. Tr. 6/6/2023 464:21–465:2. A fatal mass

shooting is a mass shooting where at least one of the four victims died. Tr. 6/6/2023 399:3–6. A

high-fatality mass shooting is defined as a shooting where at least six or more people died, not

including the perpetrator. Tr. 6/6/2023 399:6–8.

       Between 1776 and 1949, or for about 70 percent of American history, there was no

example of a mass shooting event that resulted in double digit fatalities. Tr. 6/6/2023 403:25–

404:3; Ex. 564. The first known mass shooting involving more than ten fatalities, not including

the perpetrator, occurred in 1949. Tr. 6/6/2023 404:1–5; see also Ex. 564. The annual incidence

of high-fatality mass shootings has increased along a linear trend line from 1990 to 2022. Tr.

6/6/2023 413:5–9; Ex. 567. The number of fatalities in mass shooting events has also increased

along a linear trend line from 1990 to 2022. Tr. 6/6/2023 414:12–14; Ex. 568.

       Since 1990, 78 percent of all high-fatality mass shootings have involved LCMs. Tr.

6/6/2023 415:14–16; Ex. 569. Since 2000, 79 percent of all high-fatality mass shootings have

involved LCMs. Tr. 6/6/2023 415:16–18; Ex. 569. Since 2010, 86 percent of all high-fatality

mass shootings have involved LCMs. Tr. 6/6/2023 415:19–22; Ex. 569. Since 2020, 100 percent



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of all high-fatality mass shootings have involved LCMs. Tr. 6/6/2023 415:23–416:2; Ex. 569.

The average number of shots fired in a mass shooting where an LCM was not used was sixteen.

Tr. 6/7/2023 681:17–19. By contrast, the average number of shots fired in a mass shooting where

an LCM was used was ninety-nine. Tr. 6/7/2023 681:13–14. More than ten shots were fired in 94

percent of mass shootings where an LCM was used. Tr. 6/7/2023 681:14–16.

       Between 1982 and 2022, at least 179 mass shootings have occurred in which more than

four people were killed in a public place, excluding the shooter. Tr. 6/7/2023 680:18–21; 681:2–

6. Of the seventy-three of those incidents in which it is known that an LCM was used, there was

an average of ten fatalities and sixteen injuries. Ex. 538. Of the forty-two incidents in which it is

known that an LCM was not used, there was an average of six fatalities and three injuries. Ex.

538.

       The deadliest mass shooting event in American history took place in Las Vegas, Nevada

in 2017. Ex. 564. Sixty people were killed and more than 410 people were shot. Tr. 6/6/2023

423:1–6; Ex. 564. The perpetrator used 100-round LCMs. Tr. 6/5/2023 138:2–140:4. Using

LCMs and semi-automatic rifles—some of which were equipped with a feature known as a

bump-stock, which allows a semi-automatic firearm to be fired automatically—the shooter was

able to fire 100 rounds in between nine and eleven seconds. Tr. 6/6/2023 423:11–21. The shooter

shot for approximately eleven minutes and fired over 1,000 rounds. Tr. 6/6/2023 424:25–425:5.

       The second deadliest mass shooting in American history took place in Orlando, Florida in

2016. Ex. 564. Forty-nine people were killed. Ex. 564. The shooter used an LCM. Ex. 564.

       The third-deadliest mass shooting in American history took place in Blacksburg, Virginia

in 2007. Ex. 564. Using a firearm equipped with an LCM, the shooter fired 174 rounds in




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approximately nine to ten minutes. Tr. 6/7/2023 602:24–603:2; Ex. 564. Thirty-two people were

killed. Ex. 564.

       Magazine capacity is highly related to the lethality of a weapon, because capacity is what

determines the number of shots that can be fired within a given time without having to pause to

reload. Tr. 6/6/2023 513:5–10. State laws banning LCMs reduce the incidents of mass shootings

between 48 to 72 percent and decrease the number of fatalities that occur in these mass shootings

by 37 to 75 percent. Tr. 6/6/2023 506:14–19. Defendants presented credible evidence at trial

demonstrating that the relationship between restrictions on LCMs and reductions in mass

shootings is so pronounced that it is a causal relationship, meaning that the restrictions were at

least partly responsible for the reductions. Tr. 6/6/2023 507:20–508:1.

       When a shooter has fired all the available rounds in a magazine’s chamber, the shooter

must pause shooting to either swap out magazines or change firearms. Tr. 6/6/2023 427:19–

428:3. Defendants’ expert Dr. Louis Klarevas, who studies mass shootings, testified that he was

not aware of a mass shooting event in which it took the shooter less than five seconds to swap

out magazines. Tr. 6/6/2023 401:15–23; 428:4–6. During a mass shooting event in 2022 in

Buffalo, New York, it took the mass shooter approximately eight to nine seconds to swap out

magazines. Tr. 6/6/2023 428:10–12; Ex. 564. Pauses in mass shootings allow potential victims to

respond by fleeing, hiding, or fighting back. Tr. 6/6/2023 426:15–427:2. During the Newtown,

Connecticut mass shooting that occurred at Sandy Hook Elementary school in 2012, nine

children were able to flee and two were able to hide when the shooter paused to reload

magazines. Tr. 6/6/2023 429:10–15; Ex. 564. During a 2019 shooting at the Poway synagogue in

California, the shooter was confronted by congregants and chased out after he had fired all ten




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rounds from his firearm and paused to reload. Tr. 6/6/2023 446:5–20. These pauses occur less

frequently when a mass shooter uses a firearm equipped with an LCM. Tr. 6/6/2023 429:1–4.

       Accordingly, this Court finds as follows: Mass shootings are a recent phenomenon in

American history. The annual incidence of mass shootings has increased since 1990. LCMs are

commonly used in high-fatality mass shootings, and their use in these shootings has increased in

recent years. The use of LCMs in mass shooting events increases the lethality of those events.

The features unique to LCMs—the ability to shoot more than ten bullets without reloading—are

useful for mass shooters. Pauses where a shooter must reload magazines or switch firearms

provide an opportunity for potential victims to flee, hide, or fight back.

   E. LCMs and Public Health

       Under Bruen, a court must analyze historical weapons regulations under “a more nuanced

approach” if the modern regulation implicates “an unprecedented societal concern” or “dramatic

technological change[].” Bruen, 142 S. Ct. at 2132. Accordingly, this Court received evidence at

trial regarding the severity of gunshot wounds from LCM-equipped firearms and the burdens

imposed on hospital capacity by mass shooting events. Based on the credible evidence presented

at trial, this Court finds as follows: Gunshot victims typically die from gunshot wounds in one of

two ways. First, a victim dies if the bullet enters a critical organ such as the brain stem or heart.

Tr. 6/6/2023 486:16–21. If an individual is shot multiple times, there is a greater likelihood they

will suffer a gunshot wound to a critical organ. Tr. 6/6/2023 487:15–18. Second, a victim may

die if they have multiple gunshot wounds that hit less critical structures but cause rapid bleeding.

Tr. 6/6/2023 486:22–25. A victim who is shot multiple times is more likely to suffer rapid

bleeding, though that it is not always a linear relationship. Tr. 6/6/2023 490:20–21. A patient




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shot multiple times in non-critical areas might lose less blood than a patient shot fewer times

with major blood vessel injuries. Tr. 6/6/2023 490:20–25.

       Surge capacity is the capacity of any given hospital to deal with multiple casualty

incidents in a short period of time. Tr. 6/6/2023 494:6–12. In Oregon, Oregon Health and

Sciences University (“OHSU”) is one of two hospitals with a level one trauma center, which is

the largest and most well-resourced level of trauma center. Tr. 6/6/2023 483:1–5. OHSU and

Legacy Emanuel, another level one trauma center, receive all acutely injured patients from the

Portland metropolitan area. Tr. 6/6/2023 483:3–6. If a mass shooting event resulted in more than

five or ten critically injured patients being taken to OHSU in a short period of time, OHSU

would rapidly run out of available resources to treat patients. Tr. 6/6/2023 495:2–13. The surge

capacity of hospitals around the state of Oregon would likely be much smaller. Tr. 6/6/2023

496:2–12. Once a hospital reaches surge capacity, the hospital must decide how to allocate care

to patients, which can result in delayed care and the postponement of elective cancer surgeries or

other treatments. Tr. 6/6/2023 495:14–21.

VI.    FINDINGS OF FACT: HISTORY AND TRADITION

       Under Bruen, courts are tasked with determining whether the challenged regulation is

“consistent with the Nation’s historical tradition of firearm regulation.” Bruen, 142 S. Ct. at

2126. Accordingly, this Court received evidence about the evolution of firearms and weapons

technology. In addition, this Court heard evidence about societal concerns that arose from the

proliferation of such weapons and the regulations that were enacted to address those concerns.

       Plaintiffs and Defendants both offered expert testimony regarding the existence and

prevalence of weapons—including repeating firearms, which are firearms that can be fired more

than once without reloading, and large-capacity repeating firearms, which are firearms that can



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be fired more than ten times without reloading—throughout American history. Defendants also

offered expert testimony regarding the societal context amid which certain historical regulations

arose. Plaintiffs offered Ashley Hlebinsky, formerly a curator at the Cody Firearms Museum at

the Buffalo Bill Center of the West and current Senior Fellow at the University of Wyoming

College of Law’s Firearms Research Center. Tr. 6/5/2023 162:3–7; 153:24–154:5; 154:10–21.

Ms. Hlebinsky earned a bachelor’s degree and a master’s degree in American History from the

University of Delaware. Tr. 6/5/2023 156:8–10; 160:12–15. Ms. Hlebinsky worked for the Cody

Firearms Museum from 2013 to 2020. Tr. 6/5/2023 161:11–13; 165:19. Her published work is

largely limited to non-peer-reviewed articles in firearms publications, such as Recoil Magazine

and Armax Journal. Ex. 196.

       Defendants offered five historical experts: Dr. Brian DeLay, Dr. Kevin Sweeney, Dr.

Roger Pauley, Dr. Brennan Rivas, and Dr. Robert Spitzer. Dr. DeLay is a professor of history at

the University of California, Berkeley, where he focuses on the international arms trade in the

eighteenth and nineteenth centuries. Tr. 6/6/2023 545:17–546:4. Dr. DeLay received his

bachelor’s degree from the University of Colorado at Boulder, and his master’s degree and Ph.D.

in American History from Harvard University. Tr. 6/6/2023 545:10–14. Dr. Sweeney is a

professor emeritus at Amherst College, where he taught in both the History and American

Studies departments from 1989 to 2016. Tr. 6/7/2023 618:1–3. Dr. Sweeney received his

bachelor’s degree in history from Williams College and his Ph.D. in history from Yale

University. Tr. 6/7/2023 617:7–9. Dr. Pauley is a professor of history at the University of Central

Arkansas, where he has been teaching since 2001. Tr. 6/8/2023 1004:13–16. Dr. Pauley received

his bachelor’s degree in history from St. Olaf College, his master’s degree in history from

Villanova University, and his Ph.D. from the University of Delaware. Tr. 6/8/2023 1005:9–12.



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Dr. Rivas received her bachelor’s degree in history from Oklahoma State University, and her

master’s degree and Ph.D. in history from Texas Christian University. Tr. 6/7/2023 704:17–20.

And Dr. Spitzer, who serves as a professor emeritus at the State University of New York at

Cortland, and has taught at Cornell University and the College of Law at William and Mary,

received his bachelor’s degree in political science from the State University of New York at

Fredonia, and his master’s degree and Ph.D. in political science from Cornell University. Tr.

6/8/2023 854:25–855:5; 856:9–12. Defendants’ historical experts have a combined ninety-three

years of experience studying the history of firearms, the history of firearms-related regulations,

or the history of firearms policy. Tr. 6/6/2023 548:22–23; Tr. 6/7/2023 619:10–18; 705:8–9; Tr.

6/8/2023 856:13–857:2; 1006:3–8. Additionally, Defendants’ experts have all published either

peer-reviewed scholarship or books in these fields. Tr. 6/6/2023 500:9–13; Tr. 6/7/2023 619:18;

706:3; Tr. 6/8/2023 857:5; 1005:15–17.

       Defendants’ experts come from neutral academic backgrounds and possess no economic

interest in the sale of LCMs. Ms. Hlebinsky, by contrast, offers a curatorial perspective on the

evolution of firearms technology in the United States, including personal experience handling

firearms from different eras. Tr. 6/5/2023 168:20–25. But Ms. Hlebinsky lacks background and

training as a historian. More troubling to this Court, Ms. Hlebinsky has both professional and

personal ties to pro-gun groups and the firearms industry, which this Court finds limit her ability

to serve as a neutral expert in this case. Ms. Hlebinsky has received numerous awards from pro-

gun advocacy groups, has co-founded a research center that advocates for the firearms industry

and denounces gun regulation, and has a strong financial interest in the success of the firearms

industry. For example, Ms. Hlebinsky has done speaking engagements and received awards from

the Second Amendment Foundation, which is an advocacy organization for gun rights and a



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plaintiff in this case. Tr. 6/5/2023 281:25–282:13. She received the Second Amendment

Foundation’s “Defender of the Constitution” award in 2022. Tr. 6/5/2023 282:8–10. She has also

received awards from the National Shooting Sports Foundation, Inc., which is also a plaintiff in

this case. Tr. 6/5/2023 281:2–11.

       Perhaps most importantly, however, Ms. Hlebinsky is married to Mark Hanish, who also

served as an expert witness in this case. Tr. 6/5/2023 278:14–17. Mr. Hanish has spent decades

working for gun dealers and gun manufacturers and currently serves as the Vice President of

Sales and Marketing for Timney Triggers. Tr. 6/5/2023 278:18–24. Not only does Mr. Hanish

derive his standard income from the firearms industry, but he also owns over one million dollars

in stock in Ammo, Inc. Tr. 6/5/2023 278:25–279:2; 279:13–15. Ms. Hlebinsky testified that Mr.

Hanish’s financial interest in the firearms industry is part of the couple’s marital assets. Tr.

6/5/2023 279:13–18. This Court finds the testimony of Defendants’ neutral historical experts to

be significantly more credible—and entitled to more weight—than that of Ms. Hlebinsky.

   A. The American Colonies and the Early Republic (1700-1800)

       1. Firearms and Weapons Technology

       Because Bruen instructs courts to consider whether a challenged regulation “is consistent

with the Nation’s historical tradition of firearm regulation,” this Court admitted evidence at trial

about the history of firearms and weapons technology since the Nation’s founding in 1776 and

the ratification of the Second Amendment in 1791 through to the mid-twentieth century. Bruen,

142 S. Ct. at 2130. Based on the evidence presented, this Court finds that detachable magazines

did not exist at the time of the Founding. See Tr. 6/7/2023 597:17–25. In the eighteenth century,

the word “magazine” referred to a storage facility or depot that housed gunpowder and, on

occasion, weapons. Tr. 6/7/2023 768:15–21; Ex. 736. Items that contained ammunition in the



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eighteenth century, such as cartridge boxes, were considered “accoutrements,” which was used

as a semantically distinct term from “arm.” Tr. 6/7/2023 767:4–9.

       While repeating firearms existed prior to the ratification of the Second Amendment, these

firearms were exceedingly rare, particular within the general populace. Tr. 6/6/2023 551:14–150;

552:23–553:16. Defendants’ expert Dr. DeLay testified about two specific types of repeating

firearms that existed in early Colonial America and at the time of the Founding: the Cookson

repeating firearm and the Belton repeating firearm. The Cookson repeating firearm was a firearm

designed by English master gunmaker John Cookson that could fire nine shots without reloading.

Tr. 6/6/2023 554:3–14. There is evidence of only one nine-shot Cookson repeating firearm,

produced in England, that existed in America prior to the Founding. Tr. 6/6/2023 556:9–17. The

Belton repeating firearm was a superposed load firearm, which operated like a Roman candle, in

which a single charge would ignite each subsequent charge until the firearm had fired all its

rounds. Tr. 6/6/2023 557:14–558:9. While there is evidence that the Continental Congress

offered to purchase 100 of these firearms for use in the Revolutionary War, there is no evidence

that this firearm existed outside of a prototype. Tr. 6/6/2023 559:14–17; 560:3–12.

       Repeating firearms were not commonly owned by civilians in the years immediately prior

to, or following, the Founding of the United States of America in 1776. Repeating firearms were

expensive and laborious to produce, and the technology was beyond the mechanical and

technical capacity of most firearms manufacturers at the time. Tr. 6/6/2023 555:9–15; Tr.

6/7/2023 574:6; 577:6–11. Because of their rarity amongst civilians, these repeating firearms

were viewed more as curiosities than as weapons for self-defense. Tr. 6/7/2023 576:18–20. And




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large-capacity repeating firearms, which could fire more than ten rounds without reloading,

likely did not exist in America prior to the Founding in 1776.22

       Instead, the firearms most commonly possessed by civilians in the eighteenth century fell

into four categories: muskets, rifles, pistols, and lighter smoothbore firearms used for hunting.

Tr. 6/7/2023 630:24–631:4. An eighteenth-century musket held one round, and reloading it

required the user to complete at least eight steps, including opening a paper cartridge with a

premeasured amount of gunpowder and single ammunition ball, pouring some of the gunpowder

into a priming pan, pouring the rest of the gunpowder into the muzzle of the musket, inserting

the ammunition ball covered with the paper from the cartridge into the muzzle, and ramming the

powder and ammunition together to form a seal. Tr. 6/7/2023 641:21–643:9. A well-trained

militia person in the eighteenth century could fire two to three rounds per minute from a musket.

Tr. 6/7/2023 643:10–17. An eighteenth-century rifle user could, at most, fire three rifle shots in

two minutes. Tr. 6/7/2023 646:10–16. Reloading a rifle took longer than reloading a musket

because there were no paper cartridges for rifles, meaning that a shooter had to use a gunpowder

horn to pour the gunpowder into the muzzle. Tr. 6/7/2023 645:5–9. Reloading a rifle also

required the shooter to put a grease patch, which was a greased piece of linen, between the

gunpowder and the ammunition ball, to provide a seal between the two. Tr. 6/7/2023 645:10–22.

An eighteenth-century smoothbore long gun was reloaded like a musket, in that it did not require




       22
          Ashley Hlebinsky, whom Plaintiffs’ offered as an expert on the history of firearms
technology, testified that she “believed” that there was a twelve-shot Cookson-style firearm that
existed in America prior to the Founding. Tr. 6/5/2023 218:15–219:9. On cross-examination, Ms.
Hlebinsky was unable to offer any compelling evidence that suggests this firearm existed in
America prior to 1776. See generally Tr. 6/5/2023 218:23–219:14. Aside from this firearm, Ms.
Hlebinsky testified that she was not aware of any firearm capable of firing more than ten shots
without reloading that existed in America prior to 1776. Tr. 6/5/2023 219:10–14.
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a grease patch, but smoothbores also did not commonly use paper cartridges, such that reloading

a smoothbore long gun took slightly longer than reloading a musket but was not as slow as

reloading a rifle. Tr. 6/7/2023 647:2–3. An eighteenth-century pistol was reloaded like a musket,

except that the pistol’s size allowed the user to load slightly faster, such that it could be fired

three to four times per minute. Tr. 6/7/2023 647:11–20.

        Given these technological limits on firearms, interpersonal gun violence was not

widespread in society prior to the middle of the nineteenth century. Tr. 6/7/2023 587:23–588:4.

Between 1776 and 1860, only ten to fifteen percent of homicides between family members

involved a firearm. Tr. 6/7/2023 587:7–9. Because most firearms were muzzleloading powder

firearms, they were difficult to keep loaded and at the ready for self-defense or spontaneous

violence due to the powder’s corrosive properties. Tr. 6/7/2023 588:5–10.

        Accordingly, based on the credible evidence presented at trial, this Court finds as

follows: Repeating firearms were not commonly owned by civilians at the time of the Second

Amendment’s ratification in 1791. Repeating firearms that could fire more than ten rounds

without reloading did not exist in America prior to 1791. Interpersonal gun violence was not a

general societal concern in 1791.

        2. Firearms and Weapons Regulations

        Because Bruen instructs courts to consider how and why historical weapons regulations

burdened the right to self-defense, this Court received evidence at trial regarding historical

weapons regulations and the justifications underlying those regulations. Bruen, 142 S. Ct. at

2133.

        Before 1791, firearms could not fire without gunpowder. Tr. 6/5/2023 227:9–22.

Gunpowder in the eighteenth century was unstable and could lead to explosions and fires if



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stored improperly. Tr. 6/5/2023 166:10–11; Tr. 6/8/2023 880:25–881:2. Because of these risks,

gunpowder was subject to regulation throughout colonial America and, after 1776, throughout

the early Republic. Tr. 6/8/2023 879:25–880:1. In the eighteenth and early-nineteenth centuries,

gunpowder-related explosions posed a particular societal risk because of the lack of uniform

safety codes or fire departments, meaning that even small fires could potentially turn

catastrophic. Tr. 6/8/2023 880:25–881:8. Pre-1800, nine colonies or states passed laws limiting

or regulating the possession, use, or sale of gunpowder. Maryland, Massachusetts, New

Hampshire, New York, Pennsylvania, Rhode Island, and Virginia all enacted laws regulating the

storage of gunpowder. Ex. 640. Connecticut, Maryland, Massachusetts, New Jersey, New York,

Pennsylvania, and Rhode Island all enacted laws regulating the manufacture, inspection, sale, or

ignition of gunpowder. Ex. 640. And Maryland and New York additionally enacted laws

regulating the transport of gunpowder. Ex. 640.

   Based on the above evidence, this Court makes the following finding: Large quantities of

gunpowder posed a threat to public safety at the time of the Second Amendment’s ratification in

1791. In the late-eighteenth century, colonies and states responded to this danger by regulating

the amount of gunpowder that could be stored in a given area and placed restrictions on the

manufacture, inspection, sale, and transport of gunpowder.

   B. Early-to-Mid-Nineteenth Century (1800-1850)

       1. Firearms and Weapons Technology

       At the beginning of the nineteenth century, repeating firearms were still a rarity in

American daily life. Defendants’ expert Dr. DeLay testified about the existence of one repeating

rifle in America in the period between 1791, when the Second Amendment was adopted, and

1830, when repeating pistols began to emerge onto the U.S. civilian market: the Girandoni



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repeating firearm. The Girandoni repeating rifle was an air rifle created by an Italian gun maker

and was regarded, for its time, as the best repeating air gun available. Tr. 6/7/2023 572:16–21.

The Girandoni air rifle relied on a reservoir of compressed air to fire; to prime the reservoir such

that the firearm could fire without reloading, an individual had to complete 1,500 strokes of the

firearm’s air pump, which made priming the gun a laborious process. Tr. 6/7/2023 573:16–21.

There is no evidence of the Girandoni air rifle existing in America prior to 1776. Tr. 6/7/2023

572:22–24. There is, however, evidence that a Girandoni air rifle was brought on the Lewis and

Clark expedition from 1803 to 1804. Tr. 6/7/2023 573:3–9.

       Following the Founding in 1776 and the ratification of the Second Amendment in 1791,

most repeating firearms that appear in the historical record before the mid-nineteenth century are

all variations of the superposed system used by the Belton firearm. Tr. 6/7/2023 578:4–9. These

firearms enjoyed very limited success in the United States. Tr. 6/7/2023 578:15–16. A few

hundred of these superposed firearms were used by the U.S. Navy during the War of 1812. Tr.

6/7/2023 579:13–17. These superposed firearms did not enjoy any commercial success among

the public. Tr. 6/7/2023 580:10–15.

       In the early nineteenth century, pistols remained single-shot, muzzleloading devices. Tr.

6/7/2023 724:7–8. Early nineteenth century pistols came in three traditional sizes: a large pistol

known as a horse pistol, which was designed to be carried for mounted combat, a mid-size pistol

known as a belt pistol, which was designed to be hung from a belt, and a pocket pistol, which

was designed to be concealed in a pocket. Tr. 6/7/2023 724:7–725:4.

       In the 1820s, firearms moved from a flintlock ignition system, which relied on an

external charge caused by the friction of flint on steel to spark the firearm’s charge, to a

percussion ignition system, which employed an internal combustion caused by pressure and a



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chemical compound to spark the firearm’s charge. Tr. 6/5/2023 182:16–183:2; Tr. 6/7/2023

581:9–16; 581:23–582:12. Around this time, firearms also moved from round-ball ammunition

to a conically shaped projectile. Tr. 6/5/2023 183:2–4. Following these technological

advancements, the first reliable repeating handguns began entering the civilian market in the

1830s. Tr. 6/7/2023 582:19–22. None were large-capacity firearms. Tr. 6/7/2023 586:2–9.

       The first type of reliable repeating handgun, known as a pepperbox, was a handgun with

multiple barrels that revolved around a single axis. Tr. 6/7/2023 582:23–583:3. A pepperbox

could typically hold between three and six rounds, and reloading was a time-consuming process

that involved multiple steps. Tr. 6/7/2023 584:23–585:1; Tr. 6/7/2023 584:8–12. The second type

of reliable repeating pistol, known as a revolver, was a handgun with rotating chambers. Tr.

6/7/2023 582:25–583:2. The first commercially successful revolver was patented by Samuel

Colt, and came to be known as the Colt revolver. Tr. 6/5/2023 183:14–16; Tr. 6/7/2023 583:6–

10. A Colt revolver in the 1830s could hold between five and seven rounds, with the most

common capacity being six rounds. Tr. 6/7/2023 584:18–21. It took a user five steps to reload a

single chamber, meaning that it took a user thirty separate steps to fully reload a popular six-shot

revolver. Tr. 6/7/2023 584:7–10. Colt revolvers did not become popular among the civilian

population until the mid-to-late 1840s. Tr. 6/7/2023 726:2–10. Large-capacity pepperboxes or

revolvers, which could fire more than ten rounds without reloading, were not common in the

early or mid-nineteenth century. Tr. 6/7/2023 586:2–9. No large-capacity firearms, including

revolvers or rifles capable of firing more than ten rounds without reloading, enjoyed any

commercial success before 1860. Tr. 6/7/2023 586:5–9.

       Based on the credible evidence presented at trial, this Court finds as follows: the first

reliable repeating handguns entered the civilian market in the 1830s, but were not popular with



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civilians until the mid-to-late 1840s. None of these handguns had a capacity of more than ten

rounds. No firearm with a capacity of more than ten rounds enjoyed any commercial success

before 1860.

       2. Firearms and Weapons Regulations

       The beginning half of the nineteenth century saw a rise in “deadly weapons” regulations,

wherein local and state governments sought to regulate weapons viewed as being particularly

dangerous to public safety. Tr. 6/7/2023 713:16–20; 714:3–7; 721:8–11. Many of these weapons

were considered particularly dangerous because of how easily they could be concealed. Tr.

6/7/2023 721:10–14.

       These “deadly weapons” regulations took various forms, largely related to the type of

weapon—or the feature of the deadly weapon—that the government sought to regulate. At the

beginning of the nineteenth century, for instance, the most popular pistols were single-shot,

muzzleloading devices. Tr. 6/7/2023 724:7–8. These pistols gave the user one shot, after which

the pistol would be essentially as useful as a bludgeon. Tr. 6/7/2023 717:6–8. Knives, on the

other hand, could be used as many times as the individual desired and could be exceedingly

deadly. Tr. 6/7/2023 717:9–12. Accordingly, laws regulating knives were often broad, trying to

capture as many kinds of fighting knives as possible, including “daggers,” “dirks,” “stilettos,”

“Arkansas tooth-picks,” and others. Tr. 6/7/2023 717:13–16; see, e.g., Ex. 636 at 2, 5. Often,

these laws took the form of anti-concealed carry statutes, which prohibited the carrying of a

concealed knife in public. Tr. 6/7/2023 714:13–18. An anti-concealed carry statute passed in

1813 in Louisiana, for instance, made it a criminal offense for any person to “be found with any

concealed weapon, such as a dirk, dagger, knife, pistol, or any other deadly weapon.” Ex. 636 at

33.



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       These laws typically did not ban possession of knives outright, however, because of the

relative simplicity and commonality of knives as a household item. Tr. 6/8/2023 868:14–19.

Governments in early-to-mid-nineteenth century America lacked the type of policing

infrastructure necessary to ban possession of a common and easily made item. Tr. 6/8/2023

868:6–19. Instead, these laws sought to prevent what was viewed as the most dangerous feature

of a knife: its ability to be concealed on a person in public places. Tr. 6/7/2023 721:11–14.

Often, concealed carry laws that restricted the carrying of knives contained exceptions for

ordinary pocketknives. See, e.g., Ex. 636 at 15, 78, 87.

       Regulations in the early to mid-nineteenth century also targeted a specific type of knife,

known as a Bowie knife. A Bowie knife is a long, large knife, typically six or more inches in

length, with a guard on the handle and a double-edge blade near the tip. Tr. 6/7/2023 718:5–11.

While it is difficult to gauge in numerical terms the popularity of Bowie knives during the

nineteenth century, Bowie knives were frequently reported as being associated with crime in the

mid-nineteenth century. Tr. 6/7/2023 719:22–720:4. Defendants’ expert Dr. Brennan Rivas

testified that, from these reports, she could conclude that there was a significant amount of

societal concern associated with the carrying of Bowie knives, and particularly with the

concealed carrying of these knives. Tr. 6/7/2023 720:25–721:3.

       Governments responded to the carrying of Bowie knives by enacting laws criminalizing

their concealed carry. Tr. 6/8/2023 865:19–25. Prior to 1850, four states prohibited the concealed

carrying of Bowie knives. Tr. 6/8/2023 866:21–22; Ex. 639. Bowie knives were particularly

regulated via concealed carry statutes because the ability to conceal a Bowie knife was thought

to render the weapon particularly dangerous. Tr. 6/7/2023 721:10–20.




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       The early and mid-nineteenth century also saw a rise in interpersonal violence and

murder, particularly in the American South. Tr. 6/8/2023 877:17–21. Much of this violence

involved pistols, which at this time were still typically single-shot, muzzleloading devices. Tr.

6/7/2023 724:7–8; Tr. 6/8/2023 877:20–21. Governments responded to this rise in interpersonal

violence by enacting anti-concealed carry laws targeting pistols. Tr. 6/8/2023 877:21–23. These

concealed carry laws often targeted pocket pistols specifically, which were the smallest size of

pistol and were readily concealable. A Memphis city ordinance passed in 1826, for instance,

prohibited the carry—open or concealed—of any pocket pistol. Ex. 636 at 77. New Jersey also

specifically targeted pocket pistols in its anti-concealed carry law. Ex. 636 at 52. Between 1800

and 1850, eleven states or municipalities enacted regulations prohibiting the concealed carry of

pistols. Ex. 634. Some of these laws, such as those passed in Alabama and Arkansas, exempted

individuals who were “upon a journey.” Ex. 636 at 2, 8.

       Some laws went beyond prohibiting the concealed carry of weapons that were considered

particularly dangerous. In Florida, for instance, an 1838 law made it unlawful for anyone to sell

pocket pistols without first paying a yearly fee. Ex. 636 at 19. The same 1826 Memphis law that

outlawed the carrying of pocket pistols also made it a misdemeanor to sell a Bowie knife. Ex.

636 at 76–77. In Alabama, an 1837 law imposed greater criminal penalties for the use of a Bowie

knife and taxed the sale or gift of Bowie knives; two years later, Alabama passed another law

prohibiting the concealed carry of Bowie knives. Ex. 636 at 1–2.

       Based on the credible evidence presented at trial, this Court finds as follows: State and

municipal governments in the beginning half of the nineteenth century regulated weapons

viewed as being particularly dangerous to public safety. These regulations were tailored to

address the particular features of the weapons that made them most dangerous to public safety.



45 – FINDINGS OF FACT AND CONCLUSIONS OF LAW
   C. The Civil War and Reconstruction (1850-1880)

       1. Firearms and Weapons Technology

       In the mid-nineteenth century, metallic cartridges for firearms, which combined primer,

propellant, and projectile into a single package that could be loaded in one step, were introduced

onto the American market. Tr. 6/7/2023 589:9–15. In the decades before the Civil War began in

1861, another technological advancement paved the way for reliable repeating rifles: breech

loading, wherein a firearm user could load their firearm through the breech, or the rear of the

barrel, as opposed to the muzzle, or the front of the barrel. Tr. 6/7/2023 609:25–610:7. Between

1811 and 1860, there was a flurry of patent activity around breech loading firearms, with various

gun manufacturers attempting to perfect the technology. Tr. 6/7/2023 609:21–22; 610:16–21.

Towards the beginning of the Civil War, gun manufacturers began combining breech loading and

metallic cartridges with levers that could cycle spent casings and new rounds into firearms. Tr.

6/7/2023 590:1–8.

       This combination of metallic cartridges, breech loading, and lever-action technology first

appeared in the 1840s and improved through the 1850s. Tr. 6/7/2023 590:9–13. In the 1860s, the

Henry and Winchester rifles, which were lever-action firearms, became the first large-capacity

repeating firearms to enjoy limited commercial success in the United States. Tr. 6/7/2023

590:14–591:2. Both rifles had a capacity of more than ten rounds. Tr. 6/7/2023 591:14–16.

Unlike modern detachable LCMs, both rifles relied on a fixed magazine and lever to cycle spent

metallic cartridges out of the chamber and cycle new metallic cartridges into the chamber. Tr.

6/7/2023 590:1–20. An individual using a Winchester or Henry could fire their rounds only as

quickly as they could work the lever and trigger. Tr. 6/7/2023 651:1–3. Both models required the

user to reload the rounds one by one after the fixed magazine had been emptied. Tr. 6/7/2023



46 – FINDINGS OF FACT AND CONCLUSIONS OF LAW
593:4–8. The Henry rifle, which came onto the market in 1860, required the user to insert rounds

through the tip of the firearm’s magazine, which was located near the muzzle of the rifle. Tr.

6/7/2023 591:3–10. The Winchester rifle, which came onto the market in 1866, improved upon

this technology by allowing the user to load cartridges through a side gate on the rifle. Tr.

6/7/2023 591:7–10.

        Between 1861 and 1872, there were 74,000 Henry and Winchester rifles produced; of

those, about 65,000 were exported to foreign militaries and 8,500 were purchased by or for

officers in the Union Army during the Civil War, leaving just 500 for the civilian market. Tr.

6/7/2023 594:4–21. According to Dr. DeLay’s estimates, large-capacity firearms accounted for

less than 0.002 percent of firearms in the United States at the time of the ratification of the

Fourteenth Amendment in 1868. Tr. 6/7/2023 595:18–22. This Court finds that, while large-

capacity repeating firearms became commercially available in the United States around 1860,

they nevertheless represented an exceedingly small portion of the U.S. civilian gun stock at that

time.

        The mid-nineteenth century also saw a proliferation in the production of revolvers. Colt’s

patent on the revolver expired in 1857, at which point various other firearms manufacturers

began making their version of a revolver. Tr. 6/7/2023 727:16–24. At the beginning of the Civil

War, these manufacturers obtained government contracts to produce revolvers for the military.

Tr. 6/7/2023 727:23–25. These contracts allowed manufacturers to vastly increase their

production of revolvers. Tr. 6/7/2023 727:24–728:1. When the Civil War ended in 1865, these

manufacturers turned to the civilian market to continue selling revolvers at the level they had

previously been producing for the military. Tr. 6/7/2023 728:1–7. The revolvers had an

ammunition capacity of less than eleven rounds. Tr. 6/7/2023 726:23–724:4. The rise in



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production of these handguns also led to a drop in price. Tr. 6/8/2023 878:11. In the years

immediately following the Civil War, a Colt revolver sold for about thirty-two dollars; by the

end of the nineteenth century, an individual could purchase a working handgun for just two

dollars. Tr. 6/8/2023 878:12–14.

       Accordingly, based on the credible evidence presented at trial, this Court finds as

follows: The first large-capacity repeating rifles entered the U.S. civilian market in the 1860s.

These rifles used fixed magazines, could only be fired as quickly as the user could work the lever

and trigger, and required rounds to be loaded one at a time after the user had fired all the rounds

in the magazine. The Henry and Winchester rifles were not commonly owned by U.S. civilians at

the time of the Fourteenth Amendment’s ratification in 1868. The expiration of Colt’s patent led

to an increase in the number of revolvers produced by firearms manufacturers. These revolvers

were sold to the military before and during the Civil War. Following the Civil War, gun

manufacturers began selling revolvers to U.S. civilians in larger quantities. The existing

revolvers did not allow an individual to shoot more than ten rounds without reloading.

       2. Firearms and Weapons Regulations

       The proliferation of relatively inexpensive revolvers in the U.S. civilian market following

the end of the Civil War led to an increase in interpersonal violence involving firearms. Tr.

6/8/2023 877:24–878:3. The influx of these revolvers, which could fire multiple rounds—

although less than ten—without needing to be reloaded, injected a new and more lethal

technology into the already rising rates of violence and crime throughout the county. Tr.

6/7/2023 729:6–15. In response, states enacted statutes specifically targeted at revolvers, and

primarily targeted the concealed carry of these revolvers, which was considered a particularly

dangerous feature of these weapons. Tr. 6/7/2023 732:5–12.



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       From the beginning of the Civil War in 1861 through to the end of the nineteenth century,

at least nine states and territories passed anti-concealed carry statutes that specifically prohibited

the concealed carrying of revolvers. Ex. 636 at 5, 14, 41, 58, 67, 70, 78, 88, 91. Cities in Illinois,

Iowa, Kansas, Missouri, Nebraska, and Washington also passed anti-concealed carry statutes

specifically prohibiting the concealed carry of revolvers. Ex. 636 at 25, 26, 28, 29, 46, 47, 50, 51,

87, 88. Still other states passed broad anti-carry laws prohibiting the carry of revolvers,

concealed or otherwise, with any intent to do harm. A West Virginia law from 1882, for instance,

made it a misdemeanor for someone to “carry about his person any revolver.” Ex. 636 at 89

(emphasis added). A Syracuse, New York law from 1885 also prohibited the carry, concealed or

otherwise, of revolvers with “intent to do bodily harm to any person.” Ex. 636 at 60. Notably, all

laws that mention “revolver” specifically were enacted after 1860, mirroring the surge of

revolvers entering the civilian market after the Civil War. See generally Ex. 636.

       In the years leading up to and after the Civil War, states also continued to regulate the

carrying of Bowie knives. Fourteen states banned the concealed carry of Bowie knives between

1850 and 1875. Ex. 639. An additional six states enacted laws that completely prohibited the

carry, concealed or otherwise, of these knives. Ex. 639. Between 1875 and 1900, twenty-two

states had laws prohibiting the concealed carry of Bowie knives. Ex. 639. As with mid-

nineteenth century regulations on Bowie knives, some states also went beyond prohibiting the

concealed carry of Bowie knives to prohibit the sale or transfer of these weapons. An 1881

Arkansas law, for instance, made it a misdemeanor to sell, barter, exchange, or furnish a Bowie

knife “in any manner” to “any person.” Ex. 903 § 3.

       In the mid-to-late nineteenth century, a weapon known as a slungshot—which was a

handheld weapon with a piece of metal, stone, or some similar type of weighted object attached



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to a flexible strap or handle—became widely associated with criminal and gang violence. Tr.

6/8/2023 870:21–871:7. Slungshots were considered particularly dangerous due to their

relatively small size, which made them easy to conceal. Tr. 6/8/2023 871:10. The slungshot’s

flexible handle also magnified its striking power, meaning that the user could inflict more

damage than with other kinds of blunt objects. Tr. 6/8/2023 871:10–14. States and local

governments responded to the proliferation of the slungshot largely by prohibiting the carry, and

particularly the concealed carry, of these weapons. Tr. 6/8/2023 871:5–7. Between 1850 and

1875, sixteen states and municipalities enacted laws regulating the concealed carry of slungshots.

Ex. 634; Ex. 636. Between 1875 and 1900, thirty-one states and municipalities enacted laws

regulating the carry of slungshots. Ex. 634. States also regulated the carrying of blunt objects and

bludgeons more generally, with eight states passing regulations on bludgeons and thirteen states

passing regulations on billy clubs, the equivalent of a modern-day baton or night stick, between

1875 and 1900. Ex. 634.

       In the late nineteenth century, states also passed laws regulating the use of trap guns,

which were conventional firearms rigged with a wire or other device to fire without the firearm

operator being physically present. Tr. 6/8/2023 874:18–23; 876:5–11. Trap guns were

particularly dangerous because they did not need an operator present to fire, which meant that

trap guns could fire at unintended targets or victims. Tr. 6/8/2023 874:25–875:11. While the

earliest regulation on trap guns was passed in New Jersey in 1771, by the end of the nineteenth

century, eleven states had passed regulations on trap guns. Ex. 633. By 1925, this number would

grow to fourteen states. Ex. 633.23




       23
         In addition to these fourteen states, there is evidence of an individual being criminally
prosecuted for setting a trap gun in New York and Missouri. See Ex. 633.
50 – FINDINGS OF FACT AND CONCLUSIONS OF LAW
       Accordingly, based on the credible evidence presented at trial, this Court finds as

follows: In the mid-to-late nineteenth century, the proliferation of revolvers among the U.S.

civilian population led to an increase in these weapons being used for interpersonal violence. As

they had done in the early nineteenth century, governments responded to this rise in violence by

regulating the feature of revolvers thought to contribute most to their dangerousness—their

ability to be easily concealed. Governments also responded to a rise in the use of dangerous

weapons like Bowie knives, trap guns, and slungshots by enacting regulations that targeted the

features that made these weapons particularly dangerous.

   D. Late Nineteenth and Early Twentieth Century (1880 to 1940)

       1. Firearms and Weapons Technology

       Firearms were not designed around detachable magazines until the end of the nineteenth

century, and it was rare to see the word “magazine” used in connection with firearms before

1900. Tr. 6/7/2023 597:19–25; 774:6–11. Semi-automatic firearm technology was developed

around the end of the nineteenth century and the beginning of the twentieth century, first in

Europe and then spreading to the United States. Tr. 6/8/2023 1006:11–13. Most semi-automatic

handguns in the early twentieth century had detachable magazines, and most held a capacity of

seven to eight rounds. Tr. 6/8/2023 1009:10–14. The most important semi-automatic handgun to

enter the U.S. market in the early twentieth century was the Colt 1911, which was developed by

an American firearms developer in collaboration with the Colt Firearms Company. Tr. 6/8/2023

1006:21–22; 1007:15–17. The Colt 1911 held seven rounds in the magazine and an additional

round in the chamber, for a total capacity of eight rounds. Tr. 6/8/2023 1008:4–6. The Colt 1911

began to circulate in the United States most commonly after World War I, resulting from a post-

war surplus of these pistols. Tr. 6/8/2023 1008:12–14.



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       The first fully-automatic handheld firearm marketed to U.S. civilians was the Thompson

sub-machine gun, also known as the “Tommy gun.” Tr. 6/8/2023 1010:23–25. The Thompson

sub-machine gun was initially developed for use in World War I, which ended in 1918, and

entered the U.S. market in the 1920s. Tr. 6/7/2023 601:25–602:3. The Thompson sub-machine

gun was marketed to civilians for self-defense, but eventually became associated with criminal

activities including police shootings and intergang warfare. Tr. 6/8/2023 883:24–884:4;

1010:10–12.

       Also around the 1920s, large-capacity ammunition feeding devices—the type of

detachable magazines capable of holding more than ten rounds that are associated with modern-

day LCMs—first became commercially available in the United States. Tr. 6/8/2023 885:16–

886:1. These devices were initially developed for military use and allowed soldiers to fire

without pausing to reload. Tr. 6/8/2023 886:4–19.

       Accordingly, based on the credible evidence presented at trial, this Court finds as

follows: Detachable magazines capable of holding more than ten rounds of ammunition, and

automatic firearms were invented for military-use in World War I. Semi-automatic firearms were

invented in Europe in the late nineteenth century and spread to the United States in the early

twentieth century. The most popular semi-automatic handgun in the early twentieth century held

a total of eight rounds. The first fully-automatic handheld firearm marketed to U.S. civilians was

the Thompson sub-machine gun, which was marketed for self-defense but became widely

associated with violence and criminal activity.

       2. Firearms and Weapons Regulations

       As revolvers continued to enter the civilian market in the late nineteenth century and

early twentieth century, anti-concealed carry laws specifically prohibiting the carrying of



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revolvers continued to spread across the country. Between 1900 and 1930, five more states and

territories passed laws prohibiting the concealed carry of revolvers, among other deadly

weapons. Ex. 636 at 24, 29, 56, 62, 65. Additionally, California and Massachusetts prohibited the

carry, concealed or otherwise, of a revolver with unlawful intent. Ex. 636 at 12, 41.

       States also responded to the proliferation of automatic and semi-automatic firearms in the

early twentieth century. Between 1925 and 1934, at least thirty-two states enacted laws

restricting or, in many instances, prohibiting the possession of a fully-automatic firearm. Tr.

6/8/2023 884:10–12. In 1934, the federal government began regulating machine guns through the

National Firearms Act, which required firearms manufacturers and importers to register machine

guns before those guns could be imported, made, or transferred. 26 U.S.C. §§ 5841, 5845.24 At

least twenty-three states enacted regulations between 1920 and the early 1930s restricting

magazine capacity by restricting possession or use of guns that could fire more than a certain

number of rounds without reloading. Tr. 6/8/2023 887:13–16.

       At least six states, plus the District of Columbia, enacted restrictions on semi-automatic

weapons capable of firing a certain number of rounds without reloading. These restrictions

varied in the maximum capacity they allowed. Tr. 6/8/2023 888:24–25. A 1927 Massachusetts

law defined a machine gun to include “[a]ny gun of small arm calibre designed for rapid fire and

operated by a mechanism” that could shoot more than one round without reloading, and

prohibited possession of this type of gun. Ex. 635 at 13. Michigan, in 1927, made it illegal to

manufacture, sell, or possess any machine gun or firearm capable of firing more than sixteen




       24
           In 1986, Congress passed the Firearm Owners’ Protection Act, which bans, with
certain limited exceptions, the possession and transfer of machine guns made after May 19,
1986. 18 U.S.C. § 922(o). This law is still in effect.
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times without reloading. Ex. 635 at 14. Minnesota passed a law in 1933 that outlawed any

firearm capable of automatically reloading after each shot and that had a capacity of more than

twelve rounds. Ex. 635 at 14. In 1933, Ohio passed a law limiting possession of semi-automatic

firearms that could fire more than eighteen rounds without reloading. Ex. 635 at 20. Rhode

Island passed a law in 1927 that banned the sale, purchase, or possession of machine guns,

defined to include any weapon that shoots more than twelve shots semi-automatically without

reloading. Ex. 635 at 23. In Virginia, a 1934 law made it illegal to possess or use a machine gun

for an offensive purpose, and defined machine gun to include a weapon that could fire more than

seven bullets semi-automatically from a magazine. Ex. 635 at 30. And the District of Columbia,

in 1932, passed a law prohibiting possession of any gun that could fire, automatically or semi-

automatically, more than twelve shots without reloading. Ex. 635 at 3. This law was passed by

Congress and was modeled heavily after a uniform law created by the Uniform Law

Commission. Tr. 6/8/2023 891:21–892:13. In some instances, states that restricted semi-

automatic or fully-automatic firearms allowed possession if an individual obtained a permit. Tr.

6/8/2023 917:10–11; 921:4–15.

       Accordingly, based on the credible evidence presented at trial, this Court finds as

follows: As semi-automatic and fully-automatic firearms and ammunition feeding devices

became increasingly popular in the early twentieth century, governments responded by passing

regulations limiting the possession and use of these firearms. Prohibitions on the possession of

automatic firearms were widespread. Prohibitions on the possession of semi-automatic firearms

were also common, with six states plus the District of Columbia prohibiting these weapons.

These regulations functionally limited magazine capacity, because they prevented individuals

from possessing firearms that could fire over a certain number of rounds without reloading.



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VII.   CONCLUSIONS OF LAW

   A. Second Amendment

       1. BM 114’s LCM restrictions do not violate the Second Amendment.

       When assessing whether BM 114 violates the Second Amendment under Bruen, this

Court must first consider whether the plain text of the Second Amendment covers conduct that

BM 114 restricts. If the Second Amendment does not cover the restricted conduct, then BM 114

is constitutional. If the Second Amendment does cover the restricted conduct, then the State of

Oregon must demonstrate that BM 114 is consistent with the Nation’s history and tradition of

firearm regulation. As explained below, at both steps, this Court finds that BM 114’s LCM

restrictions do not violate the Second Amendment.

           a. LCMs are not covered by the Second Amendment.

                 i.   LCMs are not “bearable arms.”

       When assessing whether a regulation of a particular weapon violates the Second

Amendment, courts begin by asking whether the weapon constitutes a “bearable arm.” Heller,

554 U.S. at 582. (“[T]he Second Amendment extends, prima facie, to all instruments that

constitute bearable arms, even those that were not in existence at the time of the Founding.”)

Recently, the Supreme Court clarified that “even though the Second Amendment’s definition of

‘arms’ is fixed according to its historical understanding, that general definition covers modern

instruments that facilitate armed self-defense.” Bruen, 142 S. Ct. at 2132. This means that a

firearm need not have existed in 1791 to be considered a “bearable arm” protected by the Second

Amendment.

       Courts have held that handguns are “bearable arms” as contemplated by the Second

Amendment. See Heller, 554 U.S. at 628 (defining handguns as arms). And courts have found

that the Second Amendment “protects ancillary rights necessary to the realization of the core

55 – FINDINGS OF FACT AND CONCLUSIONS OF LAW
right to possess a firearm for self-defense.” Teixeira v. Cnty. of Alameda, 873 F.3d 670, 677 (9th

Cir. 2017). Within the Ninth Circuit, these “ancillary rights” have included accessories like

bullets, without which “the right to bear arms would be meaningless.” Jackson v. City and Cnty.

of San Francisco, 746 F.3d 953, 967 (9th Cir. 2014), cert. denied, 135 S. Ct. 2799 (2015),

abrogation on other grounds recognized by United States v. Alaniz, 69 F.4th 1124, 1127–28 (9th

Cir. 2023).

       BM 114 restricts LCMs, which are a subset of magazines. See Ex. 1 § 11(1)(d) (defining

LCMs); Tr. 6/8/2023 885:6–8. Magazines are an accessory to firearms, rather than a specific

type of firearm. Tr. 6/6/2023 523:5–7. At the time of the Second Amendment’s ratification

through to the late nineteenth century, firearm accessories like cartridge boxes—which held

ammunition but, unlike modern magazines, did not feed the ammunition into firearms—were not

considered “arms” but instead were considered “accoutrements.” Tr. 6/7/2023 767:4–9; 767:22–

23; 768:5–9.

       Nevertheless, just because a magazine is an accessory does not mean that it fails to

qualify as a “bearable arm” as that term is used in Second Amendment jurisprudence. Like

bullets, magazines are often necessary to render certain firearms operable. Tr. 6/6/2023 523:10–

19. The Ninth Circuit has recognized a “corollary, albeit not unfettered, right to possess the

magazines necessary to render . . . firearms operable.” See Fyock v. Sunnyvale, 779 F.3d 991,

998 (9th Cir. 2015). “Without a magazine, many weapons would be useless, including

‘quintessential’ self-defense weapons like the handgun.” Duncan v. Becerra, 970 F.3d 1133,

1146 (9th Cir. 2020) (citation omitted), rev’d en banc on other grounds, Duncan v. Bonta, 19

F.4th 1087 (9th Cir. 2021), vacated on other grounds, Duncan v. Bonta, 142 S. Ct. 2895 (2022).




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       This case, however, is not simply about the constitutionality of all magazines generally; it

is about magazines that allow the user to shoot eleven or more rounds without reloading. Both

Plaintiffs’ and Defendants’ experts testified that LCMs are a subset of magazines. Tr. 6/5/2023

65:14–17; 68:4–9. This Court therefore must decide whether LCMs specifically are necessary to

render firearms operable. Based on the evidence presented at trial, this Court finds that while

magazines may often be necessary to render a firearm operable, LCMs are not. Plaintiffs’ expert

Mark Hanish, a firearms marketing executive with approximately twenty years of experience in

the industry, testified that a magazine with a capacity of ten rounds “performs the same basic

function” as an LCM in that both “deliver[] ammunition to the action.” Tr. 6/5/2023 128:11–12.

Mr. Hanish also testified that, aside from the number of rounds available to the user, the

mechanical function of a firearm is the same whether that firearm is equipped with a magazine

with a ten-round capacity or equipped with an LCM. Tr. 6/5/2023 127:19–23. Defendants’ expert

Jim Yurgealitis likewise testified that “magazine capacity is not a determining factor in

operability of a firearm” and that “any firearm that will accept a ten-round magazine will

function identically . . . as it would with a larger capacity magazine.” Tr. 6/6/2023 527:4–5;

527:14–16.

       The evidence received at trial also shows that most firearms that accept detachable LCMs

can accept detachable magazines that hold ten or fewer rounds of ammunition. Tr. 6/5/2023

76:5–8. Mr. Yurgealitis, for instance, testified that most major firearms manufacturers have some

variation of specific firearm models, such as the AR-15-style rifles, which can accept a

detachable magazine with ten rounds or less in capacity. Tr. 6/6/2023 524:9–11. Mr. Yurgealitis

also testified that popular firearm models like the Glock semi-automatic pistol, the Beretta pistol,




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and most AR-15-style rifles “will function with a ten-round magazine . . . as well as [they] would

with a larger capacity magazine.” Tr. 6/6/2023 527:10–13.

       In sum, the evidence at trial shows that while magazines may be necessary to render

firearms operable, LCMs, as a subset of magazines, are never necessary to render firearms

operable. A firearm is not useless without an LCM because magazine capacity is not a

determining factor in the operability of a firearm. And the right to bear arms does not become

“meaningless” because the government chooses to restrict LCMs. Unlike the total handgun ban

in Heller, for instance, BM 114 does not restrict “an entire class of ‘arms,’” but merely a subset

of an accessory to firearms. See Heller, 554 U.S. at 628. Notably, BM 114 does not restrict the

number of ten-round magazines individuals may own or carry at any one time. BM 114 simply

requires that the user reload after expelling ten rounds. Nor does it limit the type of firearm that

an individual may carry for self-defense. Because most popular gun models accept both LCMs

and magazines that hold ten or fewer rounds, individuals are still free to choose any type of

firearm that best suits their needs—from semi-automatic handguns to semi-automatic rifles—so

long as that firearm cannot fire eleven or more rounds without reloading. Accordingly, this Court

finds that LCMs are not “bearable arms” as that term is used in Second Amendment

jurisprudence.

                 ii.   LCMs are not in common use today for self-defense.

       Even if this Court were to find that LCMs are “bearable arms,” that would not end this

Court’s inquiry into whether LCMs are covered by the plain text of the Second Amendment.

Bruen, 142 S. Ct. at 2126. In considering the scope of the Second Amendment right, the

Supreme Court in Heller emphasized that it protects an individual right to keep and bear arms

“‘in common use’ . . . for lawful purposes like self-defense.” Heller, 554 U.S. at 624. In Bruen,

the Supreme Court reemphasized Heller’s central holding, stating that the Second Amendment
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extends only to bearable arms that are “in common use today for self-defense.” Bruen, 142 S. Ct.

at 2134 (internal quotation marks omitted). This Court accordingly considers whether Plaintiffs

have shown that LCMs are in common use, and whether they are in common use for self-

defense.

                        (a) Are LCMs “in common use”?

         As announced in Heller and reiterated in Bruen, the Second Amendment extends only to

bearable arms that are in “common use.” Id. Pre-Bruen, courts struggled to reach a consensus

framework for deciding what renders a firearm “in common use” as stated in Heller. See, e.g.,

Friedman v. City of Highland Park, 784 F.3d 406, 409 (7th Cir. 2015) (“The record shows that

perhaps 9 [percent] of the [N]ation’s firearms owners have assault weapons, but what line

separates ‘common’ from ‘uncommon’ ownership is something the [Supreme] Court did not

say.”); Hollis v. Lynch, 827 F.3d 436, 449 (5th Cir. 2016) (“[T]here is considerable variety

across the circuits as to what the relevant statistic is and what threshold is sufficient for a

showing of common use.”). This lack of a unifying framework often led courts to apply

divergent approaches, compare Kolbe v. O’Malley, 42 F. Supp. 3d 768, 788 (D. Md. 2014)

(considering whether assault weapons comprise a high percentage of the overall civilian gun

stock) with Kolbe v. Hogan, 813 F.3d 160, 174 (4th Cir. 2016) (considering only the absolute

number of assault weapons and LCMs sold), or more commonly, to sidestep the question

altogether, see, e.g., Duncan, 19 F.4th at 1103; Worman v. Healey, 922 F.3d 26, 36 (1st Cir.

2019); Ass’n. of N.J. Rifle and Pistol Clubs, Inc. v. Attn’y Gen. N.J., 910 F.3d 106, 117 (3d Cir.

2018).

         Despite this ambiguity, Bruen itself declined to clarify the metric by which courts should

determine whether a firearm is “in common use.” Instead, the Supreme Court repeated Heller’s



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observation that the Second Amendment “protects the possession and use of weapons that are ‘in

common use at the time’” and found, without identifying any particular evidence, that handguns

“are weapons ‘in common use’ today for self-defense.” Bruen, 142 S. Ct. at 2128, 2134 (citations

omitted).

       Without clear guidance from binding authority, this Court is forced to determine which

metric is most appropriate for evaluating “common use.” Is it sufficient, for instance, for a court

to consider the absolute number of LCMs sold in the United States? Or should a court consider

the percentage of LCMs relative to the overall civilian gun stock in the United States? Should a

court consider not only the absolute number of LCMs, but the number of Americans that own

those LCMs? And if this ratio suggests that a relatively small percentage of gun owners possess a

disproportionate number of LCMs, does that mean that LCMs are not commonly owned?

       Plaintiffs argue that, of these potential options, only the absolute number of LCMs

possessed by Americans is relevant. To support their argument, Plaintiffs rely on the NSSF

Magazine Chart, which they say shows that Americans possessed 160 million detachable LCMs

between 1990 and 2018, or roughly 52 percent of all detachable magazines possessed during that

period. Ex. 33 at 7. NSSF Director of Research Salam Fatohi testified that this data comes from

three sources. Tr. 6/6/2023 359:21–25. First, the NSSF collects data related to the number and

type of firearms produced from two government sources: the Bureau of Alcohol, Tobacco,

Firearms and Explosives’ (“ATF”) Annual Firearms Manufacturing and Exportation Report

(“AFMER”) and the U.S. International Trade Commission (“ITC”). Tr. 6/6/2023 362:24–25.

Then, the NSSF asks industry members—firearms manufacturers, distributors, and retailers—to

tell them how many magazines, and of what capacity, they typically ship with a given type of

firearm. Tr. 6/6/2023 368:1–8. The NSSF then uses those “industry insights” to extrapolate the



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total number of magazines possessed relative to the number and type of firearms produced. Tr.

6/6/2023 368:10–22.

       This Court is unable to give this evidence significant weight for two reasons. First,

though the chart itself is labeled as “magazines in possession,” Mr. Fatohi testified that the chart

shows the number of firearms produced as opposed to firearms actually purchased and therefore

possessed. Tr. 6/6/2023 386:23–387:7. For the chart to reflect magazine possession, in other

words, this Court must assume that every firearm produced in the country is subsequently sold to

U.S. consumers. Plaintiffs failed to present evidence to support such an assumption. Second, Mr.

Fatohi testified that he did not know how many industry members supplied information from

which the number of magazines was extrapolated. Tr. 6/6/2023 377:15–20. Indeed, he testified

that it was “possible” that this data was extrapolated from information provided by only two

industry members or up to 200 industry members. Tr. 6/6/2023 377:21–22. Without knowing

how many industry members supplied information, this Court cannot determine whether the

numbers in the NSSF chart represent a fair extrapolation of detachable magazine possessed by

consumers. If those industry members that supplied the data distribute fewer magazines than is

typical within the industry, for instance, the chart could underestimate the number; if, on the

other hand, the members distribute more magazines than is typical, the chart could overestimate

the number. Without more information, this Court cannot be confident in the NSSF’s

extrapolation of magazine possession from government data on firearm production.

       Nevertheless, this Court accepts the parties’ stipulation that magazines holding more than

ten rounds of ammunition are owned and possessed by millions of Americans. ECF 206 at ¶ 49.

In closing argument, Plaintiffs’ counsel argued that if a firearm or firearm accessory is owned by

at least 200,000 or more individuals, then it merits constitutional protection as “in common use.”



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Tr. 6/9/2023 1102:15–1103:12. Plaintiffs therefore argue that even if this Court were to find only

that magazines that hold more than ten rounds of ammunition are owned and possessed by

millions of Americans—a number that is clearly higher than Plaintiffs’ 200,000 threshold—it

would need to find that those magazines are protected by the Second Amendment. This Court

need not decide whether the metrics offered by Plaintiff are sufficient to show common use

because there is an additional component to the Bruen analysis—that is, the common use must be

related to self-defense.

                       (b) “Common use” alone is insufficient to establish Second
                           Amendment Protection.

       This Court finds that, while magazines that hold more than ten rounds of ammunition are

owned and possessed by millions of Americans, this fact alone does not automatically entitle

these magazines to Second Amendment protection. This Court rejects Plaintiffs’ invitation to

equate “commonly owned” with “in common use today for self-defense.” Tr. 6/9/2023 1102:23–

1103:7; Bruen, 142 S. Ct. at 2134 (internal quotation marks omitted). Under Plaintiffs’

interpretation, if the firearms industry were able to successfully market a firearm or firearm

accessory to 200,000 Americans—which is 0.0006 percent of the overall U.S. population—then

the firearm or firearm accessory would be constitutionally protected, regardless of that firearm or

firearm accessory’s features or typical use. See Range v. Attn’y Gen., 69 F.4th 96, 102 (3d Cir.

2023) (en banc) (noting that there are “over 330 million people” in the United States). Plaintiffs’

argument would make “commonality” the dispositive inquiry, and would erase any consideration

of how firearms or firearm accessories are used. This Court finds such an interpretation troubling

for several reasons.

       First, this Court notes that firearm manufacturers and dealers make decisions that both

limit consumer choice and magnify the commonality of LCMs. At trial, Plaintiffs’ witness

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Jessica Harris testified that at her store, all firearms that do not have a fixed magazine come with

a detachable magazine, and that many firearms come from the factory with multiple magazines.

Tr. 6/5/2023 41:7–9; 44:16–19. The Glock 19, for instance, is sold with three fifteen round

magazines. 6/5/2023 Tr. 67:9–10. The Sig Sauer P320, another popular handgun model, comes

from the factory with either two or three detachable magazines that hold anywhere from fifteen

to twenty-one rounds. Tr. 6/5/2023 67:12–17. Plaintiffs’ witnesses also testified that a number of

popular firearm models, such as the AR-style rifle, come standard with LCMs. Tr. 6/5/2023

43:21–25. This evidence illustrates that the commonality of LCMs is at least partially due to

choices made by firearms manufacturers and dealers rather than firearm purchasers. The absolute

number of LCMs owned, then, is not necessarily reflective of an affirmative choice by

consumers. Further, this evidence adds little to the determination of whether LCMs are

commonly used for “ordinary self-defense needs.” Bruen, 142 S. Ct. at 2156.

       Additionally, this Court notes the inherent tension in allowing the firearms industry to

control the bounds of the Second Amendment because of the firearm industry’s economic

interest in the increased sale of firearms. At trial, Plaintiffs’ expert Mark Hanish testified that

magazines usually cost somewhere between twelve and twenty-five dollars. 6/5/2023 Tr.

130:11–13. Using Plaintiffs’ estimate of 160 million LCMs as a baseline and considering the

lowest estimate for the average cost of a magazine, this Court finds that the sale of LCMs

approached two billion dollars between 1990 and 2018. Mr. Hanish, who testified that he would

not support any regulation on magazine capacity of any kind (even regulations on 100-round

magazines), Tr. 6/5/2023 151:11–12, also testified that his personal economic investments in the

firearms industry exceed one million dollars, Tr. 6/5/2023 149:16–18. This Court declines to




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adopt an interpretation of the Second Amendment that solely allows those with the greatest

economic interest in the sale of LCMs to define the boundaries of a constitutional right.

       This Court does not mean to suggest that the realities of the firearms market—including

the economic interest of firearms dealers and manufacturers, or marketing decisions made by

these entities—should have no bearing on whether a firearm or firearm accessory is in common

use for self-defense. This Court simply holds today that the popularity of a firearm or firearm

accessory alone cannot be dispositive when considering whether that item is “in common use

today for self-defense.” Bruen, 142 S. Ct. at 2134 (internal quotation marks omitted). Instead,

this Court finds that the standard requires consideration of not only the commonality of the

firearm or firearm accessory in question, but also the use of that firearm or firearm accessory.

This Court therefore next considers whether Plaintiffs have shown that LCMs are in common use

for the lawful purpose of self-defense. See Heller, 554 U.S. at 624.

                       (c) The Second Amendment protects an individual’s right to possess a
                           firearm for use in self-defense.

       In considering the scope of the Second Amendment, the Supreme Court in Heller focused

largely on the concept of self-defense, noting for instance that at the time of the Second

Amendment’s adoption, “[t]he traditional militia was formed from a pool of men bringing arms

‘in common use at the time’ for lawful purposes like self-defense.” Id. at 624. Moreover, in

assessing whether the District of Columbia’s ban on assembled handguns in the home passed

constitutional muster, the Supreme Court focused squarely on the issue of self-defense, noting

that “the inherent right of self-defense has been central to the Second Amendment right” and that

the handgun was “overwhelmingly chosen by American society for that lawful purpose.” Id. at

628. The District’s ban was particularly violative of the Second Amendment, the Supreme Court

held, because it prohibited handguns in “the home, where the need for defense of self, family,

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and property is most acute.” Id. The Supreme Court thus ultimately held that the challenged

regulation “makes it impossible for citizens to use them for the core lawful purpose of self-

defense and is hence unconstitutional.” Id. at 630.

       The Supreme Court cases that follow Heller emphasize that self-defense is the central

right protected by the Second Amendment.25 In McDonald v. City of Chicago, for instance, the

Supreme Court reiterated that Heller found that “the Second Amendment protects the right to

keep and bear arms for the purpose of self-defense.” 561 U.S. 742, 749 (2010) (emphasis added).

The Supreme Court also observed that this “core lawful purpose of self-defense” is “deeply

rooted in this Nation’s history and tradition.” Id. at 767–68 (citations omitted). McDonald also

stated that the central holding in Heller is “that the Second Amendment protects a personal right

to keep and bear arms for lawful purposes, most notably for self-defense within the home.” Id. at

780 (emphasis added).

       Bruen continues this trend. First, Bruen notes that Heller and McDonald “recognized that

the Second and Fourteenth Amendments protect the right of an ordinary, law-abiding citizen to

possess a handgun in the home for self-defense.” 142 S. Ct. at 2122 (emphasis added); see also

id. at 2128 (explaining that Heller held that “the Second Amendment protected an individual

right to armed self-defense” and “relied on the historical understanding of the Amendment to




       25
           Indeed, at nearly every turn, some justices have found it important to individually re-
emphasize the Second Amendment’s central purpose of self-defense. In dissenting from a denial
of certiorari, for instance, Justice Thomas wrote that self-defense is “a basic right and the central
component of the Second Amendment’s guarantee of an individual’s right to keep and bear
arms.” Jackson v. City and Cnty. of San Francisco, 135 S. Ct. 2799, 2799 (2015) (Thomas, J.,
dissenting) (internal quotation marks omitted) (citation omitted). And in a concurrence to an
opinion that considered the Second Amendment and stun guns, Justice Alito wrote that the
individual right to keep and bear arms “vindicates the basic right of individual self-defense.”
Caetano v. Massachusetts, 577 U.S. 411, 413 (2016) (Alito, J., concurring) (internal quotation
marks omitted) (citations omitted).
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demark the limits on the exercise of that right”). And when considering the metrics against which

courts should evaluate whether modern regulations are consistent with the Nation’s tradition of

firearm regulation, Bruen states that “individual self-defense is ‘the central component’ of the

Second Amendment right.” Id. at 2133 (citations omitted).

       This Court acknowledges that there may be lawful purposes other than self-defense for

which an individual can use a firearm. Jessica Harris, a plaintiff and fact witness, testified that

customers at her store include hunters and those who use firearms for sport or target shooting. Tr.

6/5/2023 45:25–46:3. Mark Hanish, one of Plaintiffs’ expert witnesses, testified that LCMs are

particularly useful in the sporting context. Tr. 6/5/2023 105:18. And Sheriff Kevin Lohrey, a

plaintiff and fact witness, testified that he sees community members in his rural county use

firearms, including firearms with LCMs, to protect their livestock from predators. Tr. 6/5/2023

86:16–17.

       While these uses may be lawful, they have never been explicitly recognized as being “the

central component” of the Second Amendment right; only self-defense enjoys that kind of

unique focus within the Supreme Court’s caselaw. Heller, 554 U.S. at 559. “Hunting and other

recreational uses of guns have no explicit or otherwise direct protection in the text of the

Constitution or under existing doctrine, nor does the historical evidence support such a

conclusion.” Joseph Blocher, Hunting and the Second Amendment, 91 NOTRE DAME L. REV. 133,

153 (2015). Accordingly, this Court finds that the Second Amendment protects an individual

right to commonly used firearms for the central purpose of self-defense.

                       (d) An individual’s subjective intent, while relevant, is not sufficient to
                           show that a firearm is in common use for self-defense.

       The parties stake divergent legal positions on what evidence is relevant to the question of

whether an LCM is in common use for self-defense. Plaintiffs’ interpretation relies on the

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subjective belief of the LCM owner to determine whether the LCM is used for self-defense—that

is, if an individual purchases an LCM and states that they purchased that LCM for self-defense,

then the LCM is being used for self-defense. Defendants and Intervenor-Defendant, on the other

hand, both argue for an interpretation of “use” that includes some objective metric of an LCM’s

actual use in self-defense. Under Defendants and Intervenor-Defendant’s view, common use for

self-defense relies not on the subjective view of the LCM owner, but on whether LCMs

objectively facilitate armed self-defense.

       This Court assumes that most firearm owners purchase their firearms, and firearm

accessories such as LCMs, with the intent to use them for lawful purposes such as self-defense.

If the subjective intent of an individual were enough to show that a firearm or firearm accessory

is used for a lawful purpose—primarily self-defense—then nearly every firearm or firearm

accessory purchased in this country would satisfy that test. The constitutionality of a firearm or

firearm accessory, in other words, would depend only on how common a firearm or firearm

accessory is—not on how the firearm is used. As discussed above, this Court finds that sheer

commonality is not dispositive in determining whether a particular firearm or firearm accessory

is protected by the Second Amendment. As such, this Court finds that an individual’s subjective

intent in purchasing a firearm or firearm accessory for self-defense, while relevant, also cannot

be dispositive in assessing whether a firearm or firearm accessory is in common use for self-

defense.

                       (e) Objective standards are common when assessing the boundaries of
                           constitutional rights.

       In Bruen, the Supreme Court emphasized that “[t]he constitutional right to bear arms in

public for self-defense is not ‘a second-class right, subject to an entirely different body of rules

than the other Bill of Rights guarantees.’” Bruen, 142 S. Ct. at 2156 (quoting McDonald, 561

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U.S. at 780). The Supreme Court in Bruen suggests that the Second Amendment framework

should reflect the frameworks that courts use to analyze the scope of other constitutional rights.

Therefore, in determining whether it is appropriate to consider objective evidence of use in

assessing whether LCMs are in common use for self-defense, this Court finds it appropriate to

consider the extent to which objective standards are used in delineating the boundaries of other

constitutional rights.

        In the First Amendment context, courts in the Ninth Circuit apply both a subjective and

objective standard to judge whether speech can be considered a “true threat” and therefore

outside of the bounds of protected speech. Fogel v. Collins, 531 F.3d 824, 831 (9th Cir. 2008). In

considering whether speech is a true threat, the objective standard requires a court to consider the

speech in “light of [its] entire factual context, including the surrounding events and reaction of

the listeners.” Id. (alteration in original) (citations omitted).

        Objective standards are also prevalent in the Fourth Amendment context. Nieves v.

Bartlett, 139 S. Ct. 1715, 1724 (2019) (“In the Fourth Amendment context . . . we have almost

uniformly rejected invitations to probe subjective intent.”) (internal quotation marks omitted)

(citations omitted). When reviewing the constitutionality of arrests under the Fourth

Amendment, courts assess whether “the circumstances, viewed objectively, justify [the

challenged] action.” Ashcroft v. al-Kidd, 563 U.S. 731, 736 (2011) (alteration in original)

(citation omitted). In considering whether an individual was subject to an unreasonable search,

courts assess both whether the person being searched had an objectively reasonable expectation

of privacy as well as the objective effect of the officer’s actions. Bond v. United States, 529 U.S.

334, 338, 338 n.2 (2000). And in analyzing claims of unreasonable use of force under the Fourth




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Amendment, courts look to whether that force “is excessive under objective standards of

reasonableness.” Brosseau v. Haugen, 543 U.S. 194, 199 (2004) (citation omitted).

       In considering whether the government has violated its duty to provide conditions of

reasonable health and safety to people in its custody under the Due Process Clause of Fifth

Amendment, courts consider, among other factors, whether the government failed to “take

reasonable available measures to abate [a substantial] risk” of serious harm. Roman v. Wolf, 977

F.3d 935, 943 (9th Cir. 2020) (quoting Gordon v. Cnty. of Orange, 888 F.3d 1118, 1125 (9th Cir.

2018)). The government’s actions must be “objectively unreasonable,” which turns “on the facts

and circumstances of each particular case.” Id. (citation omitted).

       In the context of the Sixth Amendment, a criminal defendant claiming a violation of their

right to effective assistance of counsel “must show that counsel’s representation fell below an

objective standard of reasonableness.” Strickland v. Washington, 466 U.S. 668, 688 (1984). A

pretrial detainee’s claim for violation of the right to adequate medical care under the Fourteenth

Amendment is judged against an objective deliberate indifference standard, Gordon, 888 F.3d at

1124–25, as is a pretrial detainee’s failure-to-protect claim under the Fourteenth Amendment,

Castro v. Cnty. of Los Angeles, 833 F.3d 1060, 1076 (9th Cir. 2016).

       Indeed, even in the Second Amendment context, the Supreme Court has suggested that

some objective standard could be relevant in judging whether a constitutional violation has

occurred. In Bruen, for instance, the Supreme Court held that “New York’s proper-cause

requirement violates the Fourteenth Amendment in that it prevents law-abiding citizens with

ordinary self-defense needs from exercising their right to keep and bear arms.” Bruen, 142 S. Ct.

at 2156 (emphasis added). This Court reads the qualifier of “ordinary self-defense needs” to




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include some consideration of how and why firearms or firearm accessories are actually used in

typical self-defense scenarios.

       In sum, it is common in constitutional law for courts to consider objective evidence—

such as the factual context of a particular piece of speech, or the societal understanding of an

individual’s expectation of privacy—in considering whether the violation of a constitutional

right has occurred. Because the Second Amendment is not “subject to an entirely different body

of rules than the other Bill of Rights guarantees,” this Court finds that it may fairly consider

objective evidence to determine whether LCMs are commonly used in self-defense. See Bruen,

142 S. Ct. at 2156.

                       (f) Whether LCMs are in common use for self-defense must be
                           measured by an objective standard.

   The question is whether Plaintiffs have shown that the LCMs restricted by BM 114 are in

common use for self-defense, based not only on the subjective belief of individuals who possess

LCMs, but also on the objective evidence related to LCM use in self-defense. Or, to adopt

Plaintiffs’ framing of the question in their closing argument, this Court asks whether LCMs,

according to any objective evidence, “facilitate armed self-defense.” Tr. 6/9/2023 1208:12–13.

       Based on the credible evidence presented at trial, this Court concludes that LCMs are not

“commonly used . . . for self-defense.” Bruen, 142 S. Ct. at 2138. Plaintiffs failed to provide

compelling evidence at trial that the ability to fire eleven or more shots without reloading

facilitates armed self-defense for “law-abiding citizens with ordinary self-defense needs.” Id. at

2156. Instead, the evidence produced at trial establishes that LCMs are not, by any objective

metric, commonly used for self-defense.

       The evidence at trial establishes that it is extremely rare for an individual to fire more

than ten rounds in self-defense. Lucy Allen, an expert for Defendants, testified that she analyzed

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DGUs taken from the NRA Armed Citizens Database over a six-and-a-half-year period, from

January 2011 to May 2017. Tr. 6/7/2023 662:19–25. Of the 736 incidents Ms. Allen analyzed,

the individual fired more than ten shots in just two—or about 0.3 percent of incidents. Tr.

6/7/2023 663:24–664:8. In approximately 80 percent of incidents, the individual fired one to five

shots. Tr. 6/7/2023 664:3–5. Based on Ms. Allen’s analysis, the average number of rounds fired

in self-defense is 2.2. Tr. 6/7/2023 664:10; Ex. 536. And, because many firearms come standard

with LCMs today, the low number of rounds fired cannot be attributed to a lack of ammunition.

Rather, the evidence shows that law-abiding citizens with ordinary self-defense needs simply do

not commonly fire more than ten rounds when acting in self-defense.

       This objective evidence greatly undermines the testimony of Plaintiffs’ self-defense

expert Massad Ayoob, who testified that LCMs are useful in self-defense situations because

“[LCMs] allow[] [individuals] to continue the fight.” Tr. 5/30/2023 32:18–20. The gist of Mr.

Ayoob’s testimony was that LCMs facilitate armed self-defense by allowing individuals to fire

more rounds without having to reload in the face of an attack. Tr. 5/30/2023 32:24–33:9. But the

objective evidence shows that having more rounds does not facilitate self-defense because those

rounds are rarely, if ever, used.

       Indeed, Plaintiffs’ own evidence at trial illustrates how rare it is for “law-abiding citizens

with ordinary self-defense needs” to fire more than ten rounds in self-defense. See Bruen, 142 S.

Ct. at 2156. Mr. Ayoob, for instance, testified about an incident involving a police officer who

engaged in a car chase with a heavily-armed bank robber in which the officer fired thirty-three

rounds. Tr. 5/30/2023 39:19–40:18. Mr. Ayoob described this incident as “a classic example of

why so many police departments and private citizens have gone to the higher capacity guns.” Tr.

5/30/2023 40:19–21. But this incident involved a police officer engaged in the active pursuit of



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an armed suspect, which is hardly a scenario that implicates “ordinary self-defense needs.” See

Bruen, 142 S. Ct. at 2156. Mr. Ayoob admitted as much on cross-examination, stating that “the

law enforcement officer has different duties” than a civilian. Tr. 5/30/2023 74:12–13. As noted

previously, BM 114 does not restrict LCMs for police officers or military use.

       Plaintiffs’ fact witness Adam Johnson, a gun store owner and a plaintiff in this action,

testified that he was involved in a defensive gun use incident while working for a “plainclothes

loss prevention company” at a convenience store. Tr. 6/5/2023 70:2–14. Mr. Johnson testified

that an individual attempted to rob the convenience store while brandishing a firearm. Tr.

6/5/2023 70: 8–11. Mr. Johnson testified that he drew his firearm and fired what he believed to

be thirteen rounds at the assailant. Tr. 6/5/2023 70:13–17. This Court gives Mr. Johnson’s

testimony little weight, given his economic interest in the outcome of this case. However, even if

this Court did consider Mr. Johnson’s testimony to be entirely credible, this Court nonetheless

finds that an armed private security guard engaging in a DGU with an armed robber does not

exemplify “ordinary self-defense needs.” See Bruen, 142 S. Ct. at 2156.

       Plaintiffs argue, and this Court agrees, that an individual need not fire a gun to use it for

self-defense.26 This Court finds that in brandishing a firearm to intimidate an attacker, for




       26
          This Court finds a short passage from Justice Scalia’s dissent from Smith v. United
States, which considered whether the exchange of a gun for cocaine constitutes “use” of a
firearm “during and in relation to . . . [a] drug trafficking crime” under federal law, instructive in
considering the meaning of “using” a firearm or firearm accessory:

       To use an instrumentality ordinarily means to use it for its intended purpose. When
       someone asks, “Do you use a cane?,” he is not inquiring whether you have your
       grandfather’s silver-handled walking stick on display in the hall; he wants to know whether
       you walk with a cane. Similarly, to speak of “using a firearm” is to speak of using it for its
       distinctive purpose, i.e., as a weapon.

Smith v. United States, 508 U.S. 223, 242 (1993) (Scalia, J., dissenting).
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instance, the individual uses the firearm for self-defense. But this Court again emphasizes that

this case is about LCMs, not about firearms generally. Plaintiffs presented no evidence at trial

that brandishing a firearm with an LCM, as opposed to brandishing a firearm with a magazine

holding ten or fewer rounds, facilitates armed self-defense. Fact witness and plaintiff Jessica

Harris testified about an incident in which she brandished a handgun, equipped with an LCM, to

deter a potential attacker. Tr. 6/5/2023 47:15–19. Notably absent from Ms. Harris’s testimony is

any evidence that the LCM itself had any impact on the would-be-assailant’s decision to flee. Tr.

6/5/2023 47:20–21.

       Instead, this Court finds that, based on the credible evidence presented at trial,

brandishing an LCM does not facilitate self-defense. Defendants’ expert Jim Yurgealitis testified

that he could not tell the magazine capacity of a Glock 19, a popular handgun model, when the

magazine is inserted into the firearm. See Tr. 6/6/2023 529:2–4 (“It certainly appears to be a

Glock 19. Although, the magazine capacity itself is hard to determine because . . . it’s actually

inserted in the magazine well.”). This Court finds that if Mr. Yurgealitis, a former ATF agent

who was specially trained in the field of firearm identification and has personally viewed over

5,000 firearms throughout his career, Tr. 6/6/2023 522:3–6, cannot determine the capacity of a

popular handgun model’s magazine when it is inserted into the firearm, then the size of a

firearm’s magazine—as opposed to the firearm itself—has little deterrent effect in the average

civilian self-defense context.

       The Second Amendment protects the right of law-abiding citizens with ordinary self-

defense needs to keep and bear arms commonly used for lawful purposes, centrally self-defense.

See Bruen, 142 S. Ct. at 2156. For an item to be used in self-defense, it must somehow be

employed to that end. Voisine v. U.S., 579 U.S. 686, 692 (2016) (“Dictionaries consistently



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define the noun ‘use’ to mean the ‘act of employing’ something.”). Plaintiffs have not shown that

LCMs are commonly employed for self-defense. Defendants have produced credible evidence

showing that they are not. This Court accordingly finds that the Second Amendment does not

protect LCMs.

                iii.   LCMs have features that are “dangerous and unusual.”

       As the Supreme Court reiterated in Bruen, just as weapons that are commonly used for

self-defense are presumptively covered by the Second Amendment, weapons that are “dangerous

and unusual” fall outside of the Second Amendment’s protections. Bruen, 142 S. Ct. at 2128

(“[In Heller], we found it ‘fairly supported by the historical tradition of prohibiting the carrying

of “dangerous and unusual weapons”’ that the Second Amendment protects the possession and

use of weapons that are ‘in common use at the time.’”) (citing Heller, 554 U.S. at 627). “To

determine [whether a firearm is dangerous and unusual], we consider whether the weapon has

uniquely dangerous propensities and whether the weapon is commonly possessed by law-abiding

citizens for lawful purposes.” Fyock, 779 F.3d at 997 (citation omitted).

       As noted above, this Court finds that while LCMs may be possessed by millions of

Americans today, they are not commonly used for self-defense. Further, this Court finds based

on the evidence in the record that LCMs have uniquely dangerous propensities. This Court finds,

based on the testimony of Plaintiffs’ expert Mark Hanish, that the LCMs sold to civilians are

often the same LCMs used in the military context. Tr. 6/5/2023 135:16–22. Mr. Hanish testified

that Surefire, a firearms manufacturer for which he served as Vice President of Marketing and

Sales, sells to both the Department of Defense and the U.S. domestic civilian market through the

same website. Tr. 6/5/2023 145:1–5. On that website, Surefire markets its LCMs—which it sells

with capacities of sixty and 100 rounds—as delivering “twice the violence of action and half the

required reloads[,] providing a crucial edge in any firefight.” Tr. 6/5/2023 136:10–17; 145:10–
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12; see also Ex. 816. Mr. Hanish testified that he thought this was a reasonable way to market

LCMs to civilians. Tr. 6/5/2023 146:4–6. This testimony suggests that LCMs, even in civilian

hands, are closely related to weapons used in warfare.

       This Court also finds, based on the testimony of Defendants’ experts Michael Siegel and

Louis Klarevas, that LCMs enhance the lethality of shooting events. Tr. 6/6/2023 422:21–

424:13. Dr. Siegel, whose area of scholarly focus includes firearm violence prevention policy,

specifically testified that the capacity of a firearm is highly related to the lethality of the weapon

because the capacity is what determines the number of shots that can be fired within a given time

without having to pause to reload. Tr. 6/6/2023 500:5–8; 513:5–10. And Mr. Yurgealitis testified

that detachable magazines “facilitate[] more rapid reloading of a firearm when the previous

magazine is empty.” Tr. 6/6/2023 523:13–14.

       Again, this Court finds it necessary to compare this testimony to the objective evidence

regarding the “ordinary self-defense needs” of “law-abiding citizens.” Bruen, 142 S. Ct. at 2156.

While the average number of shots fired in self-defense is around 2.2, in a mass shooting

involving an LCM, the average number of shots fired is ninety-nine. Tr. 6/7/2023 681:10–12.

And while more than ten shots are fired in just 0.3 percent of DGUs, more than ten shots are

fired in 94 percent of mass shootings where an LCM is used. Tr. 6/7/2023 681:14–16. Thus,

while it is uncommon for an individual to fire more than ten shots in self-defense, it is common

for mass shooters to fire more than ten shots, especially when the mass shooter is using an LCM.

       In sum, this Court finds that Plaintiffs have not met their burden to show that LCMs are

protected by the Second Amendment. The evidence in the record illustrates that LCMs are not

necessary for firearms to function and are not commonly used for self-defense. Because this




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Court finds that the Second Amendment’s plain text does not cover LCMs, BM 114’s restrictions

on LCMs are constitutional.

            b. BM 114’s LCM restrictions are consistent with the Nation’s history and
               tradition of firearm regulation.

       Even if Plaintiffs could show that LCMs are protected by the Second Amendment, this

Court finds that Defendants and Intervenor-Defendant have met their burden of showing that BM

114’s restrictions on LCMs are consistent with the Nation’s history and tradition of firearm

regulation.27

       In some instances, the historical inquiry set forth in Bruen will be straightforward.

“[W]hen a challenged regulation addresses a general societal problem that has persisted since the




       27
            Plaintiffs argue that if this Court were to find that LCMs are in common use for self-
defense, it does not need to inquire into whether the challenged regulations are “consistent with
this Nation’s historical tradition of firearm regulation” because, under Plaintiffs’ formulation of
Bruen, historical tradition protects arms that are “in common use today,” as opposed to those
“highly unusual in society at large.” Bruen, 142 S. Ct. at 2143 (internal quotation marks
omitted). This Court disagrees with Plaintiffs’ interpretation. This Court notes that Bruen did
find that “[a]part from a few late-[nineteenth]-century outlier jurisdictions, American
governments . . . have not broadly prohibited the public carry of commonly used firearms for
personal defense.” Id. at 2156. But this Court does not read this statement to automatically render
any regulation that covers a firearm or firearm accessory that is commonly used for self-defense
unconstitutional. First, as the Supreme Court made clear, “when the Second Amendment’s plain
text covers an individual’s conduct, the Constitution presumptively protects that conduct. To
justify its regulation, the government may not simply posit that the regulation promotes an
important interest. Rather, the government must demonstrate that the regulation is consistent
with this Nation’s historical tradition of firearm regulation.” Id. at 2126 (emphasis added). This
suggests that even when a firearm is commonly used for self-defense, and is therefore covered by
the plain text of the Second Amendment, the government may still rebut the presumption that the
firearm is protected. Second, the Supreme Court in Bruen did not apply the more nuanced
analogical approach required for technology or societal concerns that did not exist at the
Founding, because the Bruen Court found that the challenged regulation sought to address a
societal concern that had existed since the eighteenth century. Id. at 2131–32. As discussed more
fully below, this Court finds that a nuanced approach must apply to the present case.
Accordingly, Bruen’s historical conclusions stem from a more “straightforward” analysis not
applicable here. See id.


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[eighteenth] century, the lack of a distinctly similar historical regulation addressing that problem

is relevant evidence that the challenged regulation is inconsistent with the Second Amendment.”

Id. at 2131. Or “if earlier generations addressed the societal problem, but did so through

materially different means, that also could be evidence that a modern regulation is

unconstitutional.” Id. The challenged regulation in Heller, for instance, sought to address

technology (handguns) and a societal problem (interpersonal firearm violence) that the Supreme

Court found existed at the time of the Second Amendment’s ratification in 1791 and, later, the

adoption of the Fourteenth Amendment in 1868. See id. at 2131.

       But Bruen also acknowledged that not all inquiries will be so straightforward. The

Second Amendment, as this Court has noted, protects not only the types of arms that were in

existence in 1791 but also “modern instruments that facilitate armed self-defense.” Id. at 2132

(citation omitted). But if an instrument of self-defense did not exist—or was exceedingly rare—

in 1791, we would not expect to find any regulations limiting or restricting the possession or use

of this rare or non-existent instrument.28 The Supreme Court thus clarified its rule in Bruen to

account for technology or societal ills that the Founders could not have envisioned by explaining

that “cases implicating unprecedented societal concerns or dramatic technological changes may

require a more nuanced approach.” Id. at 2132.




       28
           It would be a mistake to treat this absence of evidence as evidence of BM 114’s
unconstitutionality. In Hanson v. District of Columbia, which considered the constitutionality of
the District of Columbia’s restrictions on LCMs, the court explained that while the first patent
for a personal jetpack was taken out in 1919, jetpacks remain unregulated today. Hanson v.
District of Columbia, --- F. Supp. 3d ----, 2023 WL 3019777, at *16 (D.D.C. Apr. 20, 2023).
Nonetheless, it would be absurd for a future court, in reviewing the regulatory landscape around
personal jetpacks in 2023, to view the lack of widespread regulation as illustrating “an
ideological disposition against regulating jetpacks.” Id. Rather, it shows that personal jetpacks
remain an “expensive and experimental curiosity,” too rare to attract the kind of societal (and
political) attention necessary to lead to widespread regulation in 2023. Id.
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       In these cases, Bruen instructs courts to “reason[] by analogy,” which “requires a

determination of whether the two regulations are ‘relevantly similar.’” Id. (citation omitted). In

making that determination, Bruen focuses on two metrics: “how and why the regulations burden

a law-abiding citizen’s right to armed self-defense.” Id. at 2133. And, in assessing whether a

modern-day regulation is relevantly similar to a historical analogue, Bruen notes that the

government must “identify a well-established and representative historical analogue, not a

historical twin.” Id. “[E]ven if a modern-day regulation is not a dead ringer for historical

precursors,” in other words, “it still may be analogous enough to pass constitutional muster.” Id.

                   i.   LCMs implicate both “unprecedented societal concerns” and
                        “dramatic technological changes.”

       Under Bruen, a “more nuanced” analogical approach is necessary if a case implicates

either “unprecedented societal concerns” or “dramatic technological changes.” Id. at 2132. As

this Court explains below, Defendants and Intervenor-Defendant have shown that this case

implicates both.

                        (a) Mass shootings using LCMs are an “unprecedented societal
                            concern.”

       First, this Court finds that based on the evidence presented at trial, Defendants and

Intervenor-Defendant have shown that mass shootings using LCMs are an unprecedented

societal concern rather than a general societal problem that has persisted since the eighteenth

century.

       First, the evidence at trial shows that the shooting of multiple victims by a single assailant

using a firearm is a recent phenomenon in American history. The first example in American

history of a mass shooting involving more than ten fatalities, not including the perpetrator,




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occurred in 1949.29 Tr. 6/6/2023 464:6–10; see also Ex. 564. The annual incidence of high-

fatality mass shootings—which are defined as a mass-shootings where six or more individuals

died, not including the perpetrator—has increased along a linear trend line from 1990 to 2022.

Tr. 6/6/2023 413:5–17. Defendants’ expert Dr. Klarevas concluded that the trend line is

“indicative of a growing problem” related to high-fatality mass shootings. Tr. 6/6/2023 413:18;

see also Ex. 567. Dr. Klarevas also testified that in addition to observing a rise in the occurrence

of mass shooting events, he has also observed a rise in the fatalities or victims killed in recent

years from mass shooting events. Tr. 6/6/2023 414:7–17; see also Ex. 568. Plaintiffs produced

no evidence at trial to rebut Dr. Klarevas’s testimony.

       Defendants also produced evidence showing that, in recent years, it has become more

common for LCMs to be used in mass-shooting events. Tr. 6/6/2023 415:14–416:2. Since 1990,

78 percent of all high-fatality mass shootings have involved LCMs. Ex. 569. But that percentage

goes up as one approaches present-day. Since 2000, for instance, 79 percent of all high-fatality

mass shootings have involved LCMs. Ex. 569. Since 2010, 86 percent of all high-fatality mass

shootings have involved LCMs. Ex. 569. And since 2020, every single high-fatality mass

shooting in which six or more individuals were killed involved an LCM. Ex. 569. Again,

Plaintiffs produced no evidence at trial to rebut this evidence.

       Finally, Intervenor-Defendant produced evidence showing that mass shootings have

created new societal concerns related to the capacity of health care systems. Mass shooting




       29
          As noted above, Dr. Klarevas’s testimony relies on a definition of “mass shooting” that
excludes large inner group violence. This Court accepts Dr. Klarevas’s definition of mass
shooting as the kind of definition that those in his field would typically use, while
acknowledging that covers a specific type of event: a mass shooting against civilians using a
firearm, and therefore necessarily excludes some instances of mass violence in American history.
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events impact a hospital’s surge capacity, which is the ability of a given hospital to deal with

multiple casualties in a short period of time. Tr. 6/6/2023 494:8–17. If a mass shooting event

results in more than five or ten critically injured patients in a short period of time, OHSU—

which is one of Oregon’s largest, most well-resourced trauma hospitals—would rapidly run out

of available resources to treat patients. Tr. 6/6/2023 493:15–20; 495:2–13. The surge capacity of

hospitals around the state of Oregon is likely much smaller than that of OHSU, meaning that a

mass shooting that resulted in four casualties could overwhelm these hospitals. Tr. 6/6/2023

496:6–12. Once a hospital reaches surge capacity, a hospital must decide how to allocate care to

patients, which can result in delays and postponements of certain treatments. Tr. 6/6/2023

495:15–21. Plaintiffs produced no evidence at trial to rebut this evidence, or to suggest that these

administrative concerns have existed since the eighteenth century.

       In sum, this Court finds that Defendants and Intervenor-Defendant produced sufficient

evidence at trial to show that mass shootings related to LCMs are an unprecedented societal

concern. Incidents of mass shootings were rare even a half a century ago and have increased

rapidly in very recent years. In the last decade, most mass shootings in which more than five

individuals were killed involved LCMs. And the rise in these mass casualty events is placing an

unprecedented pressure on society’s medical institutions, which must now be prepared to handle

mass casualty events at the expense of other patients. Though gun violence certainly has long

plagued the United States, Defendants and Intervenor-Defendant have shown that these incidents

of singular and concentrated violence against civilians are unprecedented.




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                      (b) LCMs represent a “dramatic technological change.”

       Additionally, this Court finds that Defendants and Intervenor-Defendant have shown that

LCMs represent a “dramatic technological change” from the technology available at the

Founding.

       The evidence presented at trial overwhelmingly shows that large-capacity repeating

firearms—defined as firearms capable of firing more than ten rounds without requiring the

shooter to reload—were extremely rare at the adoption of the Second Amendment. Defendants’

expert Dr. Brian DeLay described repeating firearms from the Founding Era as “vanishingly

rare” and “perhaps nonexistent.” Tr. 6/6/2023 552:25–553:1. Examples of repeating firearms

from this era included a single nine-shot firearm brought to the Colonies from England, as well

as a prototype for a repeating firearm that operated like a Roman candle. Tr. 6/6/2023 556:12–

15; 557:18–19; 559:14–560:12. And while there is evidence that a Girardoni air rifle was

brought on the Lewis and Clark expedition in the early 1800s, repeating air rifles were broadly

viewed as uncommon and unusual curiosities rather than common weapons of self-defense. Tr.

6/7/2023 573:3–9; 576:18–20. According to Dr. Delay’s testimony, there is no evidence that

ordinary Americans would have had any familiarity with large-capacity repeating firearms at the

time of the Second Amendment’s ratification in 1791. Tr. 6/7/2023 577:6–16.

       At the time of the ratification of the Fourteenth Amendment in 1868, large-capacity

magazines or repeating firearms capable of firing more than ten rounds without reloading were

likewise uncommon. Dr. DeLay testified that between 1776 and 1868, repeating firearms did

become easier to manufacture and more reliable to use. Tr. 6/7/2023 582:19–22; 590:14–20. The

first type of repeating firearm to gain some limited commercial success, according to Dr. DeLay,

was the Colt revolver, which entered the civilian market in the 1830s and could hold between



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five to and seven rounds. Tr. 6/7/2023 582:19–22; 583:9–10; 584:20–21. Dr. DeLay testified that

loading those rounds was a time-consuming process that required an individual to complete five

separate steps to reload a single chamber. Tr. 6/7/2023 583:14–584:7.

       As for large-capacity firearms at the time the Fourteenth Amendment was ratified in

1868, Dr. DeLay testified that there were two models capable of firing more than ten rounds

without reloading: the Winchester rifle and the Henry rifle. Tr. 6/7/2023 591:16. Both models

required the shooter to reload the rounds one by one once the rifle’s fixed magazine had been

emptied, unlike modern detachable magazines which allow the user to simply insert an already-

fully-loaded magazine into their firearm. Tr. 6/7/2023 593:4–8. Neither firearm was semi-

automatic, unlike many firearms that come standard with LCMs today. Tr. 6/7/2023 593:9–10.

And both rifles enjoyed only minimal success on the domestic civilian market. According to Dr.

DeLay’s testimony, 74,000 of these rifles were produced between 1861 and 1872; of those, about

65,000 were exported to foreign militaries and 8,500 were purchased by or for officers in the

Union Army during the Civil War, leaving just 500 for the civilian market. Tr. 6/7/2023 594:8–

21. According to Dr. DeLay’s estimates, large-capacity firearms accounted for less than 0.002

percent of firearms in the United States at the time of the Fourteenth Amendment. Tr. 6/7/2023

595:18–22.

       Indeed, the evidence at trial shows that the commonality of LCMs within the American

civilian market today is itself a relatively recent phenomenon. In 1954, there were only two

models of firearms that were sold with factory-issued large-capacity magazines, which accounted

for 0.7 percent of firearms sold. Tr. 6/6/2023 408:18–21. LCMs did not come factory-issued with

more than five percent of firearm models until 1984. Tr. 6/6/2023 409:3. This is around the time




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that Plaintiffs’ experts testified that LCMs first became popular within the civilian firearm

market. Tr. 5/30/2023 84:23–85:5; 6/5/2023 131:13–21.

       This Court concludes that modern-day LCMs represent a dramatic technological change

from the Founding and Reconstruction-era firearms based on at least two key metrics: the time

and effort involved in reloading and the time involved in shooting the firearm’s rounds.

Plaintiffs’ expert Massad Ayoob testified that he can reload a handgun with a detachable LCM in

three-and-a-half seconds. Tr. 5/30/2023 78:14–16. And Defendants’ expert Jim Yurgealitis

testified that detachable magazines “facilitate[] more rapid reloading of a firearm when the

previous magazine is empty.” Tr. 6/6/2023 523:13–14. By comparison, reloading a muzzle-

loading weapon—the typical style of weapon popular at the time of the Second Amendment’s

adoption in 1791—required an individual to complete at least eight steps, including priming the

firearm, pouring in gunpowder, inserting the musket ball, and ramming the gunpowder and

musket ball with a ramrod. Tr. 6/7/2023 641:22–643:9. Repeating firearms at the time of the

ratification of the Fourteenth Amendment were more streamlined, but still less so than modern-

day LCMs. As discussed above, even the most reliable multi-shot firearms of the nineteenth

century—the Colt revolver, the Henry rifle, and the Winchester rifle—had to be reloaded round

by round, meaning that a repeating firearm could only be reloaded as quickly as the shooter

could insert the individual rounds. Tr. 6/7/2023 583:14–584:7; 593:4–8; 601:15–18.

       Modern LCMs also allow an individual to fire more rapidly than the firearms of the

Founding or Reconstruction eras. Dr. DeLay testified that the shooter in the Virginia Tech

massacre fired 174 rounds in around nine to ten minutes using an LCM, which means that the

shooter could discharge between seventeen and nineteen rounds in a single minute. Tr. 6/7/2023

603:1–2; Ex. 556. Dr. DeLay testified that this rate of shooting would have been impossible



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between 1860 and the turn of the twentieth century using a Winchester or Henry rifle. Tr.

6/7/2023 603:3–8; 603:15–16. Dr. DeLay also testified that this rate of shooting would have been

impossible using a six-shot Colt revolver from the 1830s. Tr. 6/7/2023 603:9–12. Nor would this

rate of firing have been possible with the most popular weapons at the Founding: according to

Defendants’ expert Dr. Kevin Sweeney, the most highly-trained soldiers could reload and fire a

muzzleloading musket three times per minute. Tr. 6/7/2023 643:10–19. An eighteenth-century

rifle could be reloaded and fired once every ninety seconds. Tr. 6/7/2023 650:14–16. And while

eighteenth-century pistols could be reloaded and fired slightly faster, they could still only fire

three to four times per minute—far slower than a modern-day LCM. Tr. 6/7/2023 647:11–20.

   The evidence presented at trial thus establishes that LCMs—and large-capacity repeating

firearms in general—were exceedingly rare among the U.S. civilian population through the

ratification of the Fourteenth Amendment. Moreover, a modern LCM allows an individual to fire

at least four times more rapidly than the most well-trained soldier of the Founding era. These

LCMs represent a dramatic technological change from the types of weapons available at the

Founding and Reconstruction. This Courts’ analysis of BM 114’s restrictions on LCMs must

therefore use the more nuanced approach called for in Bruen.

                 ii.   Modern and historical regulations impose a comparable burden on
                       the right of armed self-defense, and that burden is comparably
                       justified.

       Under Bruen’s nuanced approach, a court must compare the challenged modern

regulation to historical analogues presented by the government. Bruen, 142 S. Ct. at 2132. In

determining whether these analogues are “relevantly similar,” a court must consider whether the

modern regulation imposes comparable burdens on the right to self-defense and decide whether

the burden imposed is comparably justified. Id. at 2133. In other words, a court must consider

how the regulation restricts the right to self-defense and why the restrictions were implemented.
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       At trial, Defendants presented credible evidence about several types of historical

analogues that impose comparable burdens on the right to self-defense as BM 114’s restrictions

on LCMs, and which are comparably justified. These include regulations on the use of trap guns,

the storage of gun powder, the possession and carrying of blunt objects like clubs, the possession

and carrying of certain fighting knives, the concealed carrying of pistols, the concealed carrying

of revolvers, and the use and possession of fully-automatic and semi-automatic firearms. This

Court considers each in turn.

                       (a) Trap Guns

       As described above, a trap gun is a conventional firearm that is rigged, with a string,

wire, or similar mechanism, to discharge without the firearm operator being physically present.

Tr. 6/8/2023 874:18–20. Trap guns were used by individuals to protect property, protect

livestock, and deter thieves. Tr. 6/8/2023 874:21–23. Defendants’ expert Dr. Robert Spitzer

testified that certain features of trap guns made them particularly dangerous, including the

“haphazard manner” in which individuals would fashion them, as well as the fact that the guns

could fire without any individual being present. Tr. 6/8/2023 874:25–875:9.

       At least sixteen states criminalized the setting of trap guns in the nineteenth and twentieth

centuries. Ex. 633. Fourteen states enacted specific anti-trap gun laws. Ex. 633; Tr. 6/8/2023

876:5–7. There is also evidence of individuals being criminally prosecuted for setting a trap gun

in two states. Ex. 633; Tr. 6/8/2023 876:7–9. The primary method of regulating the trap gun was

to prohibit the use or setting of a trap gun. Tr. 6/8/2023 876:23–877:1.

       This Court finds that these laws prohibiting the use or setting of a trap gun placed a

minimal burden on the right to armed self-defense. The laws only prohibited individuals from

using or setting their firearms in a particularly dangerous way; it did not limit individuals from


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possessing or using the underlying firearms themselves. Similarly, BM 114 imposes a minimal

burden on the right to armed self-defense. This Court reiterates the objective evidence discussed

above: it is exceedingly rare for an individual with ordinary self-defense needs to fire more than

ten rounds in self-defense. According to objective evidence, an individual discharges more than

ten rounds in just 0.3 percent of self-defense incidents. That means that in 99.7 percent of all

self-defense incidents, BM 114’s restrictions on LCMs would place no burden on the right to

self-defense.

       Moreover, under BM 114, an individual may possess and use any model or type of

firearm of their choosing, so long as that firearm is not capable of firing more than ten rounds

without reloading. Firearms that use LCMs allow a shooter to fire more shots without having to

pause, which increases the potential lethality of the weapon. Tr. 6/6/2023 513:5–10. An LCM, in

other words, takes a firearm and makes it more lethal. A trap gun, too, takes a firearm and makes

it more lethal by allowing the firearm to discharge without the presence of a shooter. Thus, just

as trap gun laws sought to regulate a particularly dangerous feature of a firearm, so too do BM

114’s restrictions on LCMs seek to regulate a particularly dangerous feature of a firearm.

                       (b) Gunpowder Storage

       Defendants also presented evidence regarding restrictions on the storage of gunpowder in

early American history. Before 1900, nine states regulated the possession, use, or sale of

gunpowder. Ex. 640. Dr. Spitzer testified that these regulations were passed to protect public

safety, because of the risk of explosion and fire associated with the storage of gunpowder. Tr.

6/8/2023 880:25–881:8.

       This Court finds that these gunpowder regulations acted as a kind of limit on the amount

of firepower that an individual could amass in a single place. The gunpowder laws did not


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severely restrict the right to armed self-defense because an individual could still purchase

gunpowder but could not store that gunpowder in amounts that would place the public at risk by

leading to a catastrophic explosive event.

       Similarly, BM 114 restricts the ability of an individual to amass a level of firepower

deemed to be a threat to public safety. While described as an LCM restriction, this Court has

explained that BM 114 is more accurately described as a limit on the amount of ammunition that

an individual is permitted to fire without reloading. Like the gunpowder laws, BM 114 does not

prohibit an individual from purchasing ammunition or amassing firepower; it merely limits the

amount of firepower that an individual can amass and use without reloading. Indeed, BM 114

does not restrict the number of ten-round magazines that an individual may carry or possess. It

simply requires reloading after ten rounds are spent. This Court therefore finds that these

gunpowder regulations placed a relevantly similar burden on the right to armed self-defense as

BM 114.

       This Court also finds that the justifications underpinning these gunpowder laws are

relevantly similar to the justifications underpinning BM 114. As discussed above, mass civilian

casualty events involving firearms were extremely uncommon—indeed, according to the

evidence at trial, unheard of—in the nineteenth century. But gunpowder-related fires did create

the fear of mass civilian casualty events. Tr. 6/8/2023 880:25–881:8. Accordingly, governments

restricted the amount of gunpowder that could be stored in an individual’s home and regulated

where large amounts of gunpowder could be stored, to protect the public from the dangers

associated with gunpowder explosions and fires. BM 114 likewise restricts the amount of

ammunition that an individual can fire at any given time without reloading to protect the public

from mass civilian casualty events.


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                       (c) Blunt Objects

       Defendants also produced credible evidence regarding the regulation of blunt weapons in

the eighteenth and nineteenth centuries. These blunt weapons included things like bludgeons,

billy clubs, and slungshots Tr. 6/8/2023 869:12–870:3.

   Restrictions on bludgeons typically involved laws criminalizing the carrying of such objects.

Tr. 6/8/2023 869:18–21. By the beginning of the twentieth century, thirteen states regulated billy

clubs. Tr. 6/8/2023 870:6–9; Ex. 634. By the beginning of the twentieth century, eight states

regulated bludgeons. Between 1850 and 1875, sixteen states regulated slungshots. Ex. 634. By

1900, that number had grown to thirty-one. Ex. 634. According to Dr. Spitzer, the purpose of

these laws restricting the carry of blunt objects was to improve public safety, with the goal being

to sever the link between the carrying of these objects and their use in crime. Tr. 6/8/2023

873:19–23.

       Plaintiffs argued at trial that these laws are not sufficiently analogous because the laws

restricting blunt objects restricted only the concealed carry of these objects, rather than the

possession of these objects. BM 114, by contrast, restricts both the purchase and the carrying of

LCMs. This Court acknowledges this distinction, but does not find that it changes this Court’s

analysis of the comparative burdens on the right to armed self-defense. As Dr. Spitzer testified,

the social and political realities of the eighteenth and nineteenth century likely made an outright

ban on the possession of blunt objects impossible. Tr. 6/8/2023 874:9–16. Given the ease with

which an individual could fashion a blunt object, it made little sense for fledgling state and

municipal governments to attempt to ban their outright possession. Id. The same cannot be said

about modern LCMs, which cannot be fashioned by an individual and must be purchased. This

Court also notes that our modern regulatory system is more sophisticated than that of our


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eighteenth and nineteenth century predecessors. This Court therefore finds the absence of laws

banning the possession of blunt objects outright to be of little value when considering whether

the laws restricting blunt objects are relevantly similar to BM 114’s restrictions on LCMs.

       Instead, this Court focuses on whether the laws restricting the concealed carry of blunt

objects placed a comparable burden on the right to armed self-defense as BM 114’s LCM

restrictions. Here, this Court finds that the burdens are relevantly similar. Laws regulating blunt

objects typically sought to restrict the concealed carrying of these objects, which was viewed as a

feature of these weapons that made them particularly dangerous and suited to criminal use. The

laws therefore did not prohibit the carrying of all blunt objects, but only those that were small

enough or able to be concealed. This left open some means of self-defense using blunt objects,

whether the individual chose to openly carry the object or chose a larger object that could not be

concealed. BM 114 likewise does not prohibit the carrying, or possession, of all firearms.

Instead, BM 114 seeks to regulate the feature of firearms that makes them particularly dangerous

and suited to criminal use: the ability to fire more than ten shots quickly without reloading. BM

114 leaves open ample channels for self-defense, including all rifles and handguns, so long as

those firearms cannot fire more than ten rounds without reloading.

       This Court likewise finds that laws restricting the concealed carry of blunt objects, and

particularly laws criminalizing the concealed carry of the slungshot, are comparably justified to

BM 114. As discussed above, laws prohibiting the concealed carry—or the carrying altogether—

of slungshots sought to protect public safety by preventing the use of a particularly dangerous

weapon and, particularly, the feature that rendered that weapon so dangerous. Similarly, BM 114

seeks to protect public safety by restricting a feature of firearms that renders them particularly

dangerous.


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                       (d) Bowie Knives

       Defendants also produced credible evidence regarding the regulation of knives and, in

particular, Bowie knives, during the nineteenth century. While Defendants’ expert Dr. Brennan

Rivas testified that it is difficult to gauge in numerical terms the popularity of Bowie knives

during the nineteenth century, Bowie knives were frequently reported on in the media as being

associated with crime. Tr. 6/7/2023 719:22–720:4. Dr. Rivas testified that, from these reports,

she could conclude that there was a significant amount of societal concern associated with the

carrying of Bowie knives, and particularly with the concealed carrying of these knives. Tr.

6/7/2023 720:25–721:2. Dr. Rivas testified that Bowie knife regulations were most often

regulated via concealed carry statutes because the ability to conceal a Bowie knife was thought

to render the weapon particularly dangerous. Tr. 6/7/2023 721:10–20.

       Defendants’ expert Dr. Spitzer also testified that governments responded to the concern

around Bowie knives by enacting laws criminalizing their concealed carry. Tr. 6/8/2023 865:19–

25. At least twenty-nine states or municipalities prohibited the concealed carrying of Bowie

knives. Ex. 636; Ex. 639. And fifteen states or municipalities prohibited the carrying of Bowie

knives altogether, concealed or open. Id.; Tr. 6/8/2023 866:21–25. Dr. Spitzer also testified that

some states prohibited the general public from acquiring a Bowie knife, referring specifically to

an 1881 Arkansas law that made it a crime to sell, barter, exchange, or provide a Bowie knife.

Tr. 6/8/2023 932:17–933:5.

       Plaintiffs again argue that these laws are not analogous to BM 114 because states

typically did not ban possession of Bowie knives, while BM 114 does restrict possession of

LCMs. Again, Defendants’ expert Dr. Spitzer testified that in the nineteenth century, laws

banning possession of Bowie knives altogether would not have been feasible, because the United



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States was still a relatively new system of government with a “primitive” system of policing. Tr.

6/8/2023 868:6–13. According to Dr. Spitzer’s testimony, “governments generally did not have

the mechanisms, the ability, the capability to simply ban a knife outright, especially in light of

the fact that a knife is a very simple thing technologically.” Tr. 6/8/2023 868:14–17. This Court

agrees that it must consider the political realities of an era when evaluating whether a law is

sufficiently analogous to a modern-day regulation, and finds Dr. Spitzer’s testimony persuasive.

       Accordingly, this Court focuses on whether the laws restricting Bowie knives placed a

comparable burden on the right to armed self-defense as BM 114’s LCM restrictions. This Court

again finds that the prohibition on the carry of a Bowie knife likely placed a greater burden on

the right to armed self-defense than BM 114’s restrictions on LCMs. Defendants’ expert Dr.

Rivas testified that, for much of the nineteenth century, single-shot pistols were as useful to

individual self-defense as clubs. Tr. 6/7/2023 717:8. Knives, on the other hand, were

“exceedingly deadly,” and could be used by individuals as many times as they were so inclined.

Tr. 6/7/2023 717:9–13. A Bowie knife, then, was likely a useful device for self-defense in the

nineteenth century, particularly compared to other available options. By contrast, LCMs are not

commonly used for self-defense, and restrictions on the use of LCMs do not prevent individuals

from obtaining firearms, like handguns, that are commonly used in self-defense, so long as those

handguns cannot fire more than ten rounds without reloading.

       The justifications underpinning these regulations are also relevantly similar. Both Bowie

knife regulations and BM 114 seek to protect public safety. And the mechanisms of both laws

are likewise relevantly similar because both target the feature of the weapon thought to be the

most dangerous: concealment for Bowie knives, and the ability to shoot more than ten rounds

without reloading for LCMs.



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                       (e) Pistols

       Defendants produced credible evidence regarding the regulation of pistols in the early-to-

mid nineteenth century. In fact, according to Dr. Spitzer’s testimony, by the early twentieth

century, there was some form of anti-concealed carry law passed in every state or territory, or

cities within those states or territories, except for New Hampshire. Ex. 634; Tr. 6/8/2023 877:6–

10. Some of these laws specifically targeted the carrying or sale of pocket pistols, which were

viewed as particularly dangerous due to their size and ease of concealment. Tr. 6/7/2023 725:1–

4; 732:6–10.

       These anti-concealed carry laws targeting pistols were passed in response to both

technological advances and an increase in commonality of pistols within the civilian population.

Dr. Rivas testified that around 1850, firearms technology had advanced such that any individual

who wanted to purchase a pistol—and who had the money to do so—could. Tr. 6/7/2023

726:19–22. And Dr. Spitzer testified that there was an increase in interpersonal violence and

murders throughout the country in the pre-Civil War nineteenth century involving pistols. Tr.

6/8/2023 877:15–23.

       These anti-concealed carry laws targeting pistols imposed a similar, if not greater, burden

on the right to armed self-defense than BM 114’s LCM restrictions. On their face, these laws

appear to restrict the concealed carry of an entire class of arms: pistols. But by prohibiting the

concealed carry of pistols, these laws restricted only those pistols that were small enough to be

readily concealed; these laws still allowed individuals to carry small pistols openly, or carry the

larger horse or belt pistols. The laws thus did not completely prevent an individual from carrying

pistols for their self-defense. Indeed, laws that made exceptions to the carrying of pistols for

those on journeys seem to recognize that pistols were useful in certain self-defense situations.


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See, e.g., Ex. 636 at 2, 8, 24. Similarly, BM 114 does not restrict the carry—open or otherwise—

or possession of any broad category of arms. Rather, BM 114’s LCM restrictions restrict only a

subset of magazines that are particularly dangerous to public safety, in the same way that the

concealed carry laws targeted a subset of firearms thought to be particularly useful in the

commission of crimes.

       These anti-concealed carry laws are likewise comparably justified to BM 114. These laws

were passed in response to a rise in the commission of violent crime using pistols, and sought to

restrict a feature of a firearm that made it particularly dangerous to public safety: the pistol’s

size, which made it easily concealable and useful in the commission of crime. Tr. 6/7/2023

725:1–4; 732:6–10. Similarly, BM 114 was passed in response a rise in mass shootings involving

LCM-equipped firearms and seeks to restrict a feature of a firearm that makes it particularly

dangerous to public safety: the firearm’s magazine capacity, which makes it able to shoot more

than ten bullets in a short period of time, well above the number of bullets commonly used for

self-defense.

                       (f) Revolvers

       Defendants also produced credible evidence regarding the regulation of revolvers as a

specific subset of firearms in the mid-to-late nineteenth century, following the relative

commercial success of the Colt revolver and the increase in production of revolvers following

the Civil War. At least thirteen states passed regulations on the concealed carry of pistols

between 1861 and 1930. Ex. 636.

       This Court finds that these nineteenth century laws prohibiting or limiting concealed

carry of revolvers burdened the right to armed self-defense to a much greater degree than BM

114’s restrictions on LCMs. These laws restricted the carry of all revolvers regardless of


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capacity, and most popular revolvers in the mid-to-late nineteenth century held between five to

seven rounds. BM 114, by contrast, imposes a minimal burden on the right to armed self-

defense, because BM 114’s restrictions on LCMs do not prevent individuals from possessing or

using any model or type of firearm of their choice, so long as that firearm is not capable of firing

more than ten rounds without reloading. Again, this Court reiterates that, based on the evidence

produced at trial, LCMs are not commonly used in self-defense, such that restricting their

possession would have no impact on 99.7 percent of ordinary self-defense situations.

       This Court notes that regulations on the carrying of revolvers increased as these revolvers

became more common in the civilian market. While the Colt revolver was first created in the

1830s, they did not become popular among the civilian population until the mid-to-late 1840s,

and became very popular in the civilian market in the years following 1860. Tr. 6/7/2023 583:4–

10; 726:2–10; 728:1–7. Regulations that specifically limited the carrying of revolvers likewise

began appearing after 1860. Ex. 363. This is analogous to modern regulations on LCMs.

Plaintiffs’ expert Mark Hanish testified that modern LCMs became popular on the civilian

market in the 1980s. Tr. 6/5/2023 131:15–21. LCMs were subsequently prohibited under federal

law beginning in 1994. Tr. 6/6/2023 525:22–526:7.

       Plaintiffs argued at trial that these laws are not sufficiently analogous because the laws

restricted only the concealed carrying of revolvers, while BM 114’s restrictions on LCMs restrict

both the purchase and the carrying of LCMs. This Court acknowledges this distinction, but does

not find that it changes this Court’s analysis of the comparative burdens on the right to armed

self-defense. As discussed above, this Court finds that the objective evidence shows that LCMs

are not commonly used in self-defense because the unique features of an LCM—the ability to

shoot more than ten rounds without reloading—are rarely, if ever, “commonly used . . . for self-


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defense.” Bruen, 142 S. Ct. at 2138. By contrast, revolvers or other types of handguns are

commonly used in self-defense situations, both in firing and in brandishing. An outright

prohibition on the concealed carrying of an item that is commonly used in self-defense is more

burdensome than restrictions on the purchase and carrying of an item that is almost never used in

self-defense situations.

       This Court likewise finds that the anti-concealed carry laws of the nineteenth century are

comparably justified to BM 114. The anti-concealed carry laws of the nineteenth century sought

to restrict the use of a weapon that posed a threat to public safety by virtue of its increased

popularity in the civilian market. Tr. 6/7/2023 729:6–15. These concealed carry laws were also

aimed at limiting what was viewed as a particularly dangerous feature of these firearms: their

design as being readily concealable, which was viewed as rendering them more deadly. Tr.

6/7/2023 721:10–20; 731:19–21. Similarly, BM 114 seeks to restrict the use of a firearm

accessory that poses a threat to public safety by virtue of its particularly dangerous features.

                       (g) Semi and Fully-Automatic Firearms

       Finally, Defendants’ presented evidence related to twentieth century laws regulating

semi- and fully-automatic firearms. Before discussing whether these regulations are analogous to

BM 114, it is necessary to consider Bruen’s discussion of the relevant time period to which

courts should look when considering whether a regulation is consistent with the Nation’s history

and tradition.

       Bruen cautioned courts that, when considering historical evidence, “not all history is

created equal.” Bruen, 142 S. Ct. at 2136. Most useful to understanding whether a modern

regulation is consistent with history and tradition, the Supreme Court noted, is evidence that does

not “long predate[]” either the adoption of the Second Amendment in 1791 or the Fourteenth


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Amendment in 1868. Id. Accordingly, and as discussed above, the vast majority of the historical

analogues on which Defendants rely come from either the eighteenth or nineteenth centuries.

Historical evidence that post-dates the adoption of the Fourteenth Amendment, according to the

Supreme Court, can be used to confirm earlier historical traditions, but cannot be used as

evidence to contradict or override those traditions. Id. at 2137 (citing Heller v. District of

Columbia (Heller II), 670 F.3d 1244, 1274 n.6 (Kavanaugh, J., dissenting) (“[P]ost-ratification

adoption or acceptance of laws that are inconsistent with the original meaning of the

constitutional text obviously cannot overcome or alter that text.”)). Accordingly, historical

evidence from the twentieth century is useful only to the extent that it confirms the historical

traditions from the eighteenth and nineteenth centuries on which Defendants chiefly rely.

       Fully-automatic and semi-automatic firearms, as well as large-capacity ammunition

feeding devices, entered the U.S. civilian market following World War I. Tr. 6/8/2023 883:1–5;

885:16–886:1; 884:23–885:5. These changes in firearm technology allowed individuals to fire a

greater number of rounds than ever before without needing to reload. Tr. 6/8/2023 887:8–12.

       According to Dr. Spitzer, governments quickly responded to the proliferation of these

new technologies among civilians. Between 1925 and 1934, at least thirty-two states enacted

laws restricting or, in some instances, prohibiting the possession of fully-automatic firearms. Tr.

6/8/2023 884:10–13. Dr. Spitzer testified that at least twenty-three states enacted regulations in

the 1920s that effectively restricted magazine capacity by prohibiting individuals from

possessing firearms that could fire over a certain number of rounds. Tr. 6/8/2023 887:13–16.

And while many of these statutes only applied to automatic firearms, at least six states and the

District of Columbia passed restrictions on firearms that could fire more than a certain number of

rounds semi-automatically without reloading. Ex. 635 at 3, 13, 14, 20, 23, 30. Some states, like



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Ohio, allowed possession only if any individual obtained a permit. Tr. 6/8/2023 919:7–13; Ex.

635 at 20. Other states, by contrast, did not allow possession of these firearms under any

circumstances, and limited the capacity of possessable firearms well-below the restrictions of

BM 114. Ex. 635 at 13, 30.

       Dr. Spitzer testified that he was not aware of any law from the early twentieth century

that specifically addressed LCMs. However, LCMs were effectively restricted by laws regulating

firearms capable of firing over a certain number of rounds, such as laws restricting the

possession of semi-automatic firearms that could fire more than twelve rounds. Tr. 6/8/2023

926:4–8. Some states specifically prohibited semi-automatic firearms where the magazines had

been expanded to accept extra capacity, illustrating a regulatory focus on limiting the number of

rounds that an individual could fire without reloading. Ex. 365 at 14. Thus, restrictions on semi-

and fully-automatic firearms were closely associated with restrictions on ammunition magazines

or their equivalents.30

       This Court finds that these twentieth century restrictions on semi- and fully-automatic

firearms overall imposed a comparable burden on the right to self-defense as BM 114’s

restrictions on LCMs. As Dr. Spitzer testified, semi- and fully-automatic firearms were first

created for warfare and were of limited value to civilian self-defense, though Tommy guns were

marketed to civilians for that purpose. A restriction on their possession or use therefore imposed

a relatively minimal burden on the right to self-defense. The twentieth century restrictions on




       30
          While Defendants did not rely on this evidence at trial, this Court also notes that
magazine capacity was capped at ten rounds for detachable magazines throughout the entire
country from 1994 to 2004. Tr. 6/6/2023 405:22–23; 525:21–526:7; see also Pub. L. No. 103-
322, § 110103(b), 108 Stat. 1999 (1994). This further confirms a tradition of regulating firearms
based on magazine capacity.
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semi- and fully-automatic firearms also did not prohibit an individual from purchasing multiple

firearms, or multiple magazines, to increase their firepower. This Court notes that while some

regulations on semi- and fully-automatic firearms allowed possession if an individual obtained a

permit, other regulations allowed for no such exceptions, and limited capacity to near or below

that of BM 114’s ten-round restriction. See, e.g., Ex. 635 at 2, 13, 14, 23. Accordingly, this Court

finds that some of these regulations burdened the right to self-defense less than BM 114, while

some burdened the right to self-defense more; in general, however, these regulations imposed a

minimal burden on the right to self-defense.

       Similarly, as discussed above, BM 114’s restrictions on LCMs impose a minimal burden

on the right to self-defense. Unlike many of the twentieth century restrictions on semi- and fully-

automatic firearms, BM 114 only limits capacity, and does not limit the type of firearm an

individual can purchase. Under BM 114, an individual can purchase a semi-automatic handgun,

so long as that handgun is not capable of firing more than ten rounds without reloading. And

similar to the twentieth century restrictions, under BM 114, an individual is allowed to purchase

as many firearms and as many magazines as they desire—so long as no single magazine is

capable of firing more than ten rounds without reloading.

       This Court also finds that the twentieth century restrictions on semi- and fully-automatic

firearms and BM 114 are comparably justified. Both seek to protect public safety by limiting a

particularly dangerous feature of a weapon: in both cases, the ability to fire a large number of

bullets without pausing to reload. Restrictions on semi- and fully-automatic firearms in the

twentieth century were passed in response to the use of these firearms in the commission of

violent crimes. Similarly, BM 114 was passed in response to the use of LCMs in violent mass

shootings. As noted above, while these restrictions cannot independently form the basis of a



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historical tradition of firearm regulation, they confirm the historical traditions from the

eighteenth and nineteenth centuries discussed earlier, which is the tradition of regulating new

firearms and weapons technology to restrict the features that rendered these weapons particularly

dangerous.

        In sum, this Court finds that Defendants have presented sufficient evidence to show that

BM 114’s restrictions on LCMs are consistent with the Nation’s history and tradition of firearm

regulation. Throughout this Nation’s history, new technologies have led to the creation of

particularly dangerous weapons. As those weapons became more common, they became tied

with violence and criminality. In response, governments passed laws that sought to address the

features of those weapons that made them particularly dangerous to public safety. BM 114’s

restrictions on LCMs are no different, and are thus constitutional under Bruen’s history and

tradition test.

        2. BM 114’s permitting provisions do not violate the Second Amendment.

        Bruen considered the constitutionality of New York’s public carry licensing regime that

required an applicant to demonstrate a special need for self-defense before the state would issue

a license. Bruen, 142 S. Ct. at 2122. In striking down New York’s law as violative of the Second

Amendment, the Supreme Court noted that respondents—the New York state government—had

failed to “identify an American tradition justifying the State’s proper-cause requirement.” Id. at

2156. But the Supreme Court also noted that “nothing in our analysis should be interpreted to

suggest the unconstitutionality of the 43 States’ ‘shall-issue’ licensing regimes, under which ‘a

general desire for self-defense is sufficient to obtain a [permit].’” Id. at 2138 n.9 (alteration in

original) (citation omitted). Accordingly, BM 114’s permitting provisions are constitutional

under Bruen if they constitute a shall-issue licensing regime.



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            a. BM 114’s permitting provisions constitute a “shall-issue” licensing regime.

       As described above, BM 114’s permit-to-purchase regime requires applicants to satisfy

several criteria before obtaining a permit: applicants must undergo a background check,

fingerprinting, and a mental health check, complete a training course in firearms, and pay a fee.

Ex. 1 § 4(1)(b)(A)–(E). If an applicant meets the criteria for a permit, the permit agent “shall

issue” the permit. Id. § 4(3)(a). BM 114’s mental health provision states that an applicant is not

qualified to obtain a permit, however, if they “present reasonable grounds for a permit agent to

conclude that the applicant has been or is reasonably likely to be a danger to self or others, or to

the community at large, as a result of the applicant’s mental or psychological state or as

demonstrated by the applicant’s past pattern of behavior involving unlawful violence or threats

of unlawful violence.” Id. § 4(1)(b)(C).

       Plaintiffs argue that BM 114 is not a shall-issue regime because the mental health

provision makes the permitting agent’s decision to approve or deny the application

discretionary.31 Defendants counter that BM 114’s permitting regime, including the mental

health provision, tracks with the types of permitting regimes explicitly approved of in Bruen.

       In describing the types of constitutionally-permissible “shall-issue” licensing regimes, the

Supreme Court explained that such regimes “often require applicants to undergo a background

check or pass a firearms safety course [and] are designed to ensure only that those bearing arms

in the jurisdiction are, in fact, ‘law-abiding, responsible citizens.’” Bruen, 142 S. Ct. at 2138 n.9




       31
          In pretrial briefing, Plaintiffs also argued that Defendants would be unable to
implement the other portions of BM 114’s permitting regime —including the firearms courses—
without significant delays. This Court found that any claims regarding BM 114’s
constitutionality that hinged on future implementation of the permitting regime were unripe for
adjudication and dismissed those claims without prejudice. See ECF 234.
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(citation omitted). The Court explained that “the vast majority of states—43 by [its] count—are

‘shall issue’ jurisdictions.” Id. at 2123. The Court then collected these forty-three “shall-issue”

regimes in Bruen’s first footnote. Id. at 2123 n.1. One of these constitutional “shall-issue”

regimes was Oregon’s concealed handgun license (“CHL”) regime. Id. (citing O.R.S. 166.291).

The Court then explained in Bruen’s ninth footnote that these permitting regimes are “shall-

issue” regimes because they “appear to contain only ‘narrow, objective, and definite standards’

guiding licensing officials . . . rather than requiring the ‘appraisal of facts, the exercise of

judgment, and the formation of an opinion.’” Id. at 2138 n.9 (internal citations omitted).

        Defendants argue that Bruen approved of Oregon’s CHL regime as a shall-issue regime

and that BM 114 contains a mental health provision that mirrors Oregon’s CHL regime.

Compare Ex. 1 § 4(1)(b)(C) (stating that an individual is qualified to obtain a permit-to-purchase

if they “[do] not present reasonable grounds for a permit agent to conclude that the applicant has

been or is reasonably likely to be a danger to self or others, or to the community at large, as a

result of the applicant’s mental or psychological state or as demonstrated by the applicant’s past

pattern of behavior involving unlawful violence or threats of unlawful violence”) with O.R.S.

166.293(2) (stating that a sheriff may deny an individual a CHL if the sheriff “has reasonable

grounds to believe that the applicant has been or is reasonably likely to be a danger to self or

others, or to the community at large, as a result of the applicant’s mental or psychological state

or as demonstrated by the applicant’s past pattern of behavior involving unlawful violence or

threats of unlawful violence.”). Defendants thus argue that the Supreme Court has implicitly

approved the mental health provision found in BM 114 as constitutional.

        Plaintiffs counter that Bruen only explicitly approves of the language of one section of

Oregon’s CHL permitting regime—O.R.S. 166.291—and the mental health provision comes



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from a subsequent section of Oregon’s CHL permitting regime: O.R.S. 166.293. Plaintiffs

therefore argue that the Supreme Court would not approve of BM 114’s mental health provision,

which mirrors the language found in O.R.S. 166.293—not O.R.S. 166.291. Although Plaintiffs

are correct that Bruen cites only to the first section of Oregon’s CHL permitting regime, O.R.S.

166.291, their argument that the Bruen Court only approved that section is not well-taken.

Oregon’s CHL permitting regime includes a number of sections, including the mental health

provision found in O.R.S. 166.293. To obtain a CHL permit under O.R.S. 166.291, the mental

health provision in O.R.S. 166.293 must be satisfied. The language of BM 114’s mental health

provision mirrors the language in O.R.S. 166.293. One simply cannot legitimately read O.R.S.

166.291 as divorced from the sections that follow and supply further conditions for obtaining a

CHL.

   Moreover, review of the shall-issue statutes cited in Bruen’s first footnote shows that the

Supreme Court only included citations to a single section of each of the forty-three cited shall-

issue regimes, typically the first substantive section to deal with permitting requirements. There

is no example of a citation that goes beyond a single section, which, again, is usually the

regime’s general permitting section. It is implausible that the Supreme Court intended to convey

approval of only a single section of these forty-three permitting regimes. Rather, this Court finds

that the most reasonable interpretation is that the Bruen Court’s citations are used to refer to the

entirety of each state’s referenced firearms permitting regime. This interpretation is supported by

the language of Bruen itself, in which the Supreme Court specifically refers to the statutes in the

first footnote as coming from “‘shall-issue’ jurisdictions.” Bruen, 142 S. Ct. at 2123 (emphasis

added). Like Oregon’s CHL permitting statutes, several of the statutes cited with approval in

Bruen involve subsequent statutory sections that continue or clarify the state’s permitting



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framework. See, e.g., Alaska Stat. § 18.65.705 (2020) (outlining qualifications to obtain a

concealed handgun permit); Ark. Code Ann. § 5–73–310 (2019) (describing the application form

for a concealed handgun permit); Colo. Rev. Stat. § 18–12–207 (2021) (describing the judicial

review process for denial of a concealed handgun permit). This Court concludes that the statutes

cited in Bruen’s first footnote are meant to convey approval of these shall-issue permitting

regimes as a whole, rather than specific statutory sections.

        Further, even if the Supreme Court did intend for these citations to signal approval of

only those specifically-cited sections, several of the statutory sections cited in Bruen’s first

footnote include nearly identical language to BM 114’s mental-health provision. For example, in

Missouri, “[a] concealed carry permit . . . shall be issued . . . if the applicant . . . [h]as not

engaged in a pattern of behavior, documented in public or closed records, that causes the sheriff

to have a reasonable belief that the applicant presents a danger to himself or others.” Mo. Rev.

Stat. § 571.101 (2016) (emphasis added). In Montana, a sheriff “may deny an applicant a permit

to carry a concealed weapon if the sheriff has reasonable cause to believe that the applicant is

mentally ill, mentally disordered, or mentally disabled or otherwise may be a threat to the peace

and good order of the community to the extent that the applicant should not be allowed to carry a

concealed weapon.” Mont. Code Ann. § 45-8-321 (2021) (emphasis added).32 In North Dakota,

the bureau of criminal investigation, which grants concealed carry permits, “may deny approval

for a license if the bureau has reasonable cause to believe that the applicant . . . has been or is a

danger to self or others as demonstrated by evidence, including past pattern of behavior




        32
         Montana amended its concealed carry statute in 2023, but did not amend this language.
See Mt. Legis. 474 (2023).


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involving unlawful violence or threats of unlawful violence; past participation in incidents

involving unlawful violence or threats of unlawful violence; or conviction of a weapons

offense.” N. D. Cent. Code Ann. § 62.1–04–03 (Supp. 2021) (emphasis added).33 And in

Wyoming, the state shall deny a permit “upon reasonable grounds for denial” which include

“facts known to the sheriff which establish reasonable grounds to believe that the applicant has

been or is reasonably likely to be a danger to himself or others, or to the community at large as a

result of the applicant’s mental or psychological state, as demonstrated by a past pattern or

practice of behavior, or participation in incidents involving a controlled substance, alcohol abuse,

violence or threats of violence as these incidents relate to criteria listed in this section.” Wyo.

Stat. Ann. § 6–8–104 (2021) (emphasis added). This Court finds that the language in BM 114’s

mental health provision mirrors the language of these statutes, and that the specific approval of

these statues in Bruen demonstrates that BM 114’s mental health provision is constitutional.

       Plaintiffs next argue that Oregon courts have interpreted O.R.S. 166.293(2) as giving the

permitting agents discretion to deny a CHL, which, in turn, means that BM 114’s substantially

similar mental health provision makes BM 114’s permitting decision discretionary. It is true that

both state and federal courts have interpreted O.R.S. 166.293(2) as giving permitting agents

discretion to deny an applicant a CHL based on an applicant’s mental health, even when other

statutory criteria have been satisfied. See, e.g., Helgeson v. Tillamook Cnty., No. 3:13–cv–

01222–PK, 2014 WL 1946614, at *3 (D. Or. May 14, 2014); Held v. Hanlin, 239 Or. App. 486,

489 (2010). First, this Court notes that these decisions, while persuasive, do not bind this Court

to a similar finding. Second, this Court is not aware of any state or federal decision that




       33
         North Dakota amended its concealed carry statute in 2023, but did not amend this
language. See N.D. Legis. H.B. 1339 (2023).
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considered the CHL permitting regime in the context of the Second Amendment. Third, this

Court finds that any limited discretion conferred by BM 114’s mental health provision—which

does mirror O.R.S. 166.293(2)—does not automatically convert BM 114 from a shall-issue

regime to a constitutionally suspect regime.

        Indeed, the Bruen Court acknowledged that some limited amount of discretion does not

render a firearm permitting regime unconstitutional. In its first footnote, the Supreme Court

stated, with approval, that “[t]hree States—Connecticut, Delaware, and Rhode Island—have

discretionary criteria but appear to operate like ‘shall issue’ jurisdictions.” Bruen, 142 S. Ct. at

2123 n.1 (citation omitted). Connecticut’s permitting regime gives officials “discretion to deny a

concealed-carry permit to anyone who is not a ‘suitable person,’” which, in turn, “precludes

permits only to those ‘individuals whose conduct has shown them to be lacking the essential

character of temperament necessary to be entrusted with a weapon.’” Id. (quoting Conn. Gen.

Stat. § 29–28(b); Dwyer v. Farrell, 193 Conn. 7, 12 (1984)). This Court finds that the “suitable

person” standard conveys more discretion than BM 114’s mental-health provision. Likewise, in

interpreting Rhode Island’s permitting regime, the Supreme Court of Rhode Island has held that

“while issuance of a license . . . is mandatory if an applicant has satisfied the statutory criteria,

whether an applicant has satisfied such criteria ‘involves an exercise of discretion’ on the part of

local officials.” Gadomski v. Tavares, 113 A.3d 387, 390 (R.I. 2015) (citation omitted).

Notwithstanding this discretion, the Supreme Court of Rhode Island found that the licensing

regime did not “commit [the permitting regime] to the unfettered discretion of an executive

agency,” in large part because the regime includes “certain procedural steps . . . to allow a

meaningful review” of any licensing decisions. Id. (citation omitted).




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        Like Rhode Island, BM 114 includes judicial review—available as a matter of right to

any individual whose permit application is denied, and reviewed de novo, or without deference

to the permitting agent’s findings—which significantly limits the discretion of individual

permitting agents. See Ex. 1 § 5.

        Finally, Plaintiffs argue that even if BM 114 aligns perfectly with the type of shall-issue

licensing regimes described in Bruen, any discussion of these regimes is dicta and therefore

irrelevant to this Court’s analysis. Plaintiffs are correct that the constitutionality of shall-issue

regimes was not before the Supreme Court in Bruen, and so the Supreme Court’s statements

regarding shall-issue permitting regimes were not necessary to the disposition of the case. But

within the Ninth Circuit, well-reasoned dicta is binding. Enying Li v. Holder, 738 F.3d 1160,

1164 n.2 (9th Cir. 2013). The Ninth Circuit has defined well-reasoned dicta as discussion in an

opinion that, while not necessary to the ultimate disposition of the case, is both “reasoned and

deliberate.” United States v. McAdory, 935 F.3d 838, 843 (9th Cir. 2019). Well-reasoned dicta

does not include comments “made casually and without analysis,” “uttered in passing without

due consideration of the alternatives,” or “[done as] a prelude to another legal issue that

commands the [court’s] full attention.” Id. (alteration in original) (citation omitted).

        This Court concludes that Bruen’s discussion of shall-issue permitting regimes is well-

reasoned dicta. The discussion was made neither in passing nor without analysis. Instead, the

Supreme Court’s discussion of shall-issue regimes appears both in the body of the opinion itself,

see Bruen, 142 S. Ct. at 2123–24, and in multiple footnotes, see id. at 2123 n.1; id. at 2124 n.2;

id. at 2138 n.9. In those discussions, the Supreme Court considered the statutory language of all

forty-three shall-issue jurisdictions, see id. at 2123 n.1, and compared that statutory language to

five proper-cause jurisdictions, see id. at 2124 n.2. The Supreme Court also grounded its



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discussion of the presumptive constitutionality of shall-issue regimes in case law. See id. at 2138

n.9. Justice Kavanaugh, joined by Chief Justice Roberts, also separately reiterated the

presumptive constitutionality of shall-issue regimes in his concurrence. See id. at 2162

(Kavanaugh, J., concurring). Though a concurrence is obviously not the same as a majority

opinion, this Court nonetheless finds Justice Kavanaugh’s independent discussion of the

constitutionality of shall-issue regimes highly persuasive, particularly when considered in

conjunction with the majority’s own well-reasoned discussion about state firearms permitting

regimes. And while it is true that the discussion of shall-issue regimes occurs before the larger

discussion of the constitutionality of New York’s proper-cause regime, this Court does not find

that the discussion is a mere “prelude” to another legal issue. Bruen fundamentally alters the test

against which Second Amendment challenges are judged. Accordingly, this Court finds that

Bruen’s discussion of the presumptive constitutionality of certain widespread permitting regimes

provides important context and analysis for the decision as a whole.

       Accordingly, this Court holds that BM 114’s permitting provisions do not, on their face,

violate the Second Amendment. BM 114’s permitting provisions contain the kind of narrow,

objective criteria endorsed as constitutional in Bruen. BM 114’s mental health provision is

substantially similar to language contained in other shall-issue jurisdictions. And BM 114

contains sufficient procedural safeguards, like de novo judicial review, to prevent permitting

agents from exercising unbridled discretion when conducting BM 114’s mental health check.

B. Fifth Amendment

       1. BM 114’s LCM restrictions are not an unconstitutional taking.

       The Fifth Amendment provides, in relevant part, “nor shall private property be taken for

public use, without just compensation.” U.S. Const. amend. V. There are two kinds of

government action which fall within the ambit of the Fifth Amendment: physical takings and
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regulatory takings. Exercises of police power are not compensable under the Takings Clause.

See, e.g., Lucas v. S.C. Coastal Council, 505 U.S. 1003, 1027–28 (1992) (“[I]n the case of

personal property, by reason of the State’s traditionally high degree of control over commercial

dealings, [the property owner] ought to be aware of the possibility that new regulation might

even render his property economically worthless . . . .”).

       As noted above, with respect to licensed gun dealers, BM 114 makes it a misdemeanor to

manufacture, import, possess, use, purchase, sell, or otherwise transfer any LCM in Oregon. Ex.

1 § 11(2). However, BM 114 contains various exceptions to this general prohibition. Licensed

gun dealers that have LCMs in their inventory have several options within the 180 days after BM

114 takes effect. During that time, a licensed gun dealer may transfer or sell LCMs within their

inventory to a non-resident gun dealer or other transferee located out of state. Id. § 11(3)(a)(A).

The licensed dealer may also purchase LCMs from any owner for permanent removal from

Oregon. Id. § 11(3)(a)(B). And a licensed dealer may permanently alter any LCM in their

inventory such that it is no longer capable of accepting more than ten rounds of ammunition. Id.

§ 11(3)(a)(C).

       Similarly, as noted above, current owners and future inheritors of LCMs can possess and

use LCMs obtained prior to BM 114’s effective date. Id. § 11(5). However, they may only use

LCMs at their home (or on property under their control), on the premises of a gun dealer, at

shooting ranges, for recreational activities like hunting, at firearms competitions or exhibitions,

for certain educational purposes, or during transport to or from one of these permissible

locations. Id. § 11(5)(c)(A)–(E).

       Plaintiffs argue that absent BM 114, LCMs would be sellable and in demand, but,

because of BM 114, LCMs are effectively worthless. With respect to licensed gun dealers,



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Plaintiffs argue that forcing businesses to sell their property, move it out of state, or permanently

alter it places an unconstitutional condition on constitutionally protected conduct, which thereby

effects a taking. With respect to individuals, Plaintiffs contend that making individuals prove that

they obtained property before BM 114 took effect and limiting the ability to use that property

destroys such a large portion of the property right that it constitutes a regulatory taking.

According to Plaintiffs, BM 114, at a minimum, places an unconstitutional condition on

constitutionally protected conduct, constituting a taking.

   Defendants respond that BM 114 is neither a physical nor a regulatory taking because BM

114 is an exercise of police power, which is not compensable under the Takings Clause.

Furthermore, Defendants argue that a permanent injunction is not a proper remedy for a takings

claim, which can be remedied with damages. Finally, with respect to Plaintiffs’ regulatory

takings claim, Defendants argue that Plaintiffs cannot show a sufficient diminution in the value

of their property to establish that the regulation has interfered with distinct investment backed

expectations.

       This Court agrees with Defendants that BM 114 effects neither a physical nor a

regulatory taking. The Takings Clause only applies to property that has been taken for public

use. U.S. Const. amend. V. Property seized pursuant to the police power is not taken for public

use and is not compensable under the Fifth Amendment. Lucas, 505 U.S. at 1027 (1992); Pa.

Coal Co. v. Mahon, 260 U.S. 393, 417 (1922); see also AmeriSource Corp. v. United States, 525

F.3d 1149, 1153 (Fed. Cir. 2008). The Supreme Court has long held that states may regulate the

use of certain property, without compensation, to protect public health and safety without

violating the Fifth Amendment. See e.g., Mugler v. Kansas, 123 U.S. 623, 668–69 (1887)




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(holding that a state law prohibiting the manufacture and sale of intoxicating liquors except for

limited purposes did not constitute a compensable taking).

       At trial, Defendants demonstrated that BM 114’s regulation of LCMs serves Oregon’s

public health and safety interests. Defendants presented credible and undisputed evidence that

state laws banning LCMs reduce the incidents of mass shootings between 48 to 72 percent and

decrease the number of fatalities that occur in these mass shootings by 37 to 75 percent. Tr.

6/6/2023 506:14–19. According to Defendants’ expert Dr. Michael Siegel, the relationship

between these restrictions and reductions in mass shootings is so pronounced that it is a causal

relationship, meaning that the restrictions led, at least in part, to the reductions. Tr. 6/6/2023

508:11–509:21.

       Indeed, in Duncan v. Bonta, the Ninth Circuit sitting en banc rejected a takings claim

challenging an even stricter ban on LCMs in California. Duncan, 19 F.4th at 1111–12. Unlike

BM 114, the California ban did not contain a “grandfather clause” allowing current owners or

future inheritors of large-capacity magazines to keep those magazines. See Cal. Penal Code

§ 32310. The Ninth Circuit explained that “[n]othing in the case law suggests that any time a

state adds to its list of contraband—for example, by adding a drug to its schedule of controlled

substances—it must pay all owners for the newly proscribed item.” Duncan, 19 F.4th at 1112.

The Ninth Circuit noted that, “[t]o the contrary, the Supreme Court has made clear that ‘the

property owner necessarily expects the uses of his property to be restricted, from time to time, by

various measures newly enacted by the State in legitimate exercise of its police powers.’” Id.

(quoting Lucas, 505 U.S. at 1027).

       Plaintiffs concede that, had the Duncan en banc decision not been vacated post-Bruen,

“their Takings challenge would be foreclosed by Ninth Circuit precedent.” ECF 165 at 50.



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However, Plaintiffs argue that this Court should not consider the Duncan decision because it

“was vacated—and it was vacated in its entirety.” ECF 165 at 50. Although the Supreme Court

certainly vacated the Duncan decision following its decision in Bruen, the Court vacated and

remanded the case “for further consideration in light of [Bruen].” Duncan v. Bonta, 142 S. Ct.

2895 (2022) (emphasis added); see also Duncan v. Bonta, 49 F.4th 1228, 1231 (9th Cir. 2022).

As the Bruen Court did not consider a Fifth Amendment challenge, Duncan’s takings analysis

cannot be reconsidered “in light of” Bruen. While an opinion that has been vacated is no longer

binding circuit precedent, Roe v. Anderson, 134 F.3d 1400, 1404 (9th Cir. 1998), since nothing in

Bruen affected the Ninth Circuit’s takings analysis, this Court finds that Duncan is still

persuasive authority with respect to Plaintiffs’ takings claim. See In re Taffi, 68 F.3d 306, 310

(9th Cir. 1995) (a decision vacated on other grounds is still persuasive authority); see also

Orhorhaghe v. INS, 38 F.3d 488, 493 n.4 (9th Cir. 1994) (a decision vacated as moot is still

persuasive authority); Roe, 134 F.3d at 1404 (a decision vacated as unripe is still persuasive

authority). This Court agrees with the Ninth Circuit’s reasoning in Duncan and concludes that

LCMs regulated or seized as a result of BM 114 are not compensable under the Fifth

Amendment because, in enacting BM 114’s restrictions on LCMs, Oregon was acting pursuant

to its police power.

       Furthermore, even if Plaintiffs had viable takings claims, injunctive relief is not generally

a proper remedy for a takings claim, which can be remedied with damages. “As long as an

adequate provision for obtaining just compensation exists, there is no basis to enjoin government

action effecting a taking.” Knick v. Township of Scott, 139 S. Ct. 2162, 2176 (2019); see also

Ruckelshaus v. Monsanto Co., 467 U.S. 986, 1016 (1984) (“Equitable relief is not available to

enjoin an alleged taking of private property for a public use . . . when a suit for compensation can



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be brought against the sovereign subsequent to the taking.”) (citation omitted). “Today, because

the federal and nearly all state governments provide just compensation remedies to property

owners who have suffered a taking, equitable relief is generally unavailable.” Knick, 139 S. Ct at

2176; see 28 U.S.C. §§ 1346(a), 1491 (providing a federal cause of action for takings claims in

the Court of Federal Claims); O.R.S. 35.015 et seq. (prescribing the procedure for eminent

domain cases in Oregon). In short, as long as there is an adequate remedy at law, a plaintiff is not

ordinarily entitled to injunctive relief. Knick, 139 S. Ct. at 2176. Plaintiffs do not seek

compensatory damages for their Fifth Amendment challenge—they seek only declaratory and

injunctive relief, and nominal damages. See ECF 158 at 52; ECF 67 at 42. This Court finds that

there is an adequate remedy at law for Plaintiffs’ takings claim and there is, therefore, no basis

for this Court to enjoin BM 114 as a remedy for a takings claim.

       Finally, to succeed on a regulatory takings claim, Plaintiffs must show both “the

economic impact of the regulation” and “the extent to which the regulation has interfered with

distinct investment backed interests.” Laurel Park Cmty., LLC v. City of Tumwater, 698 F.3d

1180, 1188 (9th Cir. 2012). Plaintiffs have failed to do so. Plaintiffs produced no evidence at

trial, beyond speculative statements by fact witnesses about potential losses, to support a finding

that BM 114’s LCM restrictions would have a substantial adverse economic impact on Plaintiffs.

At trial, Plaintiffs’ witness Jessica Harris testified that she did not know how much of a potential

loss her store might suffer if she had to comply with BM 114 by selling or otherwise moving her

LCMs out of state. Tr. 6/5/2023 56:10–16. Ms. Harris testified that she “would speculate” that

the price would be less than the cost of the LCMs, but admitted that she had done no research to

confirm that suspicion. Tr. 6/5/2023 56:25–57:5. Ms. Harris also testified that while customers

currently primarily purchase LCMs, it is entirely possible that those customers will simply



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switch to purchasing ten-round magazines. Tr. 6/5/2023 54:17–20. Plaintiff Adam Johnson

likewise testified that his assumption that BM 114 would cause his business economic loss was

based on “speculation” rather than accounting data. Tr. 6/5/2023 76:16–22. These speculative

assertions about loss are insufficient to prove that BM 114 would have a negative economic

impact on Plaintiffs.

       Plaintiffs’ Fifth Amendment physical and regulatory takings challenges thus fail for three

reasons. First, BM 114 is an exercise of police power, and Defendants have presented evidence

at trial showing that BM 114 is related to public health and safety. Second, even if Plaintiffs’

claims were viable, the relief they seek is not appropriate for this Court to grant. Third, Plaintiffs

have failed to provide any non-speculative evidence regarding the potential negative economic

impact of BM 114 to support their regulatory takings claim. Therefore, this Court concludes that

Plaintiffs have failed to prove that BM 114’s LCM restrictions are a taking in violation of the

Fifth Amendment.

C. Fourteenth Amendment

       1. BM 114’s permitting regime does not violate due process.

       In addition to challenging BM 114’s permitting provisions as violating the Second

Amendment, Plaintiffs argue that BM 114’s permitting provisions violate the Due Process clause

of the Fourteenth Amendment. The Fourteenth Amendment provides, in relevant part, “nor shall

any State deprive any person of life, liberty, or property, without due process of law.” U.S.

Const. amend. XIV.

       Plaintiffs did not, either in briefing or at trial, provide this Court with a standard by which

their Due Process challenge to BM 114’s permitting provisions should be assessed. In their

motion for summary judgment, for instance, Plaintiffs do not use the phrase “due process” even

once in their argument challenging BM 114’s permitting provisions under the Fourteenth
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Amendment. See ECF 165 at 12–18. Plaintiffs also cite to no case that has considered a firearm

permitting regime under the Due Process Clause of the Fourteenth Amendment.

         This Court acknowledges that courts typically follow the principle of party presentation,

where courts “rely on the parties to frame the issues for decision and assign to courts the role of

neutral arbiter of matters the parties present.” Greenlaw v. United States, 554 U.S. 237, 243

(2008). Plaintiffs have failed to frame their Due Process claim for this Court. Nonetheless, this

Court finds that to succeed on their Due Process claim, Plaintiffs must show both a deprivation

of a constitutionally protected liberty or property interest, and a denial of adequate procedural

protections. Brewster v. Bd. of Educ. of Lynwood Unified Sch. Dist., 149 F.3d 971, 982 (9th Cir.

1998).

         Plaintiffs do not appear to argue that they have a protected property interest in firearms;

they argue that BM 114’s permitting regime deprives them of a constitutionally protected liberty

interest, or the right to keep and bear arms. As discussed above, this Court does not find that BM

114’s permitting provisions violate the Second Amendment on their face.34 Because Plaintiffs




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           The thrust of Plaintiffs’ argument with respect to their Due Process claim hinges on
implementation of BM 114. Plaintiffs essentially argue that when BM 114 is implemented, it will
operate in such a way that individuals will be unable to receive a permit, due to lack of funding,
bureaucratic disorganization, and the refusal of the FBI to process background checks. See ECF
165 at 18–28. As this Court has previously held, see ECF 234 at 5–6, this evidence goes to
Plaintiffs’ unripe as-applied challenge, not their facial challenge. Speculation about how BM 114
might be implemented in the future—including whether the FBI’s refusal to process background
checks will in practice prohibit a permitting agent from issuing a permit—is irrelevant to a facial
challenge, which looks only at the language of the statute. Calvary Chapel Bible Fellowship v.
Cnty. of Riverside, 948 F.3d 1172, 1177 (9th Cir. 2020) (“[W]hen reviewing a facial challenge,
[courts] are limited to reviewing the text of the ordinance itself, not what others have said the
statute means. How the statute has been interpreted and applied by local officials is the province
of an as-applied challenge . . . .”) At trial, Plaintiffs argued that the FBI cannot run background
checks under BM 114 as a matter of law. But the law to which Plaintiffs aver—Public Law 92-
544—requires the FBI to consider certain discretionary factors, like whether a law is in violation
of public policy, before deciding whether the agency can run background checks. See Pub. L. 92-
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have not shown that BM 114’s permitting regime violates their Second Amendment rights,

Plaintiffs have not shown that the permitting regime deprives them of a protected liberty interest.

Plaintiffs’ Due Process claim therefore fails because Plaintiffs have failed to make out the

threshold element of their claim.

       2. BM 114’s LCM restrictions do not violate due process.

           a. BM 114’s LCM restrictions are not retroactive.

       Plaintiffs argue that BM 114’s prohibitions on magazines with a capacity of more than

ten rounds apply retroactively. Plaintiffs suggest that the law is retroactive because it “appl[ies] a

criminal prohibition to federally licensed individuals and enterprises who lawfully possessed the

now-banned magazines for decades before the statute took effect.” ECF 165 at 52.

       Defendants respond that BM 114 is not retroactive because it “does not punish past

purchases, possession, or any acts that occurred before its effective date” and “[l]ike other health

and safety measures, it operates prospectively.” ECF 185 at 13; see also ECF 167 at 40–41.

       This Court agrees with Defendants that BM 114’s restrictions on LCMs are not

retroactive. The Supreme Court has explained that “[a] statute does not operate ‘retrospectively’

merely because it is applied in a case arising from conduct antedating the statute’s enactment.”

Landgraf v. USI Film Prod., 511 U.S. 244, 269 (1994) (citation omitted). Nor does it operate

retrospectively because it “upsets expectations based in prior law.” Id. Rather, “the court must

ask whether the new provision attaches new legal consequences to events completed before its

enactment.” Id. at 269–70.




544 (Oct. 25, 1972). It is not clear from the face of that law that BM 114 runs afoul of these
provisions, and any stipulated fact to the contrary is outside of the scope of a facial challenge.
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       BM 114’s LCM restrictions do not operate retroactively because they do not attach new

legal consequences to any conduct completed before BM 114’s enactment. BM 114 does not

criminalize purchases, possession, or use of LCMs that occurred prior to the measure’s

enactment. Indeed, BM 114 expressly allows current owners and inheritors to keep and continue

to use LCMs purchased prior to the measure’s enactment. BM 114 does not render Plaintiffs’

already-possessed LCMs illegal. BM 114 allows Plaintiffs to retain possession of these LCMs on

their property, and allows Plaintiffs to use these LCMs in limited situations. Ex. 1 § 11(5)(c)(C)–

(D).

                          i.   Even assuming BM 114’s LCM restrictions are retroactive,
                               Defendants provide adequate justification for these
                               restrictions.

       Even if this Court were to find that BM 114 operates retroactively, Plaintiffs due process

rights are not infringed if Defendants can justify its retroactive application. A retroactive law

does not violate due process where “the retroactive application of a statute is supported by a

legitimate legislative purpose furthered by rational means.” Pension Ben. Guar Corp. v. R.A.

Gray & Co., 467 U.S. 717, 729 (1984).

       Defendants’ public safety interest in regulating LCMs is a legitimate legislative purpose.

As discussed above, Defendants set forth evidence showing that LCMs are frequently used in the

commission of mass shootings and that the use of LCMs in mass shootings increases the lethality

of these events. Tr. 6/6/2023 415:23–416:2; 422:21–424:13. The LCM restrictions are also a

rational means of furthering this interest in public safety. Defendants produced evidence at trial

showing both that LCMs are connected to increased lethality in mass shooting events, and that

state-level restrictions on LCMs reduce the occurrence of these events and their overall lethality.

Tr. 6/6/2023 422:21–424:13; 506:2–5. Indeed, Plaintiffs concede that a state’s interest in public

safety is generally considered a compelling interest. ECF 161 at 24. Accordingly, this Court
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finds that BM 114’s LCM restrictions do not violate the Due Process Clause of the Fourteenth

Amendment.

             b. BM 114’s LCM restrictions are not void for vagueness.

          Plaintiffs argue that BM 114’s LCM restrictions are unconstitutionally vague because

they include any fixed or detachable magazine, or similar device, “that can be readily restored,

changed, or converted to accept, more than 10 rounds of ammunition.” Ex. 1 § (11)(1)(d).

Plaintiffs argue that this language is unconstitutionally vague because it does not give fair notice

about what types of magazines are restricted.

          A law is void-for-vagueness if it does not give “the person of ordinary intelligence a

reasonable opportunity to know what is prohibited.” Grayned v. City of Rockford, 408 U.S. 104,

108 (1972). When a violation of the statute may result in a criminal penalty and when the statute

does not include a scienter requirement, a court must scrutinize a potentially vague law with

heightened scrutiny. See Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 499

(1982).

          BM 114 makes it a misdemeanor to manufacture, import, possess, use, purchase, sell, or

otherwise transfer LCMs. Ex. 1 § 11(6). BM 114 does not include a scienter requirement.

Accordingly, this Court pays particular attention to whether BM 114’s restrictions on LCMs give

“the person of ordinary intelligence a reasonable opportunity to know what is prohibited.”

Grayned, 408 U.S. at 108.

          Plaintiffs argue that BM 114 is unconstitutionally vague because it prohibits magazines

that “can be readily restored, changed, or converted to accept” more than ten rounds. Ex. 1 §

11(1)(d). Defendants argue that BM 114 is not vague because it gives the person of ordinary

intelligence notice that “magazines that can be quickly altered to accept more than ten rounds”

are prohibited. ECF 167 at 39.
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       Plaintiffs counter that if BM 114 means what Defendants say it means, then BM 114

restricts essentially all magazines because any magazine that can hold ten rounds or fewer can be

“quickly altered” to accept more than ten rounds. To support this position, Plaintiffs elicited

testimony from their fact witness Adam Johnson, a plaintiff in this action who owns a gun store.

Mr. Johnson testified that, based on his experience as a gunsmith, “almost all supposed ten-round

magazines . . . are easily readily modifiable with either factory or aftermarket parts that would

make them not compliant with [BM] 114.” Tr. 6/5/2023 74:2–5. Mr. Johnson testified that “even

the ten-round magazines . . . most of them do not even require tools, or if they do require, a very

simple hand tool, like a punch or a screwdriver, to remove the baseplate from the magazine and

then add an extended baseplate, which would increase the capacity of that magazine.” Tr.

6/5/2023 79:10–15. Mr. Johnson further testified that some magazines “don’t require any tools at

all” to modify, and that an individual “can just use [their] fingers.” Tr. 6/5/2023 80:18–19.

       Mr. Johnson’s testimony is unpersuasive for several reasons. First, this Court notes that

Defendants’ expert Jim Yurgealitis testified that a ten-round capacity magazine cannot be

extended without an individual taking affirmative steps of purchasing additional equipment (at

least a baseplate extender, but also sometimes a stronger spring), removing the existing baseplate

of the magazine, and adding the extender. Tr. 6/6/2023 531:15–25; 532:7–10. Contrary to

Plaintiffs argument, this Court does not find that a standard ten-capacity magazine is “readily

convertible” to an LCM if such conversion requires an individual to complete at least three

affirmative, additional steps to extend the magazine. Indeed, a ten-round capacity magazine is

not readily convertible until the individual removes the baseplate of the magazine—without

removing the baseplate, the magazine cannot be extended. Accordingly, any ten-round magazine

with an intact baseplate would not violate BM 114.



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       Plaintiffs produced no evidence suggesting that an individual would remove a baseplate

of a ten-round magazine for any other purpose than extending the magazine’s capacity. This

Court acknowledges that the evidence at trial shows that an individual could take steps to alter a

ten-round capacity magazine such that it might run afoul of BM 114’s restrictions. But a statute

is not void for vagueness merely because an individual could take affirmative steps to come

close to breaking the law.35 See Boyce Motor Lines v. United States, 342 U.S. 337, 340 (1952)

(“Nor is it unfair to require that one who deliberately goes perilously close to an area of

proscribed conduct shall take the risk that he may cross the line.”) (citations omitted).

       Second, this Court notes that the “readily convertible” language with which Plaintiffs

take issue appeared, in almost identical form, in the Federal Assault Weapons Ban, which was in

effect from 1994 to 2004. The federal ban defined LCMs as “a magazine, belt, drum, feed strip,

or similar device . . . that has a capacity of, or that can be readily restored or converted to accept,

more than [ten] rounds of ammunition.” Pub. L. No. 103-322, § 110103(b), 108 Stat. 1999

(1994). Plaintiffs have not found, and this Court is not aware, of any court that found this

provision of the federal ban to be void for vagueness. Nor have Plaintiffs shown that there was

widespread confusion for a decade across the country about the meaning of this law. To the

contrary, Plaintiffs’ expert Mark Hanish testified that he sold magazines with a capacity of ten

rounds during the federal ban. Tr. 6/5/2023 131:22–132:12. Mr. Hanish testified that during the




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           Whether a ten-round magazine with the baseplate removed would violate BM 114 is
not for this Court to decide. This Court need not parse every potential hypothetical scenario to
find what is generally prohibited under BM 114. BM 114’s prohibition on magazines that hold
more than ten rounds of ammunition would be clear to the ordinary person. Cases in which BM
114 might be enforced in a manner inconsistent with this general meaning are best saved for as-
applied challenges.
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federal ban, there were no regulatory barriers to the sale of magazines, other than obtaining a

Federal Firearms License. Tr. 6/5/2023 133:3–5.36

       In sum, this Court finds that BM 114 gives “the person of ordinary intelligence a

reasonable opportunity to know what is prohibited” and is not unconstitutionally vague.

Grayned, 408 U.S. at 108.

VIII. CONCLUSION

       The Supreme Court has held that Second Amendment protects an individual right to self-

defense inside and outside of the home. LCMs are not commonly used for self-defense, and are

therefore not protected by the Second Amendment. Even if LCMs are protected by the Second

Amendment, BM 114’s restrictions are consistent with this Nation’s history and tradition of

regulating uniquely dangerous features of weapons and firearms to protect public safety. This

Court accordingly enters judgment in favor of Defendants and Intervenor-Defendant on

Plaintiffs’ Second Amendment challenge to BM 114’s LCM restrictions.

       The Second Amendment also allows governments to ensure that only law-abiding,

responsible citizens keep and bear arms. BM 114’s permit-to-purchase regime, on its face, sets

forth objective criteria for the issuance of permits, and does not allow unfettered discretion by

permitting agents in assessing an applicant’s mental health status to ensure that only law-abiding

and responsible citizens can purchase firearms in the state of Oregon. This Court accordingly




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            Plaintiff Adam Johnson testified that “[w]ithin a day or two after the passage of [BM]
114 . . . almost all [firearms] distributors” stopped shipping to his store because of confusion
around what magazines were permitted. Tr. 6/5/2023 73:15–19. This is inconsistent with Mr.
Johnson’s testimony that following BM 114’s passage, his store continued to purchase LCMs “in
bulk” and was “overnighting cases” of 30-round magazines to meet customer demand. Tr.
6/5/2023 73:4–11.
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enters judgment in favor of Defendants and Intervenor-Defendant on Plaintiffs’ Second

Amendment challenge to BM 114’s permit-to-purchase regime.

       The Fifth Amendment protects an individual from having their property taken by the

government for public use without just compensation. But the Fifth Amendment does not prevent

the government from exercising its police power to protect the public welfare. BM 114’s LCM

restrictions are a valid exercise of police power. This Court accordingly enters judgment in favor

of Defendants and Intervenor-Defendant on Plaintiffs’ Fifth Amendment challenge to BM 114’s

LCM restrictions.

       The Due Process Clause of the Fourteenth Amendment prevents the government from

depriving a person of liberty without due process of law. Plaintiffs have failed to show that BM

114’s permitting provisions deprive them of liberty, because BM 114’s permitting provisions do

not violate their Second Amendment rights. This Court accordingly enters judgment in favor of

Defendants and Intervenor-Defendant on Plaintiffs’ Fourteenth Amendment challenge to BM

114’s permitting provisions.

       The Due Process Clause of the Fourteenth Amendment also prevents the government

from passing retroactive laws, unless the government can point to a legitimate legislative

purpose furthered by rational means. BM 114 does not impose retroactive penalties on the

possession of LCMs, and is therefore not retroactive. Moreover, Defendants’ interest in public

safety provides a legitimate legislative purpose furthered by rational means. This Court

accordingly enters judgment in favor of Defendants and Intervenor-Defendant on Plaintiffs’

Fourteenth Amendment challenge to BM 114’s LCM restrictions.

       Finally, the Due Process Clause of the Fourteenth Amendment prevents governments

from passing laws that are so vague that they fail to give a person of ordinary intelligence fair



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notice of what is prohibited. BM 114’s LCM restrictions give a person of ordinary intelligence

fair notice of what is prohibited. This Court accordingly enters judgment in favor of Defendants

and Intervenor-Defendant on Plaintiffs’ Fourteenth Amendment challenge to BM 114’s LCM

restrictions.

          This Court enters judgment in favor of Defendants and Intervenor-Defendant on all

claims.

          IT IS SO ORDERED.

          DATED this 14th day of July, 2023.

                                                             /s/ Karin J. Immergut
                                                             Karin J. Immergut
                                                             United States District Judge




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